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                          Exhibit K
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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OHIO
                           EASTERN DIVISION


TELEBRANDS CORPORATION,
                                          Case No. 1:23-cv-00631-BMB
                        Plaintiff,
                                          Judge Bridget Meehan Brennan
v.

WINSTON PRODUCTS LLC,

                        Defendant.




        SUR-REBUTTAL DECLARATION OF DR. JAMES L. GLANCEY
                REGARDING CLAIM CONSTRUCTION
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         A.        Group A: “secured to” / “to couple” / “coupled to”..............................................12

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                   “said inner and outer tubes unsecured between said first and
                   second ends so that said outer tube is not held in frictional contact
                   with said inner tube so that said outer tube can move freely along
                   said inner tube”

                   “said inner tube is unsecured to said outer tube between said first
                   and second ends so that said outer tube can move freely over said
                   inner tube”

                   “said flexible inner tube unsecured to said flexible outer tube
                   between said first and second ends so that said flexible outer tube
                   can move freely over said flexible inner tube” ......................................................29

         C.        Group C:

                   (i) “a first restrictor sleeve secured to said first end of said inner
                   and said outer tubes” / “a first restrictor sleeve secured to said first
                   end of said flexible inner tube and said flexible outer tube”

                   (ii) “a second restrictor sleeve secured to said second end of said
                   inner and said outer tubes” / “a second restrictor sleeve secured to
                   said second end of said flexible inner tube and said flexible outer
                   tube” .......................................................................................................................34



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    D.    Group D:

          (i) “a first securing device securing said first restrictor sleeve, said
          outer tube, and said inner tube to said first coupler” / “a first
          securing device securing said first restrictor sleeve, said flexible
          outer tube, and said flexible inner tube to said first coupler”

          (ii) “a second securing device securing said another expansion
          restrictor sleeve, said outer tube, and said inner tube to said second
          coupler” / “a second securing device securing said second
          expansion restrictor sleeve, said flexible outer tube, and said
          flexible inner tube to said second coupler” ............................................................38




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         I, James L. Glancey, hereby declare the following:

I.       INTRODUCTION

         1.       My name is Dr. James L. Glancey. I have been retained as an independent

technical expert consultant by Telebrands Corporation (“Telebrands”) in connection with the

above lawsuit against Winston Products, LLC (“Winston Products”). Specifically, I have been

retained to provide my opinions regarding the technology of U.S. Patent Nos. 10,174,870 (“the

’870 Patent”); 10,890,278 (“the ’278 Patent”); and 11,608,915 (“the ’915 Patent”) (collectively,

the “Patents-in-Suit”), the knowledge that a person of ordinary skill in the art (“POSITA”)

working in that field of technology would be expected to have, how a POSITA would have

understood certain claim terms recited in the Patents-in-Suit, and whether some of those terms

are indefinite.

         2.       In that regard, on December 29, 2023, I submitted the Declaration of Dr. James L.

Glancey Regarding Claim Construction of U.S. Patent Nos. 10,174,870; 10,890,278; and

11,608,915 (“Glancey Declaration”) in connection with this matter. A true and correct copy of

the Glancey Declaration is attached hereto as Exhibit A, which I incorporate in its entirety herein

by reference.

         3.       In addition to the opinions I have submitted in the Glancey Declaration, I have

been asked by Telebrands to provide my opinions regarding the Rebuttal Expert Declaration of

John M. Feland, III, Ph.D. served on January 16, 2024 (“Feland Declaration”) and the opinions

expressed therein. I, therefore, provide this declaration in response to the Feland Declaration.

Specifically, in this declaration I respond to Dr. Feland’s opinions about how a POSITA would

interpret the following disputed claim terms and phrases from the Patents-in-Suit:




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       Group A:

              “secured to”

              “to couple”

              “coupled to”

       Group B:

              “said inner and outer tubes unsecured between said first and second ends so that
              said outer tube is not held in frictional contact with said inner tube so that said
              outer tube can move freely along said inner tube”

              “said inner tube is unsecured to said outer tube between said first and second ends
              so that said outer tube can move freely over said inner tube”

              “said flexible inner tube unsecured to said flexible outer tube between said first
              and second ends so that said flexible outer tube can move freely over said flexible
              inner tube”

       Group C:

              (i) “a first restrictor sleeve secured to said first end of said inner and said outer
              tubes” / “a first restrictor sleeve secured to said first end of said flexible inner tube
              and said flexible outer tube”

              (ii) “a second restrictor sleeve secured to said second end of said inner and said
              outer tubes” / “a second restrictor sleeve secured to said second end of said
              flexible inner tube and said flexible outer tube”

       Group D:

              (i) “a first securing device securing said first restrictor sleeve, said outer tube, and
              said inner tube to said first coupler” / “a first securing device securing said first
              restrictor sleeve, said flexible outer tube, and said flexible inner tube to said first
              coupler”

              (ii) “a second securing device securing said another expansion restrictor sleeve,
              said outer tube and said inner tube to said second coupler” / “a second securing
              device securing said second expansion restrictor sleeve, said flexible outer tube
              and said flexible inner tube to said second coupler”

(collectively, the “Disputed Claim Terms”).




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       4.      I understand that the parties have reached agreement on the construction of the

following claim terms:

                  “first coupler” means “a first connecting device/fitting”;

                  “second coupler” means “a second connecting device/fitting”; and

                  “extend around an outer circumference of said hose” means “extend

                   around the outside of the hose,”

(collectively, the “Agreed Claim Terms”).

       5.      This declaration sets forth the opinions that I have formed based on the

information available to me as of the date below. The opinions and facts set forth in this

declaration are based upon my analysis of the Patents-in-Suit, their file histories, the Glancey

Declaration and exhibits cited therein, the Feland Declaration and the exhibits cited therein, the

additional materials I have considered as set forth below, the state of the art at the time of the

invention, as well as my education, qualifications, knowledge, training, research, teaching, and

extensive personal and professional experience in the relevant field.

       6.      My analysis of the materials submitted in this proceeding is ongoing and I will

continue to review any new materials that are provided. This declaration is indicative of only

those opinions that I have formed to date and that are set forth herein. I reserve the right to

amend, revise, and/or supplement my opinions stated herein based on any new information that

may become available to me or my continuing analysis of the materials already provided.

       7.      I am not currently and have not at any time in the past been an employee of

Telebrands. I have no financial interest in Telebrands outside of assisting Telebrands as an

expert in this and any related matters.




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       8.      I am being compensated at my normal consulting hourly rate. My compensation

is not in any way dependent on the outcome of any matter or the opinions stated herein.

       9.      My opinions in this case are based on my professional knowledge and experience

and are independent of either party’s positions.

II.    PROFESSIONAL BACKGROUND AND QUALIFICATIONS

       10.     My opinions stated in this declaration are based on my own personal knowledge

and professional experience and judgment. In forming my opinions, I have relied on my

extensive knowledge and experience in designing, developing, researching, and teaching the

technology discussed and referenced in this declaration.

       11.     I describe my qualifications and professional experience in the Glancey

Declaration and incorporate by reference that discussion here. Glancey Declaration at ¶¶ 6-25.

III.   MATERIALS AND OTHER INFORMATION CONSIDERED

       12.     In preparing this declaration and reaching the conclusions described herein, I have

considered the specification, claims, and file history of each of the Patents-in-Suit. I have

reviewed Telebrands’ Preliminary Proposed Constructions and Supporting Evidence, Winston

Products’ Preliminary Proposed Constructions and Supporting Evidence, the Glancey

Declaration and exhibits cited therein, the Feland Declaration and exhibits cited therein, and the

other materials mentioned and cited herein. In addition, my opinions are also based on my

education, qualifications, knowledge, training, research, teaching, and extensive personal and

professional experience in the relevant field.

       13.     I reserve the right to supplement, amend, or modify my opinions based on any

new information, documents, and/or arguments that are made available to me after the

submission of this declaration.



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       14.     To the extent that additional information is presented and becomes available to

me during these proceedings, including the briefing and arguments related to claim construction

and/or any opposing expert opinions, I reserve the right to amend, supplement, or modify my

opinions as appropriate.

IV.    SUMMARY OF OPINIONS

       15.     Based on my analysis of the materials and information I considered in connection

with this declaration, it is my opinion that Dr. Feland’s proposed constructions attempt to

improperly import limitations from the specification into the claims and/or add unnecessary

requirements that do not appear to be supported by the claim language, the specification, or the

prosecution histories. It is apparent to me, and it would have been apparent to a POSITA at the

time of the invention (i.e., 2011) that none of the Disputed Claim Terms require a construction at

least because each claim term is easily understandable on its face, and would have been known

and understood by a POSITA at the time of the invention.

       16.     Further, it is my opinion that the various claim terms reciting a “securing device”

are not subject to pre America Invents Act 35 U.S.C. § 112, paragraph 6, and even if they are,

they should not be construed as narrowly as Dr. Feland has construed them.

V.     UNDERSTANDING OF PATENT LAW

       17.     I am a technical expert and do not offer any legal opinions or interpretations of

the law. I previously described my understanding of certain legal principles regarding patent

claim construction and related matters under United States patent law in the Glancey Declaration

and incorporate that discussion by reference in its entirety here. Glancey Declaration at ¶¶ 31-

36.

       18.     In forming my opinions, I understand that the claims should be interpreted as they

would be understood by a POSITA of the patented technology at the time the patent application

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was filed. I understand that the claims are to be construed with reference to the patent’s claims,

the specification, and the prosecution history, in light of the plain meaning of the terms used in

the claims, and, if necessary, with reference to other sources of information, such as dictionaries,

textbooks, literature, or other patents in the same or related fields, and expert testimony.

VI.    PERSON OF ORDINARY SKILL IN THE ART

       19.     I describe my qualifications of a POSITA in the Glancey Declaration and

incorporate that discussion by reference in its entirety here. Glancey Declaration at ¶¶ 37-41.

       20.     Specifically, in the Glancey Declaration, I explained that the characteristics of a

POSITA in connection with the Patents-in-Suit would hold a Bachelor’s Degree in Mechanical

Engineering or a closely related technical field and would have at least two years of experience

in the manufacture, design and/or the application and use of hoses for various types of fluids.

See Glancey Declaration at ¶ 39. I further explained that this hypothetical person would be

capable of performing various design tasks and would understand the basic mechanical and fluid

features and operation of expandable and contractible hoses (as disclosed in the Patents-in-Suit);

this hypothetical person would also have at least a basic knowledge of fluid mechanics, solid

mechanics, and materials science and engineering as they relate to hoses and how hoses

generally function to convey fluids from one place to another. Id.

       21.     Dr. Feland has opined that a POSITA would require more skills and knowledge

than my proposed definition of a POSITA to be able to effectively practice the technology taught

by the Patents-in-Suit. Feland Declaration at ¶ 35. Specifically, in addition to the knowledge

and experience set forth in my definition of a POSITA, Dr. Feland asserts that a POSITA would

have at least four years of experience in the manufacture, design and/or the application and use

of hoses for various types of liquids (instead of two years), and would further have (1) an

understanding of how to design components of both rigid and elastomeric polymers; (2) an

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understanding of cast metal manufacturing along with post process machining of metal

components made with this process; (3) an understanding of how to specify and source fabrics

for the manufacturing of the outer hose, made by weaving, knitting, or braiding; and (4) an

understanding of how to design, manufacture and utilize manufacturing jigs required to secure

the components together for scale manufacturing of the hoses. Id. at ¶ 44.

       22.     As an initial matter, I disagree that a POSITA would require at least four years of

experience in the manufacture, design and/or the application and use of hoses for various types

of liquids and, for reasons further explained below, stand by my original opinion that two years

of experience would be more than sufficient to be able to effectively practice the technology

taught by the Patents-in-Suit.

       23.     Further, I generally agree with Dr. Feland that a POSITA would have the

additional understandings he describes. However, it is my opinion that my original definition of

a POSITA would also include all of this knowledge. For example, in my original definition of a

POSITA, I expressly tie the definition to the Patents-in-Suit and state that a POSITA “would be

capable of performing various design tasks and would understand the basic mechanical and fluid

features and operation of expandable and contractible hoses” (as taught by the Patents-in-Suit).

Glancey Declaration at ¶ 39. This definition makes clear that this POSITA would be intimately

familiar with all the components necessary to make the hose disclosed and claimed in the

Patents-in-Suit. This includes, among other things, (1) designing and using rigid and elastomeric

polymers; (2) cast metal manufacturing along with post process machining of metal components

made with this process; (3) specifying and sourcing fabrics for the manufacturing of the outer

hose, made by weaving, knitting, or braiding; and (4) utilizing manufacturing jigs required to

secure the components together for scale manufacturing of the hoses.



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       24.     Dr. Feland’s criticism that my definition of a POSITA failed to mention these

“critical skills” is misplaced because my definition of a POSITA expressly requires the

hypothetical person to possess all the skills necessary to design and build the expandable and

contractible hose disclosed and claimed by the Patents-in-Suit, which includes all the skills

identified by Dr. Feland, as well as skills that even Dr. Feland failed to mention (such as the

skills necessary to couple a flow restrictor to the second coupler). All of these skills identified

by Dr. Feland would be learned from a standard accredited mechanical engineering curriculum in

conjunction with two years of experience in the manufacture, design and/or the application and

use of similar expandable and contractible hoses disclosed by the Patents-in-Suit.

       25.     Further, Dr. Feland’s criticism that several of these critical skills are specialized

and not common or required in mechanical engineering curriculums (see Feland Declaration at ¶

42-43) fails to acknowledge that my original definition of a POSITA also required at least two

years of experience in the manufacture, design and/or application and use of expandable and

contractible hoses disclosed by the Patents-in-Suit. During those two years of experience

designing, manufacturing, and using such expandable and contractible hoses, the POSITA would

gain all the knowledge they would need to be able to effectively practice the technology taught

by the Patents-in-Suit.

       26.     Put simply, when defining a POSITA it is not necessary or even common to list

every skill the POSITA would need to possess to effectively practice the technology taught by

the patent in question. Indeed, even Dr. Feland omitted skills necessary for practicing the

claimed invention of the Patents-in-Suit (e.g., the skillset needed to couple the flow restrictor to

the second coupler). To the contrary, it is my understanding that when defining a POSITA one

must simply describe the level of education and level and type of practical experience that this



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hypothetical person would need to have to be able to practice the claimed invention. My original

definition of a POSITA correctly does that.

       27.     Moreover, fundamental to this dispute over the definition of a POSITA, Dr.

Feland appears to have an unduly restrictive view of what a POSITA would have knowledge of

in the expandable and contractible hose field. Based on my extensive and close work with and

instruction of undergraduate and graduate mechanical engineering majors, a POSITA under both

of our definitions would have far more knowledge and capability with respect to knowing how to

design, manufacture and use expandable and contractible hoses disclosed in the Patents-in-Suit

than Dr. Feland gives them credit for as evidenced by his opinions, which I believe are flawed in

this respect. Specifically, Dr. Feland provides no explanation as to why a POSITA would need

four years of practical experience instead of the two years I proposed. He instead simply asserts

that a person with just two years would likely have only a single product lifecycle of experience

regarding the technology in question, lacking the benefit of learning from mistakes with prior

product launches, or having sufficient knowledge of how consumers are using the technology.

Feland Declaration at ¶ 34. However, this assertion implicitly acknowledges that a person with

two years of practical experience in the expandable hose field indeed would have seen a product

through its entire design lifecycle (from design, to manufacturing and finally to testing and

performance validation) such that they would have all the necessary experience to effectively

practice the claimed invention of the Patents-in-Suit. Further, Dr. Feland does not cite to any

evidence to support his conclusion that a POSITA is required to have learned from mistakes

from prior product launches or know how consumers are using the technology. These are just

requirements conjured up by Dr. Feland without any basis.




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       28.     Dr. Feland also neglects to acknowledge that most accredited undergraduate

mechanical engineering curriculums at the time of the invention (i.e., 2011) required students to

take advanced courses where they were required to design and develop consumer products and

would learn about the entire lifecycle of a product. These “capstone design” courses thus would

have provided additional real world practical design experience making it less necessary for a

POSITA to have more than two years of practical experience in the expandable and contractible

hose field, especially in light of the design experience most undergraduates gained during their

collegiate design education at the time of the claimed invention.

       29.     Dr. Feland also appears to criticize my definition of a POSITA as allegedly “too

broad for purposes of accurately characterizing a POSITA capable of reducing the technology

disclosed in the Patents-in-Suit to practice.” Feland Declaration at ¶ 36; see also id. at ¶ 37.

That assertion is simply not correct as I specifically stated in the Glancey Declaration that “the

characteristics of a POSITA in connection with the Patents-in-Suit would hold a Bachelor’s

Degree in Mechanical Engineering or a closely related technical field and would have at least

two years of experience in the manufacture, design and/or the application and use of hoses for

various types of fluids.” Glancey Declaration at ¶ 39 (emphasis added). I went on to further

state that this “hypothetical person would be capable of performing various design tasks and

would understand the basic mechanical and fluid features and operation of expandable and

contractible hoses” – the exact type of hoses discussed and disclosed in the Patents-in-Suit. Id.

(emphasis added). Thus, my proposed definition of a POSITA is not too broad for the purposes

of accurately characterizing a POSITA capable of reducing the technology disclosed in the

Patents-in-Suit to practice, as Dr. Feland opines. See Feland Declaration at ¶¶ 36-37.




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         30.    As explained in the Professional Background and Qualifications Section of the

Glancey Declaration and further shown by my CV (attached as Exhibit A to the Glancey

Declaration), I was at least a POSITA (under my definition or Dr. Feland’s definition) as of the

priority date of the Patents-in-Suit (i.e., 2011).

         31.    My opinions set forth in the Glancey Declaration and in this declaration,

including my opinions concerning the Disputed Claim Terms, are from the perspective of a

POSITA, as set forth above and in the Glancey Declaration, at the time of the invention.

Moreover, these opinions would not change if viewed from the perspective of a POSITA as

defined by Dr. Feland.

VII.     THE PATENTS-IN-SUIT

         32.    As stated in the Glancey Declaration, I have been retained as an independent

technical expert consultant by Telebrands to provide my opinions regarding the technology of

U.S. Patent Nos. 10,174,870; 10,890,278; and 11,608,915.

         33.    As I stated in the Glancey Declaration, the Patents-in-Suit are generally directed

to an expandable and contractible hose that automatically expands to an extended state when

pressurized water is introduced into the hose and automatically contracts back to a contracted

state when the pressurized water within the hose is subsequently released. ’870 Patent at 1:39-

43.1

         34.    I have reviewed the “Patents-in-Suit” Section of the Feland Declaration and note

that it contains many misstatements. Feland Declaration at ¶¶ 47-57. However, for the purpose

of this declaration I note that it is not necessary to address these misstatements now. I reserve



1
  Unless otherwise noted, I cite to the ’870 Patent specification throughout this declaration when
referring to the Patents-in-Suit because the specifications of the three Patents-in-Suit are
substantively identical.

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the right to address any and all of Dr. Feland’s misstatements in a later declaration to the extent it

becomes necessary.

VIII. OPINIONS CONCERNING CLAIM CONSTRUCTION

        35.    Each of the below claim terms have been identified by Winston Products as

needing to be construed. As explained in the Glancey Declaration and below, it is my opinion

that none of the below Disputed Claim Terms require a construction at least because they are

unambiguous and would have all been easily understood by a POSITA at the time of the

invention. It is further my opinion that, for all the Disputed Claim Terms, the constructions

offered by Winston Products and Dr. Feland contain limitations that do not appear to be justified

by the language of the claims, the specification, or the prosecution histories of the Patents-in-

Suit.

        36.    As an initial matter, I disagree with Dr. Feland’s statements and opinions in

paragraphs 59-62 of the Feland Declaration. As is clear from the Glancey Declaration and my

opinions set forth herein, I am not attempting to have the Court abdicate its role in construing the

claims. Indeed, from my understanding, it is quite common for Courts not to construe easily

understandable claim terms, like the ones we have here. Moreover, contrary to Dr. Feland’s

assertion, not construing the Disputed Claim Terms would not lead to ambiguity (inherent or

otherwise) regarding their meaning and scope. Lastly, my analysis set forth in the Glancey

Declaration does not generate ambiguity regarding the Disputed Claim Terms.

        37.    The below claim terms have been grouped together to the extent they incorporate

common subject matter or involve similar issues.

        A.     Group A: “secured to” / “to couple” / “coupled to”

        38.    As I stated in the Glancey Declaration, it is my opinion that the terms “secured

to,” “to couple,” and “coupled to” are unambiguous and well-known terms that are easily

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understood on their face and, therefore, do not require a construction. My opinions and analyses

from the Glancey Declaration regarding this grouping of claim terms are hereby incorporated by

reference in their entirety. Glancey Declaration at ¶¶ 45-49.

       39.     To be clear, my opinion is that upon taking into consideration the claims,

specification and prosecution histories of the Patents-in-Suit, these claim terms are clear on their

face to a POSITA. Based on my extensive experience in the field of mechanical engineering and

fluid systems including hoses, a POSITA would know immediately what was being referred to

by the words “secured to,” “to couple,” and “coupled to,” and certainly at the time of the claimed

invention disclosed in the Patents-in-Suit.

       40.     I, therefore, do not believe these claim terms require any construction by the

Court, given that they are clear on their face to a POSITA.

       41.     Dr. Feland proposes the following constructions for these terms:

                  “secured to” means “affixed or attached firmly so it cannot be removed from”;

                  “to couple” means “to removably connect”; and

                  “coupled to” means “removably connected to.”

Feland Declaration at ¶ 81.

       42.     I disagree with these constructions because they deviate significantly from their

plain and ordinary meaning.

       43.     Specifically, Dr. Feland’s proposed constructions for these three claim terms

suffer from the same problem – they all attempt to improperly interject extraneous

characterizations of the type of attachment or connection, i.e., affixed or attached firmly so it

cannot be removed, or removably connected, into the claim terms. I disagree that a POSITA

would have understood these claim terms to include such narrow limitations because such



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constructions clearly depart from the plain language of the claims, are not supported by the

specification, and are not otherwise required by inventor lexicography or disavowal, nor are

those concepts necessary to make the claimed invention.

       44.     Notably, Dr. Feland appears to pluck these definitions out of thin air because the

phrase “firmly so it cannot be removed” or any similar phrase does not appear anywhere in the

claims, the specification, or prosecution histories of the Patents-in-Suit, and the term

“removably,” likewise does not appear anywhere in the specification and only appears once in a

dependent claim.

       45.     As an initial matter, the patents’ sole use of the term “removeably” is fatal to Dr.

Feland’s constructions because it expressly contradicts his entire argument. Specifically,

“removeably” appears in Claim 11 of the ’870 Patent, Claim 11 of the ’278 Patent and Claim 10

of the ’915 Patent and is used to describe the connection of the flow restricting nozzle to the

hose. These claims each recite “wherein said flow restrictor is a nozzle which is removeably

secured to said hose.” ’870 Patent, Claim 11; ’278 Patent, Claim 11; and ’915 Patent, Claim 10

(emphasis added). If the Court were to adopt Dr. Feland’s construction of “secured” to mean

“affixed or attached firmly so it cannot be removed” it would render each of these claims

inoperable because the claims expressly require the nozzle to be removeably secured or attached

to the hose. A POSITA would therefore not understand “secured” to mean “affixed or attached

firmly so it cannot be removed” in the context of these claims because doing so would render the

claims completely inoperable. As such, a POSITA reading all of the claims together would not

understand the phrase “secured to” alone means “affixed or attached firmly so it cannot be

removed” because, after reading Claim 11 of the ’870 Patent, Claim 11 of the ’278 Patent and




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Claim 10 of the ’915 Patent, a POSITA would understand that such a narrow definition is clearly

untenable under these circumstances.

       46.     Further, as a general matter, there is no reason (based on the intrinsic record or

otherwise), in my opinion, that a POSITA at the time of the invention would narrow the meaning

of these well understood terms to interject unnecessary limitations as Dr. Feland suggests.

Indeed, none of the claims, specification, or prosecution histories of the Patents-in-Suit require

these terms to be read so narrowly and Dr. Feland has not shown otherwise.

       47.     Moreover, as demonstrated below, none of the cited dictionary definitions support

Dr. Feland’s narrow constructions of these terms.

       48.     Below are the relevant definitions of “secured to”:

                  The Color Oxford English Dictionary, 2011: defines the verb use of “secure”

                   as “firmly fix or fasten” and the adjective use of “secure” as “fixed or fastened

                   so as not to give way or become loose” (attached as Exhibit 1 to the Feland

                   Declaration);

                  The Concise Oxford English Dictionary, 2008 defines the verb use of “secure”

                   as “fix or fasten securely” and the adjective use of “secure” as “fixed or

                   fastened so as not to give way, become loose, or be lost” (attached as Exhibit

                   2 to the Feland Declaration);

                  The Oxford English Dictionary, Second Edition, Volume III, 1989: defines

                   the verb use of “secured” as “firmly fastened” and defines the verb use of

                   “secure” as “to make fast or firm” (attached as Exhibit 3 to the Feland

                   Declaration);




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                  Webster’s New World Dictionary and Thesaurus, Second Edition, 2013: (1)

                   defines the verb use of “secure” to mean “to make firm, fast, etc.,” (2)

                   identifies the synonyms of “secure” as “ [to fasten], settle, lock, bind,” and (3)

                   defines the adjective use of “secure” as “firm, stable, etc. [make the knot

                   secure]” (attached as Exhibit B to the Glancey Declaration);

                  Merriam-Webster’s Collegiate Dictionary, Eleventh Dictionary, 2020: defines

                   the verb use of “secure” to mean “to make fast” (attached hereto as Exhibit

                   B); and

                  Webster’s American English Dictionary, New Edition, 2022: defines the verb

                   use of “secure” as “fasten safely” (attached hereto as Exhibit C).

       49.     As clearly demonstrated by every definition of “secure” set forth above, not one

definition states or suggests that “secure” means the attachment is such that it is permanent – i.e.,

that it cannot be removed or undone. Indeed, a POSITA would have understood the exact

opposite of what Dr. Feland proposes – that securing can involve either permanent or non-

permanent attachments. That is, a POSITA would readily understand that to firmly attach,

fasten, or fix one object to another simply means the attachment is firm or tight – it does not

mean the objects are attached such that they cannot be removed. Dr. Feland does not cite to any

evidence to the contrary. It is therefore my opinion that there is nothing in the intrinsic or

extrinsic record that would require the claim term “secured to” to be limited as Dr. Feland

contends, and a POSITA would not read such a narrow limitation into this claim term.

       50.     Further, the above definitions of “secured” comport with the general

understanding that one can “secure” the threaded end of hose to a spigot (i.e., make the

connection between the end of the hose and spigot tight or firm) while still always being able to



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remove the hose from the spigot as desired. Dr. Feland’s requirement that “secured to” means it

cannot be removed is simply untenable and contrary to the plain and ordinary meaning of the

term as shown by the above definitions and common sense.

       51.      Likewise, as demonstrated below, none of the cited dictionary definitions support

Dr. Feland’s constructions of “to couple,” or “coupled to.”

            The Color Oxford English Dictionary, 2011: defines the verb use of “couple” as “to

             connect or combine” (attached as Exhibit 1 to the Feland Declaration);

            The Concise Oxford English Dictionary, 2008 defines the verb use of “couple” as

             “combine” or “connect (a railway or piece of equipment) to another” (attached as

             Exhibit 2 to the Feland Declaration);

            The Oxford English Dictionary, Second Edition, Volume III, 1989: defines the verb

             use of “couple” generally as “to fasten or link together” and “to join or connect in any

             way,” and defines the verb use of “couple” with respect to mechanical systems as “to

             connect (railway carriages) by a coupling” (attached as Exhibit 3 to the Feland

             Declaration);

            Webster’s New World Dictionary and Thesaurus, Second Edition, 2013: defines the

             verb use of “couple” to mean “to link or unite” and identifies “unite, come together,

             link” as synonyms of “couple” (attached as Exhibit B to the Glancey Declaration);

            Merriam-Webster’s Collegiate Dictionary, Eleventh Dictionary, 2020: defines the

             verb use of “couple” to mean “to connect for consideration together” and “to fasten

             together” (attached hereto as Exhibit B); and

            Webster’s American English Dictionary, New Edition, 2022: defines the verb use of

             “couple” as “link together” (attached hereto as Exhibit C).



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       52.     As clearly demonstrated by every definition of “couple” set forth above, not one

definition states or suggests that “couple” means the connection is such that it must be

removable. Indeed, a POSITA would have understood the exact opposite of what Dr. Feland

proposes – that coupling can involve either permanent or non-permanent connections, and in

some cases even semi-permanent connections. That is, a POSITA would readily understand that

to couple two objects does not mean it has to be a removable connection. Dr. Feland does not

cite to any evidence to the contrary. It is therefore my opinion that there is nothing in the

intrinsic or extrinsic record that would require the claim terms “to couple” and “coupled to” to be

limited as Dr. Feland contends, and a POSITA would not read such a narrow limitation into these

claim terms.

       53.     Further, the above definitions of “couple” comport with the general understanding

that one can “couple” or connect two objects together such that the connection can be either a

removable connection or a permanent connection. Dr. Feland’s requirement, on the other hand,

that “to couple” and “coupled to” means that the connection must be removable is simply

untenable and contrary to the plain and ordinary meaning of the term as shown by the above

definitions and common sense.

       54.     Dr. Feland uses the example of the way railway cars are coupled to support his

constructions of “to couple” and “coupled to” requiring a removable connection. Feland

Declaration at ¶ 67. This example misses the mark. Of course railway cars would need to be

coupled and decoupled but that does not mean that “to couple” and “coupled to” requires a

removable connection. It just shows that in the railway car example the railway cars can be and

usually need to be removably coupled. More fundamentally, these couplings have nothing to do

with fluid systems. For fluid systems, a POSITA would readily understand that “to couple” two



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items together can include any of the following types of connections: 1) removable connection,

2) semi-permanent connection, or 3) permanent connection.

       55.     A removable connection in a fluid system can be, for example, a threaded

connection between a hose and a spigot, as illustrated below. ASTM F412-09 (2009), Standard

Terminology Relating to Plastic Piping Systems, identifies and defines a gasketed spigot joint

(e.g., connection or coupling) as “a connection between piping components consisting of a bell

end on one component [e.g., the hose], an elastomeric gasket between the components, and a

spigot end on the other component [e.g., the water source].” Exhibit D, ASTM F412-09 at 8.




       56.     A permanent connection in a fluid system can be, for example, a coupling with

adhesively bonded joints, crimping, or even soldered joints. An adhesively bonded joint is

illustrated below.




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As shown in the image above, adhesives are commonly used with PVC (polyvinyl chloride

plastic (PVC) and chlorinated polyvinyl chloride (CPVC) fittings. ASTM F412-09 (2009),

Standard Terminology Relating to Plastic Piping Systems identifies and defines an adhesively

bonded joint (e.g., connection or coupling) as “a joint made using an adhesive to bond the piping

components.” Exhibit D, ASTM F412-09 at 8. Another method of creating permanent

connections in fluid systems (like the expandable hose of the Patents-in-Suit) uses crimping to

permanently deform a component in order to couple fluid conveying components. An example

of these crimping type methods of coupling is standardized in ASTM F2159-10 “Standard

Specification for Plastic Insert Fittings Utilizing a Copper Crimp Ring for SDR9 Cross-linked

Polyethylene (PEX) Tubing and SDR9 Polyethylene of Raised Temperature (PE-RT) Tubing”

which was published in 2010 and first approved in 2001. See Exhibit E. This standard for

fittings used in fluid systems outlines requirements for crimp rings made of both copper and

stainless steel intended for use in 100 psi (690 kPa) cold- and hot-water distribution systems

operating at temperatures up to and including 180°F (82°C). Id. at 1.

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The third option that facilities “coupling” two pieces of fluid conduits is a semi-permanent

coupler, which uses compression to connect and seal the fluid system components. ASTM F412-

09 (2009), Standard Terminology Relating to Plastic Piping Systems, identifies and defines a

compression joint (e.g., connection or coupling) as a “mechanical joint made by deforming a

sealing member to form a pressure seal between the fitting or pipe bell and the pipe or tube.”

Exhibit D at 8.




This connection (e.g., coupling) method is now commonly used by engineers and plumbers to

connect pipes and/or tubes that are usually 2 inches or less in diameter. These types of couplers

are referred to as compression fittings (and sometimes in the trade of plumbing as Shark-Bites –

a trademarked name of a manufacturer of these types of compression fittings). In light of the

above, a POSITA would readily understand that “to couple” two items together can include any

of a removable connection, a semi-permanent connection, or a permanent connection.

       57.        As already cited, these aforementioned fluid couplers and connection methods are

defined and standardized in many national standards including, for example, in the standard

ASTM F412-09, “Standard Terminology Relating to Plastic Piping Systems,” which was first

published in 1975. E.g., Exhibit D at 8. This standard provides more appropriate examples of




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fluid couplers (as would be used in connection with the Patents-in-Suit) than the mechanical

railway car coupler example provided by Dr. Feland.

       58.     Overall, the point is that the mechanical couplers (like the mechanical couplers

used for the railway cars cited by Dr. Feland and referenced in one of Dr. Feland’s dictionary

definitions) are different than the couplers used for pipes and hoses conveying a liquid.

Generally speaking, mechanical couplers almost always must be non-permanent or removable to

facilitate disconnecting, disassembly and/or repair of mechanical components or devices, while,

as explained above, fluid couplers can be removable, semi-permanent, or permanent.

Furthermore, coupling fluid components together that convey a fluid must consider fluid leakage,

which is different than with a mechanical coupling connecting mechanical components. A

POSITA, knowing all of this, would therefore not construe the terms “to couple” and “coupled

to” as requiring a removable connection, as Dr. Feland suggestions.

       59.     Moreover, Dr. Feland’s analysis for improperly interjecting limitations into these

claims terms is flawed for at least two reasons.

       60.     First, and as an initial matter, Dr. Feland bases his entire opinion on the false

premise that these claim terms must be construed according to his proposed definitions in order

“to help those seeking to reduce the claimed hose to practice” because, according to Dr. Feland,

“these terms cannot have the overlapping meaning suggested by the words’ plain and ordinary

meaning.” Feland Declaration at ¶ 63. Yet, Dr. Feland never explains why a POSITA would not

be able to reduce the claimed hose to practice without his proposed constructions. That is

because a POSITA would have no problem reducing the claimed hose to practice by simply

applying the plain and ordinary meaning of these claim terms in light of the claims, specification,




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and prosecution histories of the Patents-in-Suit, as well as their dictionary definitions set forth

above.

         61.   Even more problematic for Dr. Feland, he never explains why his specific

proposed constructions are necessary to achieve his alleged goal of helping those seeking to

reduce the claimed hose to practice. That is because Dr. Feland’s proposed constructions are not

necessary to assist a POSITA in reducing the claimed hose to practice because, again, a POSITA

would have no problem reducing the claimed hose to practice by simply applying the plain and

ordinary meaning of these claim terms.

         62.   Second, Dr. Feland’s analysis improperly imports limitations from the

specification into these claim terms. Specifically, Dr. Feland asserts that because the

specification allegedly shows that “secured” components are not meant to be removed from each

other (Feland Declaration at ¶ 71), and that “coupled” components are meant to be removable

(id. at ¶ 64) that that somehow justifies importing these limitations into the claim terms. I

disagree with Dr. Feland.

         63.   In particular, Dr. Feland’s assertion that the “Patents-in-Suit carefully separate the

concepts of securing components together from the notion of removably connecting components

or coupling these components” is simply wrong. Id. at ¶ 71. Indeed, there are several instances

in the Patents-in-Suit where “secure” or “secured” is used to describe a removable attachment

instead of a permanent attachment. For this reason alone, Dr. Feland’s opinions regarding the

construction of these claim terms falls apart and are therefore not correct. Below are the relevant

excerpts from the ’870 Patent that refute Dr. Feland’s assertions:




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            “Claim 11. The hose of claim 1 wherein said flow restrictor is a nozzle which is
             removeably secured to said hose.” (’870 Patent at 16:7-8) (emphasis added);

                o Here, the claim expressly requires the nozzle to be removably secured to

                    the hose, such that if “secured” meant “affixed or attached firmly so it

                    cannot be removed,” as Dr. Feland asserts, it would render the express

                    claim requirement that the nozzle be removably attached to the hose

                    inoperable. How could an object be removably attached to another object

                    such that it is also attached so that it cannot be removed? That would be

                    nonsensical, and counter to what a POSITA would understand.

            “For example, when the hose 10 of the present invention is utilized as a garden
             hose around a house, coupler 18 is secured to a faucet or water outlet on an
             exterior wall of the house.” (’870 Patent at 10:1-4) (emphasis added);

                o Here, the specification is explaining that the coupler of the hose is secured

                    to a faucet. By Dr. Feland’s own admission this type of connection is

                    meant to be a removable connection because if it was not a removable

                    connection “the claimed hose would be limited in its utility, potentially

                    including permanent attachment to a faucet.” Feland Declaration at ¶ 66;

                    see also id. at ¶ 64 (Dr. Feland explaining that the coupling of the claimed

                    hose to sources of pressurized fluid “represent[s] a removable

                    connection”), and at ¶ 64(a).

            “A nozzle or other distributor can be secured to male coupler 16 at the opposite
             end of hose.” (’870 Patent at 10:11-12) (emphasis added); and

                o Here, again, the specification is explaining that the nozzle or sprayer is

                    secured to the male coupler 16. Once again, by Dr. Feland’s own

                    admission this type of connection is meant to be a removable connection.

                    Feland Declaration at ¶ 64 (Dr. Feland explaining that the coupling of the

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                         nozzle to the hose “represent[s] a removable connection”); see also id. at ¶

                         64(e).

                 “A user of the present invention can take hose 10 from a stored condition, secure
                  a nozzle or other flow restrictor on one end of the hose, secure the hose 10 to a
                  water faucet and turn on the water without the fear of the hose becoming
                  entangled or kinked or without the need to untangle or unkink the hose.” (’870
                  Patent at 12:28-33) (emphasis added);

                     o Here, again, the specification is explaining that hose can be secured to a

                         water faucet and that the nozzle can be secured to one end of the hose –

                         both of which are removable connections by Dr. Feland’s own admissions.

                         Feland Declaration at ¶ 64, 66.

        64.       Even if Dr. Feland’s assertions were correct that the specification shows that

“secured” components are not meant to be removed from each other (Feland Declaration at ¶ 71),

and that “coupled” components are meant to be removably connected (id. at ¶ 64), a POSITA

would still not import these narrow limitations into the claim terms because a POSITA would

understand that (1) the specification is meant to simply provide exemplary embodiments (not

limiting examples), and (2) as explained above, the plain and ordinary meaning of these terms is

not so limiting. Moreover, there is nothing in the claims, the specification, or the prosecution

histories of the Patents-in-Suit that inform a POSITA that these claim terms are required to be

limited as Dr. Feland suggests. And, Dr. Feland does not point to any such evidence from the

intrinsic record. Said another way, Dr. Feland’s requirement that “secured” requires a fixing or

fastening that cannot be removed and that “couple” requires a removable connection impose

limitations not required by the claims, specification, or prosecution histories of the Patents-in-

Suit.

        65.       Indeed, nowhere in the claims, specification, or prosecution histories of the

Patents-in-Suit does it state or even suggest that being “secured to” requires an attachment that

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cannot be removed, or that “to couple” is or must only be used for removable connections. To

the contrary, as explained above, a POSITA would understand that being “secured” can be either

a removable or permanent attachment, and that “couple” can be any of a removable, semi-

permanent, or permanent connection, and thus these claim terms are not limited to any particular

type of attachment or connection.

       66.     Moreover, by requiring “couple” to refer only to a removable connection and

“secured” to refer only to a permanent attachment, Dr. Feland is removing embodiments from

the scope of the claims that a POSITA would otherwise understand are covered by the claims.

For example, as explained above, a POSITA would readily understand that coupling two

components together in a fluid system could be accomplished by any of a removeable, semi-

permanent, or permanent connection. And, likewise, a POSITA would readily understand that

securing two components together in a fluid system could result in a removable or permanent

attachment. For example, a POSITA would understand that securing a coupler to the inner and

outer tubes of a hose could be done by clamping the components together. As shown and

explained further below, a POSITA would also readily understand that clamping two

components together does not create a permanent connection and in fact is designed to be a

“reversible” connection so as to allow the clamp to be adjusted and/or removed in order to

replace failed or damaged components.

       67.     Thus, it is my opinion that Dr. Feland’s proposed constructions of these claims

terms improperly limits their full breadth, as a POSITA would readily understand them.

       68.     To the extent Dr. Feland relies on the claim term “unsecured” to further inform

his improper definition of the claim term “secured,” I disagree with Dr. Feland that it does.

Feland Declaration at ¶ 70. Dr. Feland asserts, without any explanation, that the inventors of the



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Patents-in-Suit “use[] the term ‘unsecured’ to describe a situation where the inner tube and outer

tube are not affixed or firmly attached to each other between the first and second ends.” Id.

However, the claims say nothing about how the inner tube and outer tube are unsecured – just

that they are unsecured (i.e., unattached, regardless of whether it is firmly or loosely). Dr.

Feland then goes on to conclude that because the claims state that the outer tube can move freely

over the inner tube that that somehow this means that the outer tube and inner tube are not

“attached firmly.” I disagree with this conclusion. To the contrary, it is because the outer tube

and inner tube are not secured or fastened between their ends (i.e., they are only secured at their

ends) that the outer tube is able move freely over the inner tube. Said another way, it makes no

difference that they are not firmly attached (or loosely attached, for that matter) – just that they

are not attached between the couplers thus enabling them to move relative to each other.

Moreover, the specification of the Patents-in-Suit simply explains that the outer tube is

“unattached, unconnected, unbonded, and unsecured to the inner tube along the entire length of

the inner tube, between the first end and the second end.” ’870 Patent at 7:10-13; see also id. at

9:4-9; 12:7-11; 12:64-13:2. Notably, there is not mention that the outer tube and inner tube are

not firmly attached, as Dr. Feland asserts (or even loosely attached).

       69.     Dr. Feland further opines that the ’870 Patent teaches that “secured components

are not meant to be removed from each other” because, as he asserts, clamping and swaging

(some of the methods used to secure the inner and outer tubes to the couplers) “would require

some portion of the coupler or securing device to be deformed irreversibly.” Feland Declaration

at ¶ 71. I disagree. Clamping does not result in any component being deformed permanently,

nor is the coupling irreversible. To the contrary, many clamped connections and assemblies are

specifically designed to be reversible because the clamp is often designed to be removed from



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the assembled components, thus allowing disassembly. Clamps are designed to be removed in

order to, among other reasons, reset the clamp to make the connection tighter or looser as

needed, or disassemble components in order to replace any failed component(s).

       70.     Further, clamps, as used in the Patents-in-Suit, may be removable connections,

and, more importantly, nothing in the claims, specification or prosecution histories of the

Patents-in-Suit require a non-removable or permanent clamp. Indeed, clamps used for garden

hose applications, as shown below, are designed to be removable (clamp identified by the red

box). As shown in the below example, the clamp can be tightened or removed using a Philips

head screw driver.




       71.     Further, to the extent Dr. Feland asserts that these claim terms need to be

construed to avoid any potential overlapping of meanings suggested by “secured to,” “to

couple,” and “coupled to,” that issue (to the extent it is an issue) could be addressed without

requiring the very narrow limitations Dr. Feland is attempting to import into these claim terms –

for example, by simply applying their respective plain and ordinary meaning.

       72.     Lastly, ultimately, Dr. Feland is taking the untenable position that just because a

connection is described as capable of being removable that means it is required to be removable.


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I disagree with this general conclusion. It is simply common sense that a connection may be

described as removable without requiring that it be removable. The same is true for Dr. Feland’s

position on “secured” – an attachment may be described as permanent (which is not even the

case here) without requiring that the attachment be such that it cannot be removed.

       73.     In light of the above and as explained in the Glancey Declaration, it is my opinion

that a POSITA at the time of the invention would have easily understood and been able to apply

these well-known terms based on the claim language and the specification of the Patents-in-Suit

and, importantly, would not have understood them to be limited as Dr. Feland proposes. As

such, it is my opinion that no construction of these terms is necessary.

       B.      Group B:

               “said inner and outer tubes unsecured between said first and second ends so
               that said outer tube is not held in frictional contact with said inner tube so
               that said outer tube can move freely along said inner tube”

               “said inner tube is unsecured to said outer tube between said first and second
               ends so that said outer tube can move freely over said inner tube”

               “said flexible inner tube unsecured to said flexible outer tube between said
               first and second ends so that said flexible outer tube can move freely over
               said flexible inner tube”

       74.     As I stated in the Glancey Declaration, it is my opinion that these claim terms or

phrases do not require a construction at least because they are easily understandable to a

POSITA on their face, and also because each phrase is defined by the language of the claim

itself. My opinions and analyses from the Glancey Declaration regarding this grouping of claim

terms are hereby incorporated by reference in their entirety. Glancey Declaration at ¶¶ 50-53.

       75.     To be clear, my opinion is that upon taking into consideration the claims,

specification and prosecution histories of the Patents-in-Suit, these claim terms are clear on their

face to a POSITA. Based on my extensive experience in the field of mechanical engineering and


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fluid systems and hoses, a POSITA would know immediately what was being referred to by

these claim phrases and certainly at the time of the claimed invention disclosed in the Patents-in-

Suit.

        76.    A POSITA at the time of the invention would understand that a plain reading of

these claim terms simply describes an inner and an outer tube that are not attached to each other

except at their respective first and second ends so that the outer tube can move freely along the

inner tube – nothing more. That is, no further definition or construction of these claim terms is

necessary because the meaning of these claim terms are clear on their face given their plain and

unambiguous language. The specification also supports this clear understanding. Notably, the

specification states that the “outer tube is unattached, unconnected, unbonded, and unsecured to

the inner tube along the entire length of the inner tube, between the first end and the second end,

so that the outer tube can move freely with respect to the inner tube along the entire length of the

inner tube between the first end and the second end.” ’870 Patent at 7:10-16; see also id. at 1:47-

53 (“The hose is comprised of an elastic inner tube and a separate and distinct non-elastic outer

tube positioned around the circumference of the inner tube and attached and connected to the

inner tube only at both ends and is separated, unattached[,] unbonded and unconnected from the

inner tube along the entire length of the hose between the first end and the second end.”); 9:1-9,

12:1-33, and 12:45-13:27.

        77.    I, therefore, do not believe these claim terms require any construction by the

Court, given that they would be abundantly clear on their face to a POSITA.

        78.    Dr. Feland asserts that these claim terms should be construed to mean: “the inner

and outer tubes are not affixed or attached firmly except at their first and second ends so that

the outer tube can move freely along the inner tube between the couplers.” Feland Declaration at



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¶ 91 (emphasis added).2 Dr. Feland’s proposed construction adds the above-emphasized

unnecessary limitation absent any indicia of inventor lexicography or disclaimer. In fact, Dr.

Feland’s proposed construction appears to entirely rewrite the claim, requiring the inner and

outer tubes to be “affixed or attached firmly” at their respective ends. But there is nothing in the

claim language that mentions or requires this proposed additional limitation. Indeed, it is my

opinion that a POSITA would not understand these claim terms to require this additional

narrowing limitation that Dr. Feland seeks to inappropriately read into the claims, nor is this

concept necessary to make the claimed invention. There is simply no basis to add this limitation

to these claim terms.

         79.   To put it plainly, it appears that Dr. Feland is merely attempting to carry his

improper opinions with respect to the claim term “secured to” through to the claim term

“unsecured.” That is, Dr. Feland appears to be attempting to require that the outer and inner

tubes be affixed or attached firmly at their respective ends. I disagree that a POSITA would read

these claim terms to require such a limitation. Indeed, as explained above, requiring a particular

attachment (i.e., a firm attachment or even a loose attachment) is not supported by the claim

language, specification or prosecution histories of the Patents-in-Suit.

         80.   Moreover, the claims say nothing about how the inner tube and outer tube are

unsecured – just that they are unsecured (i.e., unattached, regardless of whether it is firmly or

loosely). The specification is likewise silent about how the inner and outer tubes are unsecured –




2
  While Dr. Feland’s proposed construction for each of the three claim terms in this grouping are
slightly different (due to the slight difference in claim language), they all attempt to improperly
narrow the claim terms in the same manner. As such, my discussion of this construction applies
equally to the other two constructions Dr. Feland proposes for this grouping of claim terms.

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just that they are “unconnected, unattached, unsecured, or unbonded.” (i.e., unattached,

regardless of whether it is firmly or loosely). ’870 Patent at 12:7-11.

       81.     Further, Dr. Feland’s construction interjects ambiguity or confusion into the claim

where the claim term is otherwise very easily understandable. For example, Dr. Feland’s

requirement that the inner and outer tubes are not affixed or attached firmly except at their first

and second ends implies that the inner and outer tubes are otherwise attached between their first

and second ends but that it is just not a firm attachment. Such an understanding goes completely

against a critical feature of the invention. Indeed, it is because the outer tube and inner tube are

not secured or attached between their ends (i.e., they are only attached at their ends) that the

outer tube is able move freely over the inner tube. ’870 Patent at 12:7-11 (“Because the outer

tube is unconnected, unattached, unsecured, or unbonded to the inner tube along the entire length

of the hose between the first end and the second end, the soft fabric material of the outer tube 12

can move freely with respect to the inner tube [14].”). A critical innovation of the Patents-in-

Suit would be defeated if the inner and outer tubes were secured between the first and second

ends of the outer and inner tubes, as Dr. Feland’s proposed constructions imply and allow.

       82.     To the extent Dr. Feland is using his incorrect construction of “secured to” as

meaning “affixed or attached firmly so it cannot be removed from” to support his construction

that “unsecured” should mean “not affixed or attached firmly,” I disagree with Dr. Feland for all

the reasons stated in the preceding section.

       83.     To the extent Dr. Feland is asserting that because the outer tube can move freely

over the inner tube that that somehow means that the outer tube and inner tube are not “attached

firmly” – I disagree with this assertion. To the contrary, it is because the outer tube and inner

tube are not secured or attached between their ends at all (i.e., they are only secured at their ends)



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that the outer tube is able move freely over the inner tube. Said another way, it makes no

difference that they are not firmly attached (or loosely attached, for that matter) – just that they

are not attached thus facilitating relative motion between the two tubes. Moreover, the

specification of the Patents-in-Suit simply explains that the outer tube is “unattached,

unconnected, unbonded, and unsecured to the inner tube along the entire length of the inner tube,

between the first end and the second end.” ’870 Patent at 7:10-13; see also id. at 9:4-9; 12:7-11;

12:64-13:2.

       84.     Lastly, Dr. Feland’s decision to interject “not affixed or attached firmly” into this

claim term creates an irreconcilable ambiguity because it could be interpreted in one of two

ways: (1) not affixed OR not attached firmly, or (2) not affixed firmly or not attached firmly.

This ambiguous construction leads to a self-contradictory statement in which “not affixed”

would be an acceptable construction, but “not attached firmly” would not. For all the reasons

explained above, the second construction is simply not correct. Because of the ambiguity created

by Dr. Feland’s proposed construction, a POSITA would not adopt Dr. Feland’s construction for

these terms.

       85.     In light of the above, it is my opinion that a POSITA would fully understand the

meaning of these claim terms based on the claim language and the specification of the Patents-

in-Suit, and that therefore no construction of these claim terms is necessary.




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        C.     Group C:

               (i) “a first restrictor sleeve secured to said first end of said inner and said
               outer tubes” / “a first restrictor sleeve secured to said first end of said flexible
               inner tube and said flexible outer tube”

               (ii) “a second restrictor sleeve secured to said second end of said inner and
               said outer tubes” / “a second restrictor sleeve secured to said second end of
               said flexible inner tube and said flexible outer tube”

        86.    As I stated in the Glancey Declaration, it is my opinion that these claim terms or

phrases do not require a construction at least because they are easily understandable to a

POSITA on their face, and also because each phrase is defined by the language of the claim

itself. My opinions and analyses from the Glancey Declaration regarding this grouping of claim

terms are hereby incorporated by reference in their entirety. Glancey Declaration at ¶¶ 54-57.

        87.    To be clear, my opinion is that upon taking into consideration the claims,

specification and prosecution histories of the Patents-in-Suit, these claim terms are clear on their

face to a POSITA. Based on my extensive experience in the field of mechanical engineering and

fluid systems and hoses, a POSITA would know immediately what was being referred to by

these claim phrases and certainly at the time of the claimed invention disclosed in the Patents-in-

Suit.

        88.    A POSITA at the time of the invention would understand that a plain reading of

these claim terms themselves simply describes either (1) a first restrictor sleeve secured to the

first end of the inner and outer tubes, or (2) a second restrictor sleeve secured to the second end

of the inner and outer tubes. The claims themselves as well as the specification both describe the

claimed “restrictor sleeves” as simply a component or sleeve that serves to restrict the expansion

of the inner tube – which is the ordinary meaning a POSITA would ascribe to this term. For

example, Claim 5 of the ’870 Patent states that “said first and second restrictor sleeves provide a

gradual transition of the laterally outward expansion of said inner tube …”). And, the

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specification of the Patents-in-Suit explain that “sleeve 27 [at the first end of the hose] permits

the inner tube 14 to gradually expand” (’870 Patent at 11:33-45) and that “sleeve 26 [at the

second end of the hose] permits the inner tube 14 to gradually expand” (’870 Patent at 11:4-14).

In light of the clear language from the claims and the specification, it is my opinion that no

further definition or construction is necessary – the meaning of these claim terms is clear on their

face given their plain and unambiguous language.

       89.       I, therefore, do not believe these terms require any construction by the Court,

given that they would be clear and well understood on their face to a POSITA.

       90.       Dr. Feland asserts that each of these claim terms should be construed to mean: “a

device that restricts the expansion of the inner tube and is affixed or attached firmly so it cannot

be removed from the [first/second] end of the [flexible] inner tube and the [first/second] end of

the [flexible] outer tube.” Feland Declaration at ¶ 98 (emphasis added). I disagree with Dr.

Feland’s constructions of these claim terms and the analysis he used to arrive at his

constructions.

       91.       As an initial matter, there is nothing in the claim language, specification or

prosecution histories of the Patents-in-Suit that mentions or requires Dr. Feland’s above-

emphasized proposed additional limitation, and Dr. Feland does not cite to anything from the

intrinsic record requiring his proposed limitation. Dr. Feland therefore attempts to improperly

interject the above limitation into the claim terms absent any indicia of inventor lexicography or

disclaimer. As such, it is my opinion that a POSITA would not understand these claim terms to

require the additional narrowing limitation that Dr. Feland seeks to introduce and include, nor are

those concepts necessary to make the claimed invention. Put simply, there is no basis to add the

aforementioned limitation to these easily understandable claim terms.



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       92.     Dr. Feland’s analysis to arrive at his proposed constructions is flawed for several

reasons.

       93.     First, Dr. Feland once again asserts that “secured” needs to be construed because

it “overlaps with ‘couple.’” Feland Declaration at ¶ 93. For the reasons explained above, I

disagree with Dr. Feland. Moreover, and as I also explained above, to the extent, these terms

should be construed, they can and should be construed far less narrowly than what Dr. Feland

proposes.

       94.     Second, Dr. Feland asserts that his proposed construction is the correct one

because “there is nothing in the specification or the claims that teaches how a ‘restrictor sleeve’

can be ‘removably connected’ to the ends of the inner and outer tubes” and because there is

“[n]othing in the specification or claims [that] suggest that the ‘restrictor sleeve’ can be

‘removably connected’ to the inner or outer tubes.” Feland Declaration at ¶ 94. This analysis is

completely flawed. The apparent lack of a teaching does not support Dr. Feland’s proposal to

import an extremely narrow limitation into the claim terms. Indeed, it is telling that Dr. Feland

did not cite to a single instance from the claims, specification, or prosecution histories of the

Patents-in-Suit that actually support his proposed constructions. More importantly and contrary

to Dr. Feland’s assertion, a POSITA, reading the claims, specification and prosecution histories

of the Patents-in-Suit would readily know how to build a removable restrictor sleeve. For

example, a POSITA would know that he or she could use a threaded connection or a removable

clamp (like the one identified above) to attach the restrictor sleeve to the ends of the inner and

outer tubes, as both methods of attachments were well known to a POSITA at the time of the

invention.




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       95.     Third, to support his proposed constructions, Dr. Feland simply recites the claim

language and in conclusory fashion states that somehow supports his narrow constructions.

Feland Declaration at ¶¶ 95-96. This is just Dr. Feland’s unsupported ipse dixit. Indeed,

nowhere in the claims does it state or even suggest that “secured” means “affixed or attached

firmly so it cannot be removed.” To the contrary, and as I have explained above, a POSITA

would know and believe the opposite – that “secured” or securing can involve either permanent

or non-permanent means of attachments. That is, a POSITA would readily understand that to

firmly attach, fasten, or fix one object to another simply means the attachment is firm or tight – it

does not mean the objects are attached such that they cannot be removed. This is supported by

the fact that the claims and specification repeatedly use the word “secure” to describe removable

connections. See, e.g. ’870 Patent at 10:1-4, 10:11-12; 12:219-33; 16:7-8.

       96.     Fourth, Dr. Feland again relies on the same dictionary definitions of “secure” to

support his narrow constructions. Feland Declaration at ¶ 97. For the reasons explained above,

none of those definitions support Dr. Feland’s proposed constructions at least because the

definitions themselves are not so narrow and in fact are much broader.

       97.     Lastly, Dr. Feland attempts to interject ambiguity as to what the claimed

“restrictor sleeves” are by proposing disingenuous hypotheticals. He uses this alleged ambiguity

as a spring board to assert his proposed narrow constructions. Feland Declaration at ¶ 92. I

disagree with Dr. Feland that the claimed “restrictor sleeves” need to be construed. As I stated in

the Glancey Declaration, the claims and specification make clear what the restrictor sleeves are

and what they do: the “first and second restrictor sleeves provide a gradual transition of the

laterally outward expansion of [the] inner tube when there is an increase in pressurized liquid

within [the] inner tube interior between [the] first coupler and [the] second coupler.” ’870 Patent



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at Claim 5; see also id. at Figs. 7 (element 26) and 8 (element 27); 11:9-19. Put simply, the

claims and specification make clear that the purpose of the restrictor sleeves is to limit the lateral

expansion of the inner tube when pressurized water is introduced into the hose in order to

prevent the inner tube from rupturing. Dr. Feland fails to refute this.

        98.    In light of the above, it is my opinion that a POSITA would fully understand the

meaning of these claim terms based on the claim language and the specification of the Patents-

in-Suit, and that therefore no construction of these claim terms is necessary.

        D.     Group D:

               (i) “a first securing device securing said first restrictor sleeve, said outer
               tube, and said inner tube to said first coupler” / “a first securing device
               securing said first restrictor sleeve, said flexible outer tube, and said flexible
               inner tube to said first coupler”

               (ii) “a second securing device securing said another expansion restrictor
               sleeve, said outer tube and said inner tube to said second coupler” / “a second
               securing device securing said second expansion restrictor sleeve, said flexible
               outer tube and said flexible inner tube to said second coupler”

        99.    As I stated in the Glancey Declaration, it is my opinion that these claim terms or

phrases do not require a construction at least because they are easily understandable to a

POSITA on their face, and also because each phrase is defined by the language of the claim

itself. My opinions and analyses from the Glancey Declaration regarding this grouping of claim

terms are hereby incorporated by reference in their entirety. Glancey Declaration at ¶¶ 58-74.

        100.   To be clear, my opinion is that upon taking into consideration the claims,

specification and prosecution histories of the Patents-in-Suit, these claim terms are clear on their

face to a POSITA. Based on my extensive experience in the field of mechanical engineering and

fluid systems and hoses, a POSITA would know immediately what was being referred to by

these claim phrases and certainly at the time of the claimed invention disclosed in the Patents-in-

Suit.

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       101.    As I stated in the Glancey Declaration, my opinions regarding these claim terms

are that (1) they do not do not require a construction (see Glancey Declaration at ¶¶ 60-61), (2)

they are not subject to 35 U.S.C. § 112, sixth paragraph (i.e., they are not written in means-plus-

function form, and therefore they should not be construed pursuant to 35 U.S.C. § 112, sixth

paragraph) (see Glancey Declaration at ¶¶ 62-69), and (3) they are not indefinite under 35 U.S.C.

§ 112, second paragraph (i.e. the claims set forth the subject matter that the inventor regards as

the invention) (see Glancey Declaration at ¶¶ 70-74). Glancey Declaration at ¶¶ 58-74.

       102.    Notably, as I stated in the Glancey Declaration and contrary to Dr. Feland’s

assertions, a POSITA at the time of the invention would understand that a plain reading of these

claim terms themselves simply describes either (1) a first securing device that secures the first

restrictor sleeve, the outer tube, and the inner tube to the first coupler, or (2) a second securing

device that secures the second restrictor sleeve, the outer tube and the inner tube to the second

coupler. The claims themselves as well as the specification both describe the claimed “securing

devices” as simply any device that serves to attach the corresponding (i.e., first or second)

restrictor sleeve, the outer tube, and the inner tube to the corresponding (i.e., first or second)

coupler – nothing more. For example, Claim 7 of the ’870 Patent states that the “first securing

device” simply “secur[es] said first restrictor sleeve, said outer tube, and said inner tube to said

first coupler,” and that the “second securing device” simply “secur[es] said another expansion

restrictor sleeve, said outer tube and said inner tube to said second coupler.” And, the

specification of the Patents-in-Suit states that “securing device 40 encompasses the outer sleeve

27, the outer tube 12, and the inner tube 14 and secures these elements to the tubular extension

36 [of the coupler 18]” (’870 Patent at 11:31-33) and that “securing device 34 encompasses the

outer sleeve 26, the outer tube 12, and the inner tube 14 and secures these elements to the tubular



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extension 34 [of the coupler 16]” (’870 Patent at 10:65-67). Importantly, the specification

specifically contemplates this broad scope by explaining that various other types of devices may

be used to secure the restrictor sleeve, the outer tube, and the inner tube to the couplers and thus

it would be understood by a POSITA that the claimed “securing devices” could be any known

securing device. Id. at 11:13-16 (“Other types of connections, such as clamping and swaging can

also be employed to secure the male coupler to the inner tube 14, the outer tube 12, and the

sleeve 26.”); id. at 11:45-47 (“Other types of connections, such as clamping and swaging can

also be employed to secure the female coupler to the inner tube 14, the outer tube 12, and the

sleeve 27.”).

       103.      In response, Dr. Feland first asserts that each of these claim terms should be

construed to mean: “a device [1] encompassing and [2] affixing or attaching firmly the

[first/second] restrictor sleeve, [3] the [first/second] end of the outer tube, and [4] the

[first/second] end of the inner tube to the [first/second] coupler [5] so they cannot be removed.”

Feland Declaration at ¶ 107 (emphasis added). I disagree with Dr. Feland’s proposed

constructions.

       104.      As initial matter, Dr. Feland’s proposed constructions attempt to improperly

interject no fewer than five additional limitations into these easily understandable claim terms.

Even more egregiously, Dr. Feland fails to cite to any evidence from the claims, specification or

file histories of the Patents-in-Suit to support his constructions. This is because there is no

intrinsic evidence that could possibly support his extremely narrow construction. I, therefore,

disagree that a POSITA would have understood these claim terms to include such narrow

limitations because such constructions clearly depart from the plain language of the claims, are




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not supported by the specification, and are not otherwise required by inventor lexicography or

disavowal, nor are these concepts necessary to make the claimed invention.

       105.    To support his proposed constructions, Dr. Feland only points to the dictionary

definitions of “securing” – like he did with respect to the Group A-C claim terms. Feland

Declaration at ¶ 106. For the reasons explained above, none of those definitions support Dr.

Feland’s proposed constructions at least because the definitions themselves are not so narrow

and in fact are much broader. Moreover, and as also explained above, the Patents-in-Suit all use

the word “secure” to refer to removable connections – which directly contradicts Dr. Feland’s

proposed construction requiring “securing” to mean “affixing or attaching firmly … so they

cannot be removed.”

       106.    Next, Dr. Feland devotes exactly one paragraph as to why he believes the claimed

“securing device” is a nonce term that should be construed pursuant to 35 U.S.C. § 112, sixth

paragraph. Feland Declaration at ¶ 106. Dr. Feland states the “claims reciting a ‘securing

device’ do not provide any structure besides a ‘device’ that is used to ‘secure’ the ‘inner tube,’

the ‘outer tube,’ and the ‘restrictor sleeve’ to the ‘couplers.’” Id. Notably, Dr. Feland failed to

address any of my analysis from the Glancey Declaration explaining that, based on my

experience in the field, a POSITA reading the claims and the specification would readily

understand the claim term “securing device” to be any type of structural element (or elements)

that can be used to secure or connect a restrictor sleeve, an outer tube, and an inner tube to a

coupler of the hose. I hereby incorporate by reference herein my entire analysis regarding this

point from the Glancey Declaration, which Dr. Feland failed to address. Glancey Declaration at

¶¶ 62-69.




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       107.    Lastly, Dr. Feland asserts that if construed under 35 U.S.C. § 112, sixth

paragraph, “securing device” must be construed to be only the ring labeled “34” in FIG. 7 and

labeled “40” in FIG. 8. Feland Declaration at ¶ 119. However, Dr. Feland goes one step further

when he concludes that this means that “securing device” must be construed as a “ring, of a

width roughly one fifth of the width of the threaded portion of the female coupler, encompassing

and affixing or attaching firmly the restrictor sleeves, the ends of the outer tube, and the ends of

the inner tube to the couplers so they cannot be removed.” Id. I disagree with Dr. Feland on this

point for several reasons.

       108.    First, as an initial matter, Dr. Feland is once again attempting to improperly

import the same five limitations into this construction as explained above (see paragraph 103).

And, he once again does so without providing any support from the claims, specification or the

prosecution histories of the Patents-in-Suit.

       109.    Second, Dr. Feland attempts to improperly limit the claimed “securing device” to

the exact embodiment disclosed in the specification. Feland Declaration at ¶¶ 108-119. To

support his position, Dr. Feland asserts that the specification only discloses one embodiment and

a POSITA would not otherwise know how to make any other type of “securing device” to

perform the claimed function. Id. To further support his flawed position, Dr. Feland attempts to

discredit my assertion that the “securing device” could be any known securing structure,

including those expressly disclosed in the specification: “[o]ther types of connections, such as

clamping and swaging [that] can also be employed to secure the [] coupler to the inner tube 14,

the outer tube 12, and the sleeve.” ’870 Patent at 10:65-67; 11:31-33. Dr. Feland goes on to

(incorrectly) explain how each of my proposed securing structures would not work with the

claimed hose. Feland Declaration at ¶¶ 99-105, 111.



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       110.     Putting aside that I generally disagree with Dr. Feland’s analysis, I highlight a

couple of reasons why Dr. Feland’s analysis is completely flawed. First, Dr. Feland fails to

acknowledge that a POSITA would have easily been able to implement a clamp using screws or

nuts and bolts to secure the restrictor sleeve, the outer tube and the inner tube to the couplers.

For example, a POSITA would have easily known how to use a clamp like the one shown below

(identified by the red box):




I note that the clamp shown above utilizes two screws to secure the two-piece clamp to the hose

end assembly.

       111.     As another example, a POSITA would have easily known how to use threaded

connectors to achieve the claimed invention. Indeed, threaded connectors have been

standardized and used in connection with garden hoses since the 1960s. Dr. Feland does not

assert otherwise, but only that if the inventors contemplated using threaded connectors, they

would have disclosed them. That, however, does not negate the fact that a POSITA would have

easily known how to use threaded connectors to achieve the claimed invention.

       112.     I therefore stand by my original statement that a POSITA would have known and

appreciated that there are many standard ways to secure hose end assemblies (like the claimed


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hose end assembly) that could have easily been implemented with the claimed hose. As such, I

disagree with Dr. Feland’s narrow construction of the “securing device” claim terms. Thus, if

“securing device” is determined to be a means-plus-function limitation under 35 U.S.C. § 112,

sixth paragraph, my opinion is that a POSITA would understand that its corresponding structure

would be construed to be: “at least securing rings 34 and 40 and any appropriate and well-known

securing devices, known at the time of the claimed invention.” Such known devices can at least

be clamps (including the clamp shown above) and threaded connectors. I note that clamping is

specifically contemplated in the specification and so for that reason alone Dr. Feland’s proposed

construction (which excludes clamps) is far too narrow.



       I hereby certify that the facts set forth above are true and correct to the best of my personal

knowledge, information, and belief, subject to the penalty of perjury, and are offered to a

reasonable degree of engineering certainty.




Dated: March 4, 2024 By:
                                      JAMES L. GLANCEY




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                          Exhibit A
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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


TELEBRANDS CORPORATION,
                                            Case No. 1:23-cv-00631-BMB
                          Plaintiff,
                                            Judge Bridget Meehan Brennan
v.

WINSTON PRODUCTS LLC,

                          Defendant.




        DECLARATION OF DR. JAMES L. GLANCEY REGARDING CLAIM
     CONSTRUCTION OF U.S. PATENT NOS. 10,174,870; 10,890,278; AND 11,608,915
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                  with said inner tube so that said outer tube can move freely along
                  said inner tube”

                  “said inner tube is unsecured to said outer tube between said first
                  and second ends so that said outer tube can move freely over said
                  inner tube”

                  “said flexible inner tube unsecured to said flexible outer tube
                  between said first and second ends so that said flexible outer tube
                  can move freely over said flexible inner tube” ......................................................15

        C.        (i) “a first restrictor sleeve secured to said first end of said inner
                  and said outer tubes” / “a first restrictor sleeve secured to said first
                  end of said flexible inner tube and said flexible outer tube”

                  (ii) “a second restrictor sleeve secured to said second end of said
                  inner and said outer tubes” / “a second restrictor sleeve secured to
                  said second end of said flexible inner tube and said flexible outer
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     D.    (i) “a first securing device securing said first restrictor sleeve, said
           outer tube, and said inner tube to said first coupler” / “a first
           securing device securing said first restrictor sleeve, said flexible
           outer tube, and said flexible inner tube to said first coupler”

           (ii) “a second securing device securing said another expansion
           restrictor sleeve, said outer tube, and said inner tube to said second
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       I, James L. Glancey, hereby declare the following:

I.     INTRODUCTION

       1.      My name is Dr. James L. Glancey. I have been asked to submit this declaration

on behalf of Telebrands Corporation (“Telebrands”) in connection with the above lawsuit against

Winston Products, LLC (“Winston Products”). Specifically, I have been retained as an

independent technical expert consultant by Telebrands to provide my opinions regarding the

technology of U.S. Patent Nos. 10,174,870 (“the ’870 Patent”); 10,890,278 (“the ’278 Patent”);

and 11,608,915 (“the ’915 Patent”) (collectively, the “Patents-in-Suit”), the knowledge that a

person of ordinary skill in the art (“POSITA”) working in that field of technology would be

expected to have, how a person of ordinary skill in the art would have understood specific claim

terms recited in the Patents-in-Suit, and whether some of those terms should be found indefinite.

       2.      This declaration sets forth the opinions that I have formed based on the

information available to me as of the date below. The opinions and facts set forth in this

declaration are based upon my analysis of the Patents-in-Suit and their claims, the additional

materials I have considered as set forth below, the state of the art at the time of the invention, as

well as my knowledge and extensive experience in this field.

       3.      My analysis of the materials submitted in this proceeding is ongoing and I will

continue to review any new materials that are provided. This declaration is indicative of only

those opinions that I have formed to date and that are set forth herein. I reserve the right to

amend, revise, and/or supplement my opinions stated herein based on any new information that

may become available to me or my continuing analysis of the materials already provided.

       4.      I am not currently and have not at any time in the past been an employee of

Telebrands. I have no financial interest in Telebrands outside of assisting Telebrands as an

expert in this and any related matters.

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       5.      I am being compensated at my normal consulting hourly rate. My compensation

is not in any way dependent on the outcome of any matter or the opinions stated herein.

II.    PROFESSIONAL BACKGROUND AND QUALIFICATIONS

       6.      My opinions stated in this declaration are based on my own personal knowledge

and professional experience and judgment. In forming my opinions, I have relied on my

knowledge and experience in designing, developing, researching, and teaching the technology

discussed and referenced in this declaration.

       7.      My qualifications for forming the opinions in this report are summarized herein

and explained in more detail in my curriculum vitae (“CV”), attached as Exhibit A.

       8.      As detailed in my CV, I have extensive experience as a trained and licensed

mechanical engineer in the design and development of various mechanical systems and devices,

including systems that implement hoses, with a career spanning over 30 years in this field. I

have conducted research in the areas of complex mechanical systems, fluid systems and fluid

dynamics, and I have taught courses on complex mechanical and machine designs, many of

which require the use of hoses and tubing and a comprehensive understanding of fluid dynamics.

       9.      I am currently the principal and owner of Mechanical Design and Forensic

Analysis LLC in Middletown, Delaware, and I have held these positions in the company for over

30 years.

       10.     I am also currently a Professor in both the Mechanical Engineering Department &

the College of Agriculture and Natural Resources at the University of Delaware, and have held

those positions since 2012. Prior to that, from 1991 to 2012, I was an Assistant then Associate

Professor before being promoted to Full Professor with tenure.




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       11.     I was also a partner at Structural Mechanics Associates in Haverford,

Pennsylvania for seven years from 2012 to 2019 where I worked on projects including the design

and failure of mechanical systems and fluid power systems.

       12.     I received a Bachelor of Science degree in Biosystems Engineering from the

University of Delaware in 1985, and a Master of Science and Ph.D. in Engineering from the

University of California at Davis in 1987 and 1991, respectively.

       13.     I am a Licensed Professional Mechanical Engineer (26 years; DE License No.

19743) and have testified at trial and in depositions over 50 times. In my practice, I have been

recognized as an engineering expert in both State and Federal courts 17 times in the U.S. and in

St. Croix, Virgin Islands. In total, I have been hired as an engineering expert for products

liability litigation and patent infringement matters more than 200 times over the past 25 years.

       14.     In 1991 after completing my Ph.D. dissertation at the University of California at

Davis and accepting an engineering faculty position at the University of Delaware, I also began

operating my family’s farm, owning and raising lean beef cattle breeds and growing grain crops

on about 160 acres for about 10 years. In this capacity, I used and maintained a variety of power

and shop tools and large mobile hydraulic equipment and machinery to plant and harvest grain

crops. Among other things, these responsibilities required me to design and fabricate fluid

power hoses with tooling specific to hose manufacturing. Subsequently, I purchased my own

farm in Delaware which is equipped with both a metal shop and wood working shop with lifts,

and a variety of pieces of large farm and construction equipment and machinery that I own,

operate, and maintain. This maintenance required me to design and manufacture high pressure

hoses for some of this equipment. And this facility also contains a laboratory, a metal shop for

product examinations and testing as well as for prototype fabrication, and a hydraulic test stand



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and hydraulic system fabrication equipment that requires fittings and hoses used for prototyping

the designs of fluid systems.

       15.     My academic experience includes serving as an Assistant Professor, Associate

Professor, and Full Professor of Machine Design and Development in the Mechanical

Engineering Department at the University of Delaware; as well as an appointment in the College

of Agriculture and Natural Resources as a Full Professor in the Delaware Cooperative Extension

as an Engineering Specialist. In this capacity, I provide a variety of services using my technical

knowledge and design expertise for businesses and governments in the Mid-Atlantic region of

the U.S. My applied work, in part, focuses on the design and development of pneumatic and

hydraulic systems for manufacturing automation and off-highway equipment for agriculture and

construction. This work required the design, specification, and fabrication of hoses and tubes for

many of these systems. My work also involves the design of water supply systems for irrigation

which require the use of pipes and/or hoses as part of the systems. These examples are further

outlined in my CV.

       16.      As a Full Professor with tenure in Mechanical Engineering, my broader

responsibilities include teaching, research, outreach and service often in the form of independent

consulting for various industries and for litigation matters. I have taught each of the upper-level

Mechanical and Machine Design Courses in the Department of Mechanical Engineering, as well

as co-taught the Capstone Design Course that annually serves over 200 students in Mechanical

Engineering, Biomedical Engineering, Civil Engineering, Environmental Engineering, and

Electrical Engineering. In this capacity, I introduce students to the disciplines of design science,

product and process development, design for manufacture, and failure analysis methods

including Fault Tree Analysis and Failure Modes and Effects Analysis (FMEA). I also have led



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the Graduate Level Industry Partnership Program in Mechanical Engineering, which facilitates

industry-sponsored design and modeling projects for Mechanical Engineering graduate students

to pursue for academic credit. Collectively, these courses use industry-sponsored design

projects, and have served various design needs for over 200 companies in the U.S. In this

capacity, I also introduce students to concepts of patents generally, patent infringement, and

licensing of intellectual property. These projects often require the design of fluid systems – for

example fluid metering systems to produce a precise amount of fluid – for several different

industries including medical devices and the precision manufacturing of materials.

       17.     In addition, my experience and credentials include an appointment in the

University of Delaware Center for Composite Materials, an internationally recognized,

interdisciplinary center of excellence for composites research and education. My experience in

this capacity is threefold: 1) automation of VARTM (Vacuum Assisted Resin Transfer Molding)

infusion processes, 2) new product development using composite materials, and 3) rapid preform

formation for near net shape structural components for automotive applications. Notably, the

automation of the VARTM processes included the precise control of liquid resin flow with a

composite fabric preform using a system of valves, hoses and tubes.

       18.     Based on my research at the University of Delaware, I am an inventor on one U.S.

patent related to vegetable harvesting, and three U.S. patents related to composite materials

manufacturing and automation. I have also applied for six provisional patents and have several

patent applications submitted to the U.S. Patent and Trademark Office. Several of these

applications pertain to the use of composites in hand and power tool design, and mechanical

devices. Other patents and patent applications pertain specifically to the control of fluid flow for




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the purposes of fully infusing a composite preform without forming any voids. And, these novel

inventions relied on the use of hoses for the purpose of conveying a fluid.

       19.      In my professional practice, I also regularly consult for companies and law

firms to assist them with various types of mechanical design and manufacturing challenges and

litigation matters for products ranging from medical devices and manufacturing equipment and

processes to consumer products to industrial and farm machinery. Some of these matters

involve characterizing the fluid flow in such products as a jet ski, a fluid metering system for

reagents of a medical analytical instrument, failed hoses used for resin transfer, and large flat

hoses for industrial applications.

       20.      I have been hired as a design engineer and consultant for multiple major U.S.

companies and government agencies including: Monsanto, Galena, MD (2x); the DuPont

Company, Wilmington, Delaware (3x); Advance Materials Technologies, Wilmington,

Delaware; Siemens Healthcare Diagnostics, Newark, Delaware (10x); Northrup Grumman

(formerly ATK/Thiokol), Elkton, Maryland; Kraft Foods, Dover, Delaware (3x); the State of

Delaware (3x); the Town of Middletown, Delaware (6x); the Town of Odessa, Delaware; the

Town of Bridgeville, Delaware; Baltimore Tool Works, Inc. (2x); Duffield Engineering

Associates, Wilmington, Delaware; the Consumer Union (Consumer Reports Magazine),

Yonkers, New York (3x); and Dogfish Head Brewery, Milton, Delaware. For companies like

Siemens, AMT, and Dogfish Head, their projects involved fluid handling and metering systems

(including hoses) for the manufacture of their fluid products.

       21.      My professional academic accomplishments include over 50 refereed

engineering journal articles and refereed proceedings. I served for eight years as Associate

Editor for two premier engineering journals and have served as a reviewer for over 20



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engineering and scientific journals in the U.S. and abroad. I have also published over 75

conference papers and given 190 invited and/or conference presentations in the U.S., Canada,

and Europe.

       22.      I have received several academic awards as well as industry awards since being

promoted to Associate and then Full Professor at the University of Delaware. This includes

being inducted into the University of Delaware’s Mentor’s Circle in 2001, which is an award

given to faculty who have been nominated by students and faculty for their accomplishments in

mentoring, teaching, and advising undergraduate and graduate students. I also received the

George M. Worrilow Award, the highest honor awarded by the CANR given to an alumnus

of the University of Delaware who has demonstrated outstanding service to agriculture. In

2014, I received the Delaware Farm Bureau Distinguished Service to Agriculture Award, given

to recognizesignificant contributions to agriculture in the mid-Atlantic region; I was the first

faculty member at the University of Delaware to ever win this award. I, along with Delaware

Governor, Jack Markell, Secretary of Environmental Control for the state of Delaware, Collin

O’Mara; Secretary of Agriculture for the State of Delaware, Edwin Kee; Mayor of Middletown,

Delaware, Kenneth Branner; and President of Artesian Water, Dian Taylor, received the Water

Resources Associationof the Delaware River Basin’s Government Award for the first use of

highly treated municipal wastewater for irrigating agricultural crops on an as-need basis in the

mid-Atlantic region.

       23.      As a peer reviewer of journal articles being considered for publication, I

received the American Society of Agricultural and Biological Engineers Outstanding reviewer

award in 2012. I was also nominated and selected to serve two four-year terms as Associate

Editor for the two journals published by the American Society of Agricultural and Biological



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Engineers. I have also served as a peer reviewer for 20 different journals and other publications

including research work in Mechanical and Agricultural Engineering, Composite Materials, and

Agricultural Production and Sciences. Journals I have published in and been a reviewer for

include the Transactions of the American Society of Mechanical Engineers, the Transactions of

Society of Automotive Engineering, and the Journal of the American Institute of Aeronautics

and Astronautics.

       24.       Through the Delaware Cooperative Extension Service, I have cooperated with

and provided engineering services and guidance to farm businesses on over 50 on-farm

engineering projects in Delaware, Maryland, Pennsylvania, and New Jersey. In this capacity

and as outlined in my Curriculum Vitae, I have made over 70 invited presentations at

Cooperative Extension Service meetings or other local conferences and meetings. These

presentations include topics pertaining to the proper and safe operation of mobile and off-road

equipment, and the development and care of hydraulic systems and components including but

not limited to hoses for systems involving irrigation, sanitizing and cleaning, and fluid power

transmission.

       25.       My experience of over 30 years in academic and practical situations as well as

my hands-on experience has given me an extensive understanding of the technology set forth in

the Patents-in-Suit.

III.   MATERIALS AND OTHER INFORMATION CONSIDERED

       26.      In preparation for this declaration, I have considered the specification, claims, and

file history of each of the Patents-in-Suit. I have reviewed Telebrands’ Preliminary Proposed

Constructions and Supporting Evidence, Winston Products’ Preliminary Proposed Constructions

and Supporting Evidence, and the other materials mentioned herein. In addition, my opinions

are also based on my education, training, experience, and knowledge in the relevant field.

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       27.     I reserve the right to supplement, amend, or modify my opinions based on any

new information, documents, and/or arguments that are made available to me after the

submission of this declaration.

       28.     To the extent that additional information is presented and becomes available to

me during these proceedings, including the briefing and argument related to claim construction

and/or any opposing expert opinions, I reserve the right to amend, supplement, or modify my

opinions as appropriate.

IV.    SUMMARY OF OPINIONS

       29.     Based on my analysis of the materials and information I considered in connection

with this declaration, it is my opinion that Winston Products’ proposed constructions attempt to

improperly import limitations from the specification into the claims and/or add unnecessary

requirements that do not appear to be supported by the claim language, the specification or the

prosecution histories. It is apparent to me, and it would have been apparent to a POSITA at the

time of the invention (i.e., 2011) that none of the below identified claim terms require a

construction at least because each claim term is easily understandable on its face, and would

have been known and understood by a POSITA at the time of the invention.

       30.     Further, it is my opinion that the various claim terms reciting a “securing device”

are not subject to pre America Invents Act 35 U.S.C. § 112, paragraph 6, and even if they are,

they are not indefinite because the specification of the Patents-in-Suit disclose adequate structure

corresponding to the claimed function.

V.     UNDERSTANDING OF PATENT LAW

       31.     I am a technical expert and do not offer any legal opinions or interpretations of

the law. However, counsel has informed me as to certain legal principles regarding patent claim



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construction and related matters under United States patent law, as described below, which I

have applied in performing my analysis and arriving at my technical opinions in this matter.

        32.    I have been informed that a U.S. patent includes a specification that describes

examples of the invention(s) invented by the inventor(s), and one or more claims that define the

scope of the subject matter protected by the patent, and over which the patentee has exclusive

property rights.

        33.    I have been informed by counsel that the general rule of claim construction is that

claim terms are generally given their plain and ordinary meaning as understood by a POSITA at

the time of the invention, in light of the specification and prosecution history. I have also been

informed by counsel that there are only two exceptions to this general rule: (1) when a patentee

sets out a definition and acts as his own lexicographer, or (2) when the patentee disavows the full

scope of a claim term either in the specification or during prosecution. When the patentee acts as

his own lexicographer, any special definition given to a word must be clearly set forth in the

specification. Disavowal requires that either the specification or the prosecution history show

that the patentee clearly, unambiguously, and unmistakably disclaimed or disavowed certain

claim scope during prosecution in order to obtain claim allowance.

        34.    I have been informed that, in construing claim terms, the Court looks first to the

intrinsic evidence of record, which includes the claims themselves, the remainder of the

specification and the prosecution history of the patent(s). I further understand that the Court may

also consider extrinsic evidence, which includes expert testimony, dictionaries, and learned

treatises.

        35.    I have also been informed by counsel about the legal principles regarding 35

U.S.C. § 112, paragraph 6 – the statute that governs what is referred to as means-plus-function



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limitations. Specifically, I have been informed that means-plus-function claim terms governed

by 35 U.S.C. § 112, paragraph 6, are limited to only the structure, materials, or acts described in

the specification as corresponding to the claimed function and equivalents thereof. I also

understand that the lack of the term “means” in a claim limitation creates a rebuttable

presumption that the claim limitation is not a means-plus-function term governed by 35 U.S.C. §

112, paragraph 6. I further understand that this presumption can be rebutted if it can be

established that the claim term fails to recite sufficiently definite structure or recites function

without reciting sufficient structure for performing that function. This determination must be

made by examining the claim language as a whole. I also understand that generic terms such as

mechanism, element, member, component, or other nonce words that reflect nothing more than

verbal constructs may be used in a way that is effectively the same as the word “means.” The

standard in determining whether a specific claim limitation is subject to 35 U.S.C. § 112,

paragraph 6, is whether the words of the claim are understood by a POSITA to have sufficiently

definite meaning as the name for structure.

        36.     If it is established that 35 U.S.C. § 112, paragraph 6, applies to a specific claim

limitation, construing the claim limitation is a two-step process. First, the function of the means-

plus-function limitation is determined. Second, the structure disclosed in the specification

corresponding to the function and its equivalents is determined. The structure disclosed in the

specification is the “corresponding” structure only if the specification or prosecution history

clearly links or associates that structure to the function recited in the claim. The corresponding

structure must include all structure that performs the recited function. If the specification or

prosecution history does not disclose adequate corresponding structure, the claim is indefinite

under 35 U.S.C. § 112, paragraph 2.



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VI.     PERSON OF ORDINARY SKILL IN THE ART

        37.     I understand that there are various factors relevant to determining the level of

ordinary skill in the pertinent art, including the educational level of active workers in the field at

the time of the alleged invention, the sophistication of the technology, the type of problems

encountered in the art, the prior art solutions to those problems, and the rapidity with which

innovations are made.

        38.     In determining the characteristics of a hypothetical POSITA of the Patents-in-Suit

at the time of the invention, I considered several things, including the type of problems

encountered in this field, and the rapidity with which innovations were made. I also considered

the sophistication of the technology involved, and the educational background and experience of

those actively working in the field, and the level of education that would be necessary to

understand the Patents-in-Suit. Finally, I placed myself back in the relevant period of time (i.e.,

2011) and considered the state of the art and the level of skill of the persons working in this field

at that time.

        39.     Based on the materials I have considered, my own personal knowledge and

experience, and the level of skill required to design and build an expandable and contractible

hose, I have come to the conclusion that the characteristics of a POSITA in connection with the

Patents-in-Suit would hold a Bachelor’s Degree in Mechanical Engineering or a closely related

technical field and would have at least two years of experience in the manufacture, design and/or

the application and use of hoses for various types of fluids. This hypothetical person would be

capable of performing various design tasks and would understand the basic mechanical and fluid

features and operation of expandable and contractible hoses; this hypothetical person would also

have at least a basic knowledge of fluid mechanics, solid mechanics, and materials science and



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engineering as they relate to hoses and how hoses generally function to convey fluids from one

place to another.

         40.   I was at least a POSITA as of the priority date of the Patents-in-Suit (i.e., 2011).

         41.   My opinions concerning the claim terms of the Patents-in-Suit are from the

perspective of a POSITA, as set forth above, at the time of the invention.

VII.     TECHNOLOGY BACKGROUND

         42.   The Patents-in-Suit are generally directed to an expandable and contractible hose

that automatically expands to an extended state when pressurized water is introduced into the

hose and automatically contracts back to a contracted state when the pressurized water within the

hose is subsequently released. ’870 Patent at 1:39-43.1

VIII. OPINIONS CONCERNING CLAIM CONSTRUCTION

         43.   Each of the below claim terms have been identified by Winston Products as

needing to be construed. As explained below, it is my opinion that none of the below claim

terms require a construction at least because they are unambiguous and would have all been

easily understood by a POSITA at the time of the invention. It is further my opinion that, for all

the identified claim terms, the constructions offered by Winston Products contain limitations that

do not appear to be justified by the language of the claims or the specification.

         44.   The below claim terms have been grouped together to the extent they incorporate

common subject matter or involve similar issues.




1
  Unless otherwise noted, I cite to the ’870 Patent specification throughout this declaration when
referring to the Patents-in-Suit because the specifications of the three Patents-in-Suit are
substantively identical.

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       A.      “secured”

               “to couple”

               “coupled to”

       45.     It is my opinion that the terms “secured,” “to couple,” and “coupled to” are

unambiguous and well-known terms that are easily understood on their face and, therefore, do

not require a construction.

       46.     I understand that Winston Products asserts that these claim terms should be

construed as follows:

                  “secured” means “permanently attached”;

                  “to couple” means “to removably connect”; and

                  “coupled to” means “removably connected to.”

       47.     All of Winston Products’ proposed constructions for these three terms suffer from

the same problem – they all attempt to improperly interject extraneous characterizations of the

type of attachment or connection, i.e., permanently attached or removably connected, into the

claim terms. I disagree that a POSITA would have understood these claim terms to include such

narrow limitations because such constructions clearly depart from the plain language of the

claims, are not supported by the specification, and are not otherwise required by inventor

lexicography or disavowal, nor are those concepts necessary to make the claimed invention.

       48.     Notably, the words “permanently” and “removably” do not appear anywhere in

the claims, the specification, or prosecution histories. Nor is there any reason, in my opinion,

that a POSITA at the time of the invention would narrow the meaning of these well understood

words as Winston Products suggests. Indeed, Webster’s New World Dictionary and Thesaurus,

Second Edition, defines the word “secure” to mean “to fasten” or “tighten” and defines the word



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“coupling” to mean “joining together.” See Exhibit B, attached hereto, at 4 (Webster’s New

World Dictionary and Thesaurus, Second Edition, 2013 (“Webster’s”), definition of “secure”);

id. at 3 (Webster’s definition of “coupling”). Notably, these definitions do not state or suggest

that “secure” means to permanently fasten, or that “coupling” means to removably join together.

Indeed, a POSITA would have understood the exact opposite of what Winston Products proposes

– that coupling or securing can involve either permanent or non-permanent connections. It is my

opinion that there is nothing in the claims, specification or file histories that would require these

claim terms to be limited as Winston Products contends, and a POSITA would not read such

narrow limitations into these claim terms.

       49.     In light of the above, it is my opinion that a POSITA at the time of the invention

would have easily understood these well-known terms based on the claim language and the

specification of the Patents-in-Suit and, importantly, would not have understood them to be

limited as Winston Products proposes. As such, it is my opinion that no construction of these

terms is necessary.

       B.      “said inner and outer tubes unsecured between said first and second ends so
               that said outer tube is not held in frictional contact with said inner tube so
               that said outer tube can move freely along said inner tube”

               “said inner tube is unsecured to said outer tube between said first and second
               ends so that said outer tube can move freely over said inner tube”

               “said flexible inner tube unsecured to said flexible outer tube between said
               first and second ends so that said flexible outer tube can move freely over
               said flexible inner tube”

       50.     It is my opinion that these claim terms or phrases do not require a construction at

least because they are easily understandable to a POSITA on their face, and also because each

phrase is defined by the language of the claim itself.




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       51.     A POSITA at the time of the invention would understand that a plain reading of

these claim terms themselves simply describes two inner and outer tubes that are not attached to

each other except at their respective first and second ends so that the outer tube can move freely

along the inner tube – nothing more. That is, no further definition or construction of these terms

is necessary because the meaning of these claim terms are clear on their face given their plain

and unambiguous language. The specification also supports this clear understanding. Notably,

the specification states that the “outer tube is unattached, unconnected, unbonded, and unsecured

to the inner tube along the entire length of the inner tube, between the first end and the second

end, so that the outer tube can move freely with respect to the inner tube along the entire length

of the inner tube between the first end and the second end.” ’870 Patent at 7:10-16; see also id.

at 1:47-53 (“The hose is comprised of an elastic inner tube and a separate and distinct non-elastic

outer tube positioned around the circumference of the inner tube and attached and connected to

the inner tube only at both ends and is separated, unattached[,] unbonded and unconnected from

the inner tube along the entire length of the hose between the first end and the second end.”);

9:1-9, 12:1-33, and 12:45-13:27.

       52.     I understand that Winston Products asserts that each of these claim terms should

be construed to mean: “the inner and outer tubes are not [1] permanently attached together [2]

except at the first coupler and the second coupler, [3] so as to allow the inner and outer tubes

to move relative to each other between the couplers [4] when the hose expands or contracts.”

(emphasis added). This proposed construction adds no fewer than four unnecessary limitations

absent any indicia of inventor lexicography or disclaimer. In fact, Winston Products’ proposed

construction appears to entirely rewrite the claim, requiring the inner and outer tubes to be

“permanently” attached at the “couplers” so as to allow the inner and outer tubes to “move



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relative to each other between the couplers” “when the hose expands or contracts.” But there is

nothing in the claim language that mentions or requires any of these proposed additional

limitations. Indeed, it is my opinion that a POSITA would not understand these claim terms to

require any of these four additional narrowing limitations that Winston Products seeks to

inappropriately read into the claims, nor are any of those concepts necessary to make the claimed

invention. Moreover, it is my opinion that the introduction of the last two limitations (“to allow

the inner and outer tubes to move relative to each other between the couplers” and “when the

hose expands or contracts”) unnecessarily add ambiguity to these otherwise easily

understandable claim terms. There is no basis to add any of these limitations to these -claim

terms.

         53.   In light of the above, it is my opinion that a POSITA would fully understand the

meaning of these claim terms based on the claim language and the specification of the Patents-

in-Suit, and that therefore no construction of these claim terms is necessary.

         C.    (i) “a first restrictor sleeve secured to said first end of said inner and said
               outer tubes” / “a first restrictor sleeve secured to said first end of said flexible
               inner tube and said flexible outer tube”

               (ii) “a second restrictor sleeve secured to said second end of said inner and
               said outer tubes” / “a second restrictor sleeve secured to said second end of
               said flexible inner tube and said flexible outer tube”

         54.   It is my opinion that these claim terms or phrases do not require a construction at

least because they are easily understandable to a POSITA on their face, and also because each

phrase is defined by the language of the claim itself.

         55.   A POSITA at the time of the invention would understand that a plain reading of

these claim terms themselves simply describes either (1) a first restrictor sleeve secured to the

first end of the inner and outer tubes, or (2) a second restrictor sleeve secured to the second end

of the inner and outer tubes. The claims themselves as well as the specification both describe the

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claimed “restrictor sleeves” as simply a component or sleeve that serves to restrict the expansion

of the inner tube – which is the ordinary meaning a POSITA would ascribe to this term. For

example, Claim 5 of the ’870 Patent states that “said first and second restrictor sleeves provide a

gradual transition of the laterally outward expansion of said inner tube …”). And, the

specification of the Patents-in-Suit explain that “sleeve 27 [at the first end of the hose] permits

the inner tube 14 to gradually expand” (’870 Patent at 11:33-45) and that “sleeve 26 [at the

second end of the hose] permits the inner tube 14 to gradually expand” (’870 Patent at 11:4-14).

In light of the clear language from the claims and the specification, it is my opinion that no

further definition or construction is necessary – the meaning of these claim terms are clear on

their face given their plain and unambiguous language.

       56.     I understand that Winston Products asserts that each of these claim terms should

be construed to mean: “a device that allows the [flexible] inner tube to expand gradually [1] from

the tubular extension and [2] is permanently attached to the [first/second] end of the [flexible]

inner tube and the [first/second] end of the [flexible] outer tube.” (emphasis added). This

proposed construction adds the above two aforementioned limitations absent any indicia of

inventor lexicography or disclaimer. But there is nothing in the claim language that mentions or

requires either of these proposed additional limitations. Indeed, it is my opinion that a POSITA

would not understand these claim terms to require either of these additional narrowing

limitations that Winston Products seeks to include, nor are those concepts necessary to make the

claimed invention. Moreover, it is my opinion that the introduction of the unclaimed feature –

“tubular extension” – unnecessarily adds ambiguity to these otherwise easily understandable

claim terms. Put simply, there is no basis to add either of these limitations to these easily

understandable claim terms.



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        57.     In light of the above, it is my opinion that a POSITA would fully understand the

meaning of these claim terms based on the claim language and the specification of the Patents-

in-Suit, and that therefore no construction of these claim terms is necessary.

        D.       (i) “a first securing device securing said first restrictor sleeve, said outer
                tube, and said inner tube to said first coupler” / “a first securing device
                securing said first restrictor sleeve, said flexible outer tube, and said flexible
                inner tube to said first coupler”

                (ii) “a second securing device securing said another expansion restrictor
                sleeve, said outer tube, and said inner tube to said second coupler” / “a
                second securing device securing said second expansion restrictor sleeve, said
                flexible outer tube, and said flexible inner tube to said second coupler”

        58.     It is my opinion that these claim terms or phrases do not require a construction at

least because they are easily understandable to a POSITA on their face, and also because each

phrase is defined by the language of the claim itself.

        59.     I understand that Winston Products asserts that the claimed “securing devices” are

means-plus-function limitations that should be construed pursuant to 35 U.S.C. § 112, sixth

paragraph, to cover only the securing devices 34 and 40 shown in Figures 7 and 8 of the Patents-

in-Suit, respectively. I further understand that, in direct contradiction of its proposed

construction, Winston Products also asserts that these claim terms are indefinite under 35 U.S.C.

§ 112, second paragraph, because the specification allegedly does not discuss or describe any

type of “securing device” and thus fails to disclose the corresponding structure to perform the

claimed functions. My opinion is that these terms do not require a construction and I also

disagree with both of Winston Products’ assertions.

                1.      The “Securing Device” Limitations Do Not Require A Construction

        60.     A POSITA at the time of the invention would understand that a plain reading of

these claim terms themselves simply describes either (1) a first securing device that secures the

first restrictor sleeve, the outer tube, and the inner tube to the first coupler, or (2) a second

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securing device that secures the second restrictor sleeve, the outer tube and the inner tube to the

second coupler. The claims themselves as well as the specification both describe the claimed

“securing devices” as simply any device that serves to attach the corresponding (i.e., first or

second) restrictor sleeve, the outer tube, and the inner tube to the corresponding (i.e., first or

second) coupler – nothing more. For example, Claim 7 of the ’870 Patent states that the “first

securing device” simply “secur[es] said first restrictor sleeve, said outer tube, and said inner tube

to said first coupler,” and that the “second securing device” simply “secur[es] said another

expansion restrictor sleeve, said outer tube and said inner tube to said second coupler.” And, the

specification of the Patents-in-Suit states that “securing device 40 encompasses the outer sleeve

27, the outer tube 12, and the inner tube 14 and secures these elements to the tubular extension

36 [of the coupler 18]” (’870 Patent at 11:31-33) and that “securing device 34 encompasses the

outer sleeve 26, the outer tube 12, and the inner tube 14 and secures these elements to the tubular

extension 34 [of the coupler 16]” (’870 Patent at 10:65-67). Importantly, the specification

specifically contemplates this broad scope by explaining that various other types of devices may

be used to secure the restrictor sleeve, the outer tube, and the inner tube to the couplers and thus

it would be understood by a POSITA that the claimed “securing devices” could be any known

securing device. Id. at 11:13-16 (“Other types of connections, such as clamping and swaging can

also be employed to secure the male coupler to the inner tube 14, the outer tube 12, and the

sleeve 26.”); id. at 11:45-47 (“Other types of connections, such as clamping and swaging can

also be employed to secure the female coupler to the inner tube 14, the outer tube 12, and the

sleeve 27.”).




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       61.     In light of the above, it is my opinion that a POSITA would fully understand the

meaning of these claim terms based on the claim language and the specification of the Patents-

in-Suit, and that therefore no construction of these claim terms is necessary.

               2.      The “Securing Device” Limitations Are Not Subject to 35 U.S.C. §
                       112, Sixth Paragraph

       62.     I understand that Winston Products asserts that the “securing device” limitations

are means-plus-function limitations that should be construed pursuant to 35 U.S.C. § 112, sixth

paragraph. I disagree. As an initial matter, and as discussed in Section V, supra, the lack of the

term “means” in these claim limitations creates a rebuttal presumption that they are not means-

plus-function limitations.

       63.     I understand, however, that the presumption can be rebutted if Winston Products

can establish that the claimed “securing devices” fail to recite sufficiently definite structure or

recite function without reciting sufficient structure for performing that function. I further

understand that in an attempt to rebut this presumption, Winston Products asserts that “securing

device” is a nonce term that does not recite sufficient structure. I disagree with Winston

Products.

       64.     In my opinion, “securing device” is not a nonce word or merely a verbal construct

that is used in a way that is effectively the same as the word “means.” Rather, “securing device”

would readily be recognized by a POSITA to have a sufficiently definite meaning as the name

for structure in light of the claims and the specification.

       65.     For example, based on the claim language alone, a POSITA would easily

recognize that the “securing devices” of the claimed hose are the structural components of the

hose that secure or connect a restrictor sleeve, an outer tube, and an inner tube to a coupler of the

hose. See, e.g., ’870 Patent, Claim 7. Notably, based on my experience in the field, a POSITA


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reading Claim 7 of the ’870 Patent would readily understand the claim term “securing device” to

be any type of structural element (or elements) that can be used to secure or connect a restrictor

sleeve, an outer tube, and an inner tube to a coupler of the hose. Accordingly, a “securing

device,” to a POSITA can be a screw, a nut and bolt, a securing ring, a clamp, a crimp, a swage

fitting, etc. – all of which are structural elements that can be used to secure or connect a restrictor

sleeve, an outer tube, and an inner tube to a coupler of the hose.

       66.     The specification also supports my opinion that the term “securing device” would

be readily recognized by a POSITA as the structural component used for securing a restrictor

sleeve, an outer tube, and an inner tube to a coupler. Indeed, the specification specifically shows

and describes the different types of structural components that may be used to secure a restrictor

sleeve, an outer tube, and an inner tube to a coupler of the hose. For example, Figure 8 of the

Patents-in-Suit illustrates securing device or ring 40 as the structural component used to secure

“the outer sleeve 27, the outer tube 12, and the inner tube 14 … to the tubular extension 36” of

coupler 18 (’870 Patent at 11:31-33), and Figure 7 illustrates securing device or ring 34 as the

structural component used to secure “the outer sleeve 26, the outer tube 12, and the inner tube 14

… to the tubular extension 34” of coupler 16 (’870 Patent at 10:65-67). The specification also

identifies other structural components, such as clamps, crimps or swage fittings that can be used

to secure a restrictor sleeve, an outer tube, and an inner tube to a coupler of the hose. Id. at

11:13-16, 11:45-47, 2:34-46, 3:37-47.

       67.     A POSITA would therefore discern from the claim language, the specification and

their general knowledge that the term “securing device” is not used as a nonce term or generic

abstraction, but rather as a specific reference to the structural elements of the claimed hose that

secures or connects a restrictor sleeve, an outer tube, and an inner tube to a coupler of the hose.



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In other words, the term “securing device” is broad, but identifiable as the term used to describe

the various structural elements disclosed in the specification (as well as any other well-known

securing devices) that perform the function of securing or connecting a restrictor sleeve, an outer

tube, and an inner tube to a coupler of the hose. Notably, a POSITA would recognize that the

claimed “securing devices” are not limited to the embodiments shown in Figures 7 and 8.

       68.     It is therefore my opinion that the “securing devices” claimed in the Patents-in-

Suit would have a sufficiently definite meaning to a POSITA as the name for structure and that

the terms should not be construed as means-plus-function limitations under 35 U.S.C. § 112,

sixth paragraph.

       69.     I further note that the term “securing device” was not treated as a means-plus-

function limitation by the Examiner of the Patents-in-Suit or their family members. This further

confirms my opinion that “securing devices” is not a means-plus-function term.

               3.      The “Securing Device” Limitations Are Not Indefinite Under 35
                       U.S.C. § 112, Second Paragraph

       70.     I understand that Winston Products also asserts that the “securing device”

limitations are indefinite under 35 U.S.C. § 112, second paragraph, because the Patents-in-Suit

allegedly do not disclose the corresponding structure to perform the claimed function of securing

a restrictor sleeve, an outer tube, and an inner tube to a coupler. I disagree.

       71.     As an initial matter, my understanding is Winston Products has not asserted that

the “securing device” limitations are indefinite under 35 U.S.C. § 112, second paragraph,

generally. Rather, Winston Products has only asserted that the “securing device” limitations are

indefinite as it relates to Winston Products’ assertion that these limitations are governed by 35

U.S.C. § 112, sixth paragraph. To the extent Winston Products later asserts that these limitations




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are indefinite generally under 35 U.S.C. § 112, second paragraph, I reserve the right to

supplement this opinion to address such assertions.

       72.     It is my opinion that, if the claimed “securing devices” are ultimately deemed to

be means-plus-function limitations, they are definite under 35 U.S.C. § 112, second paragraph.

A POSITA would understand that the Patents-in-Suit disclose at least securing rings 34 and 40,

shown in Figures 7 and 8, as the structure for the claimed function of securing a restrictor sleeve,

an outer tube, and an inner tube to a coupler. ’870 Patent at 10:65-67, 11:31-33, Figs. 7-8.

Below are Figures 7 and 8 from the ’870 Patent illustrating securing rings 34 and 40:

          Figure 7 of the ’870 Patent                        Figure 8 of the ’870 Patent




       73.     It also my opinion that a POSITA would understand that the Patents-in-Suit

disclose additional structure for the claimed function, including “[o]ther types of connections,

such as clamping and swaging [that] can also be employed to secure the [] coupler to the inner

tube 14, the outer tube 12, and the sleeve.” Id. at 10:65-67, 11:31-33. A POSITA would have

understood from this disclosure that any number of appropriate and well-known securing devices

could be used to secure the restrictor sleeve, the outer tube, and the inner tube to the coupler of

the hose. It is therefore my opinion that a POSITA would understand that the shared


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specification of the Patents-in-Suit disclose sufficiently definite structure corresponding to the

claimed function, enabling a POSITA to make and use the inventions.

       74.     My opinion is further supported by Winston Products’ own admission that the

Patents-in-Suit expressly disclose that the securing devices can be securing rings 34 and 37

shown in Figures 7 and 8, respectively. See Winston Products’ Preliminary Claim Constructions

and Supporting Evidence, served on Dec. 11, 2023, at 11-12 (“This term must be construed

under section 112(f). The specification does not describe any securing device with the exception

of securing device 40 in Figure 8. Figure 8 illustrates the securing device 40 as some type of

annular device that encompasses the restrictor sleeve, the outer tube, and the inner tube.”)

(emphasis added); see also id. at 13-14 (“This term must be construed under section 112(f). The

specification does not describe any securing device with the exception of securing device 34 in

Figure 7. Figure 7 illustrates the securing device 34 as some type of annular device that

encompasses the restrictor sleeve, the outer tube, and the inner tube.”) (emphasis added). This

is an express admission by Winston Products that the Patents-in-Suit do in fact disclose sufficient

structure – i.e., securing devices 34 and 40 – for performing the claimed function.



       I hereby certify that the facts set forth above are true and correct to the best of my personal

knowledge, information, and belief, subject to the penalty of perjury, and are offered to a

reasonable degree of engineering certainty.




Dated: December 29, 2023       By:
                                       JAMES L. GLANCEY




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                          Exhibit A
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                                                                                Last Update: Nov 2023
                               J A M E S L. G L AN CE Y , P H .D., P.E.
                        CURRICULUM VITAE (SINCE PROMOTION TO ASSOCIATE PROFESSOR IN 1997)

R E G I S T E R E D P R O F E S S I O N A L E N G I N E E R (M E C H A N I C A L ): D E L AWA R E R E G . N O . 19743
E D U C AT I O N
    • Ph.D.                University of California, Davis              1991
    • M.S.                 University of California, Davis              1987
    • B.S.                 University of Delaware                       1985
PROFESSIONAL EXPERIENCE
  • Professor, Mechanical Engineering & the College of Agriculture and
     Natural Resources, University of Delaware                                                               7/12 - present
  • Associate Professor, Mechanical Engineering, University of Delaware                                      9/97 – 6/12
  • Associate Professor, Bioresources Engineering, University of Delaware                                    7/97 – 6/12
  • Assistant Professor, Bioresources Engineering, University of Delaware                                    1/91 - 6/97
  • Principle and Owner, Mechanical Design and Forensic Analysis LLC, Middletown, DE                         6/99 – present
  • Partner, Structural Mechanics Associates, Haverford, PA                                                  7/12 – 6/19
OTHER ACADEMIC APPOINTMENTS
  • Academic Contact, Concentration in Manufacturing Systems, Dept. of Mech Engr.           9/18 - present
  • Faculty Coordinator, Student Machine Shop, College of Engineering                       7/16 – present
  • Faculty Advisor, Resilient Builds Engineering Club, College of Engineering              8/18 – present
  • Faculty Advisor, Trap and Skeet Club, University of Delaware Chapter                    8/17 – present
  • Faculty Advisor, Alpha Gamma Rho, Univ. of Delaware Chapter                             9/15 - present
  • Affiliate Faculty, Center for Composite Materials, Univ. of Delaware                    7/03 - present
  • Engineer, Cooperative Extension Service, Univ. of Delaware                              7/03 - present
  • Faculty Member, Center for Biomedical Engineering Research, Univ. of Delaware           9/03 – present
                       (now the Center for Biomechanical Engineering Research, Univ. of DE)
R E C O G N I T I O N A N D A WA R D S
    • The University of Delaware George M. Worrilow Award for Outstanding Alumni. 2017.
    • The Delaware Farm Bureau Distinguished Service to Agriculture Award. 2014.
    • The Water Resources Association of the Delaware River Basin’s 2011 Government Award - (co-recipient with
         Governor Jack Markell; Secretary of Environment and Energy Collin O’Mara; Secretary of Agriculture for the State
         of Delaware, Edwin Kee; Mayor of Middletown, Delaware, Kenneth Branner; and President of Artesian Water,
         Dian Taylor). 2011.
    • The Delaware Vegetable Growers Association Distinguished Service Award. 2011.
    • Selected as Associate Editor, Power and Machinery Division, The American Society of Agricultural and Biological
         Engineers, 2004-2012.
    • Nominated for Excellence in Academic Advising, University of Delaware, 2006.
    • Inducted into the University of Delaware’s Mentors’ Circle. 2001.
    • Dean’s Merit Award, University of Delaware, 2001.
    • Nominated for Excellence in Teaching Award, University of Delaware College of Engineering, 2000.
    • North Central Campus Senior-Faculty Recognition Award, University of Delaware, 2000.
    • Excellence in Academic Advising, University of Delaware. 1997.
    • Society of Automotive Engineers Recognition Award. 1997, 2004 Off-Highway and Powerplant Exposition.
    • Awards Received by Student Advisees:
         ▪ Solar Decathlon Event Sponsored by NREL, UD College of Engineering Team Submission. 2021. Top Ten
             Finalist.
         ▪ American Society of Mechanical Engineers (ASME), Delaware Section Student Design Award. 2019. Harper
             Drake, Mary Galanek, John Hughes, Jess Tentindo. $500.
         ▪ American Society of Mechanical Engineers (ASME), Delaware Section Student Design Award. 2013.
             Benjamin J. Hockman, Gerad M. Lieb, Gregory N. Ohnemus, Luke A. Walmer. $500.
                                       986 CHURCHTOWN ROAD        304 PILOTTOWN ROAD
                                MIDDLETOWN DELAWARE 19709         LEWES DELAWARE 19508
                                                       USA        USA
                                                        302.690.7531
       Case: 1:23-cv-00631-BMB Doc #: 40-12 Filed: 04/23/24 80 of 163. PageID #: 1455
                                                                                                      Glancey CV - 2 of 45

       ▪ American Society of Mechanical Engineers (ASME), Delaware Section Student Design Award. 2013. Brett A.
         Davis, David L. A. Eisensmith, Laura E. Quinn, Stephen J. Schafer. $500
       ▪ The 2009 American Society of Mechanical Engineers (ASME) International Student Design Competition,
         Second Place Award Recipients (Raquel Ciappi, Brad Miller, Steve Petfield, Chris Uthgenannt). $1000.00.
       ▪ The 2008 ASME International Student Design Competition, Tied for First Place Award (Sean Collins, Sarah
         Mabel, Dan Shannon, and Doug Erikson). $2,500.
       ▪ The 2008 ASME International Student Design Competition, Tied for First Place Award (Jess Dibelka, Julianne
         Twomey, and Mark Steimer). $2,500.
       ▪ Sigma Xi (University of Delaware Chapter) Undergraduate Research Thesis Award (Janelle Konchar)
       ▪ Society for the Advancement of Materials and Processing (SAMPE) 2006 National Research Award (Michael
         Fuqua, 2nd Place), $1,000.
       ▪ Honors Degree with Distinction Thesis (Kerrie Smith, Richard Herseim, Scott Kasprzak, Michael Fuqua)
       ▪ Degree with Distinction Thesis (Janelle Konchar, Dan Brisach, Matt Griffith)
       ▪ Honors Program Undergraduate Research Summer Fellowship (Scott Kasprzak, Michael Fuqua)
       ▪ Hayward Fellowship for Undergraduate Research (Kerrie Smith, Richard Herseim, Scott Kasprzak)
       ▪ Nowinski Award for Undergraduate Research in Mechanical Engineering (Rich Herseim)
       ▪ Science and Engineering Scholars (Richard Herseim, Ian Cosden, Michael Fuqua, Janelle Konchar, Jessie
         Krisher, John Nasr, Mathew Griffith, Stephan Petfield, Connie Helstosky)
       ▪ Delaware Water Resources Center Summer Internship (Kerrie Smith, Mathew King)
       ▪ Undergraduate Research Supply & Expense Grants (Daniel Brisach (2), Matthew Griffith (3), John Nasr, Scott
         Kasprzak (2), Janelle Konchar (3), Jesse, Krisher, Mike Fuqua (2), Dan Muhlenforth, James Moore, Jennifer
         Lawrence, Dominic Schiavoni, Eric Busby, Richard Herseim (2), Gwen Thorsen (2), Dustin Fryberger, Kerrie
         Smith (2), Dawn Cintavey, Tony Nasr, Annie Tseng, Mike Fyock, Dan Meckley, Chad Stover, Dan
         Hoffstetter) ($5,000 total for all students).
       ▪ Colonial Academic Alliance Undergraduate Research Symposium Invited Presenter (Janelle Konchar, Kerrie
         Smith)
       ▪ Center for Biomedical Engineering Research Symposium Presenters (Justin Alms, Jennifer Lawrence, James
         Moore, Dominic Schiavoni, Dan Muhlenforth, Jonathan Fitzgibbons, Barbara Tuesday, Rich Herseim, Janelle
         Konchar, Jessie Krisher)
       ▪ Center for Composite Materials Undergraduate Research Fellowship (Michael Fuqua, Matt Griffith, Steven
         Petfield)
       ▪ Outstanding Senior Researcher, Center for Composite Materials (Scott Kasprzak, Daniel Brisach)
       ▪ Center for Composite Material Graduate Achievement Award (Justin Alms, co-advised w/ S. Advani)
       ▪ College of Engineering Graduate Student Laird Fellowship (Jingbo Wang, co-advised w/ J. Vinson)
       ▪ Center for Composite Materials R.L. McCullough Scholars Award (Justin Alms, co-advised with S. Advani)

PROFESSIONAL SOCIETIES
  • American Society of Mechanical Engineers                        ● Society of Automotive Engineers
  • American Society of Agricultural & Biological Engineers         ● Delaware Association of Professional Enrs
  • Society for the Advancement of Material and Process Engineering ● American Society of Safety Professionals
  • International Society of Beverage Technologists                 ● American Concrete Pumping Association


TEACHING
C O U R S E S T A U G H T AT U N I V E R S I T Y O F D E L AWA R E
    • EGTE 125/167             Freshman Seminar (96F, 97F, 98F).
    • EGTE/BREG 209 Computer-Aided Drafting (06S, 08S, 09S, 10S, 11S).
    • EGTE 435                 Machinery Design (96F, 98S, 01S, 03S, 05S, 07S).
    • EGTE 450                 Practicum in Industry (06S).
    • EGTE 467                 Issues in Production Agriculture (02S).
    • EGTE 366/466             Undergraduate Independent Study (01F, 02S, 03F, 04S, 06F, 07W, 07S).
    • AGEG 666                 Graduate Independent Study (97S).
    • BREG 666                 Graduate Independent Study (08F, 10S).
    • MEEG 202                 Computer-Aided-Engineering Design (05S, 11S, 12S).
    • MEEG 301                 Machine Design: Kinematics (11F - 20F).
    • MEEG 304                 Machine Design: Elements (99S, 00S, 12S-21S).
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                                                                                                      Glancey CV - 3 of 45

   •   MEEG 401           Senior Design (99F/S, 00F-05F, 07F-21F).
   •   MEEG 445           Senior Research (00-06).
   •   MEEG 366/466       Independent Study (06-21S).
   •   MEEG 467           Special Topics in Engineering Design (03S, 04S).
   •   MEEG 666           Graduate Independent Study (08S, 09F, 19S).
   •   MEEG 866           Graduate Research (02F, 03S, 03F, 04S).
   •   UNIV 111           First Year Experience Freshman Seminar (08F).
   •   UNIV 401/402       Senior Thesis, University-Wide Instructor of Record (07F, 08S).
   •   UNIV 401/402       Senior Thesis Advisor (02F, 03S, 03F, 04S, 04F, 05S, 05F, 06S, 06F, 07S).

INVITED LECTURES
   • MEEG 653/453, Manufacturing Processes. Two Lectures: Computer-Aided Engineering and Manufacturing &
      Automation for Manufacturing. (2003, 2004, 2005, 2006, 2007, 2008, 2009, 2010, 2011, 2013, 2014, 2015, 2016,
      2017, 2018, 2019, 2020, 2021).
   • MEEG 304, Machine Design. Developing Design Packages for Communicating Engineering Solutions. (2008).
   • EGTE 440, Plant Layout. Basics of Vibration and Noise-Related Industrial Hygiene and Engineering Controls to
      Reduce Exposures and Injuries. (2007).
   • UNIV 401, Senior Thesis. Developing an Effective Research Presentation: Fall Meeting of the Senior Thesis
      Candidates. (2004, 2005, 2006).
   • UNIV 401, Senior Thesis. Using and Not Abusing Technologies to Deliver Research Presentations (a.k.a.
      Avoiding Death by PowerPoint). (2005, 2006).
   • PLSC 302, Vegetable Science. Precision Ag for Horticultural Crops. (2000).
   • ANFS 421, Poultry Production. Pollution Prevention Technologies for the Delmarva Poultry Industry. (1999).
   • PLSC 302, Vegetable Science. Mechanization & Engineering in Production Horticulture & Introduction to GPS
      Technologies. (1999, 2010).
   • EGTE 443, Instrumentation. Basics of GPS and DGPS. (1998).

G R A D U AT E A N D U N D E R G R A D U AT E T H E S I S
    •     Ph. D. Students:
          ▪ First Advisor:
             o Justin Alms, Ph.D. in Mechanical Engineering (with Dr. Suresh Advani, 2006-2010).
                  Thesis: Closed Loop Control Strategies with VARTM for Manufacturing Large-Scale Composites.
          ▪ Committee Member:
             o Hao Liu, Ph.D. in Mechanical Engineering (2018)
             o Thomas Cender, Ph.D. in Mechanical Engineering (2017)
             o Hatice Sas, Ph.D. in Mechanical Engineering (2015)
             o Hao Lu, Ph.D. in Mechanical Engineering (2014)
             o John Gandolf, Ph.D. in Mechanical Engineering (2014)
             o Parag Nittur, Ph.D. in Mechanical Engineering (2013).
             o Thomas Cender, Ph.D. in Mechanical Engineering (2013).
             o Hatice Sas, Ph.D. in Mechanical Engineering (2013).
             o Liang Chen, Ph.D. in Mechanical Engineering (2010).
             o Swapnil Garge, Ph.D. in Chemical Engineering (2007).
             o Kalyan Mankala, Ph.D. in Mechanical Engineering (2006).
             o Jeff Lawrence, Ph.D. in Mechanical Engineering (2005).
             o Jie Sheng, Ph.D. in Mechanical Engineering (2005).
             o Chris Foster, Ph.D. in Mechanical Engineering (2005).
             o Xiangyu Wang, Ph.D. in Mechanical Engineering (2004).
             o Luis Crespo, Ph.D. in Mechanical Engineering (2002).

   •   M.S. Students:
       ▪ First Advisor:
          o Ajit R Nalla, Master in Mechanical Engineering (2006).
              Thesis: Modeling and Adaptive Control of Vacuum Assisted Resin Transfer Molding Systems with
              Segmented Injection and Vacuum Lines.
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                                                                                                 Glancey CV - 4 of 45

        o   Jingbo Wang, Master in Mechanical Engineering (with J. Vinson, 2002),
            Thesis: Transverse Shear and Non-Linear Deformation Effects on the Physical Properties of Sandwich
            and Laminate Composite Plates.
        o   Manu Krishnan, Master in Mechanical Engineering (with J. Sun, 2000).
            Thesis: Adaptive Control Strategies for Precision Agriculture Machines.

    ▪   Committee Member:
        o Jeff Lugo Master of Mechanical Engineering. (2013).
        o Joe Walther, Master of Mechanical Engineering. (2011).
        o Kenneth Okonkwo, Master of Mechanical Engineering. (2010).
        o Piyush Bubna, Master of Mechanical Engineering (2010).
        o Justin Merotte, Master of Mechanical Engineering (2009).
        o Darren Brown, Master of Mechanical Engineering (2008).
        o Prabhas Bhat, Master of Mechanical Engineering (2007).
        o John Fader, Master of Mechanical Engineering (2006).
        o Thomas Shipman, Master of Mechanical Engineering (2006).
        o Stephanie Frangakis, Master of Mechanical Engineering (2005).
        o Sean McIntosh, Master of Mechanical Engineering (2005).
        o Yeliz Karakaya, Master of Mechanical Engineering (2005).
        o Scott Lynch, Master of Environmental and Energy Policy (2004).
        o James Arters, Master of Mechanical Engineering (2004).
        o Rajkiran Madangopal, Master of Mechanical Engineering (2004).
        o Mathieu Devillard, Master of Mechanical Engineering (2003).
        o Mark Lynch, Master in Food & Resource Economics (1998).

•   Undergraduate Degree with Distinction and Honors Degree with Distinction Thesis
    ▪ First Advisor:
       o Daniel Brisach, Degree with Distinction in Mechanical Engineering (2006-07).
           Thesis: Vibration Transmission Measurements in the Hand and Arm from Impacting Components.
       o Matt Griffith, Degree with Distinction in Mechanical Engineering (2006-07).
           Thesis: High Strain Rate Characteristics of Mineral Reinforced Polymers.
       o Janelle Konchar, Degree with Distinction in Mechanical Engineering (2005-06).
           Thesis: Modeling & Testing of a New Polymer-Based Impact Tool Design to Reduce Biomechanical
                   Injuries.
       o Michael Fuqua, Honors Degree with Distinction in Mechanical Engineering (2005-06).
           Thesis: A Port Injection System and Controller for VARTM.
       o Scott Kasprzak, Honors Degree with Distinction in Mechanical Engineering (2004-05).
           Thesis: VARTM Flow Modification with Machine Vision and Robotic Control.
       o Richard Herseim, Honors Degree with Distinction in Mechanical Engineering (2003-04).
           Thesis: A Full Scale Apparatus for Measuring the Forces Exerted on the Human Femur During Falls.
       o Kerrie Smith, Honors Degree with Distinction in Mechanical Engineering (2002-03).
           Thesis: An Autonomous Whole Water Column Environmental Monitoring System with Telemetry.

    ▪   Second Advisor:
        o Rossiny Beaucejour       (Mechanical Engineering)    2013-14
        o John Eisenbrey           (Mechanical Engineering)    2004-05
        o Michael Kutzer           (Mechanical Engineering)    2004-05
        o Thomas Shipman           (Mechanical Engineering)    2003-04
        o Kristin Huesmann         (Mechanical Engineering)    2002-03
        o Karin Wood               (Bioresources Engineering)  2002-03
        o Ryan Jost                (Food & Resource Economics) 2000-01

    ▪   Third Reader:
        o Yuk-J Leung              (Mathematical Sciences)        2012-13
        o Jennifer Bruhns          (Computer & Info. Science)     2012-13
        o Casey Casalnuovo         (Computer & Info. Science)     2012-13
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           o   Vikramjit Rathee      (Biological Sciences)          2012-13
           o   Matthew Saponaro      (Mathematical Sciences)        2012-13
           o   Ricky Shum            (Mathematical Sciences)        2012-13
           o   Matthew Stagitis      (Computer & Info. Science)     2012-13
           o   Rebecca Aiken         (Civil Engineering)            2011-12
           o   Michelle Allen        (Computer Science)             2011-12
           o   Cory Bart             (Computer Science)             2011-12
           o   Nicholas Troup        (Physics & Astronomy)          2011-12
           o   Stephanie Countess    (Civil Engineering)            2010-11
           o   Kent Davidson         (Civil Engineering)            2010-11
           o   Craig Davis           (Civil Engineering)            2010-11
           o   Geoffrey Dilg         (Civil Engineering)            2010-11
           o   Christine Sutkowski   (Civil Engineering)            2010-11
           o   Nathan Mayercsik      (Civil Engineering)            2009-10
           o   Melissa Stewart       (Civil Engineering)            2009-10
           o   Jeffrey Bosco         (Chemical Engineering)         2008-09
           o   Michael Daugherty     (Health & Exercise Science)    2008-09
           o   Emily Gardinier       (Physical Therapy)             2008-09
           o   Katherine Monahan     (Health & Exercise Science)    2008-09
           o   Jeff Rockwell         (Civil Engineering)            2008-09
           o   Jason Schoenfeld      (Health & Exercise Science)    2008-09
           o   Adam Blomberg         (Physics & Astronomy)          2007-08
           o   Zachary Fry           (Computer & Info. Science)     2007-08
           o   Andrew Gearhart        (Computer & Info. Science)    2007-08
           o   Hailey Guerriero      (Physics & Astronomy)          2007-08
           o   Joshua Kirby          (Computer & Info. Science)     2007-08
           o   Donald Andre Scott    (Computer & Info. Science)     2007-08
           o   Steven Anton          (Physics & Astronomy)          2006-07
           o   Todd Molnar           (Mathematical Sciences)        2006-07
           o   Daniel Osborne        (Physics & Astronomy)          2006-07
           o   Ming-Jay Shiao        (Electrical Engineering)       2006
           o   Patrick Collar        (Computer & Info. Science)     2005-06
           o   Janine Janoski        (Mathematical Sciences)        2005-06
           o   Kathryne Sharp        (Mathematical Sciences)        2005-06
           o   Zachary Loman         (Electrical Engineering)       2005-06
           o   Peter Steijn          (Computer & Info. Science)     2005-06
           o   Ming-Jay Shiao        (Electrical Engineering)       2005-06
           o   Anteneh Anteneh       (Computer & Info. Science)     2004-05
           o   Michael Brennan       (Computer & Info. Science)     2004-05
           o   Lewis Fishgold        (Computer & Info. Science)     2004-05
           o   Ki-Yong Kim           (Computer & Info. Science)     2004-05
           o   Brendan Farmer        (Mathematical Sciences)        2004-05
           o   Michael Lowinger      (Chemical Engineering)         2003-04
           o   Richard Lunt          (Chemical Engineering)         2003-04

VISITING SCHOLARS AND STUDENTS
   • Guillaume Lecore. 4th Year Plastics & Composites Process Engineering, Ecole des Mines de Douai, Douai,
      France. Automation of the VIPR process for composite manufacturing. (co-advised w/Dr. Suresh Advani). 2009.
   • Laurent Garnier, 4th Year Mechanical Engineering, Ecole des Mines de Douai, Douai, France. Evaluation of
      VARTM control strategies to improve resin filling characteristics. (co-advised w/Dr. Suresh Advani). 2008.
   • Aude Catry, 4th Year Mechanical Engineering, Ecole des Mines de Douai, Douai, France. Evaluation of VARTM
      control strategies to improve resin filling characteristics. (co-advised w/Dr. Suresh Advani). 2008.
   • Benoit Lelievre. M.S., Department of Mechanical Engineering, Universite de Bretagne Sud, Lorient, France.
      Measurement and Control of the Resin Flow in Composite Pre-forms with Flow Disturbances and Variable
      Permeability. 2003.
        Case: 1:23-cv-00631-BMB Doc #: 40-12 Filed: 04/23/24 84 of 163. PageID #: 1459
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    •    Yuen-Yong Leong, M.S., Electrical Engineering, Imperial College London, South Kensington campus, London,
         England. System Identification and Controller Design for a Hydrostatic Drive New Holland Windrower. 2002.
    •    Dr. Zhang Zong, Ph. D. Associate Professor, Department of Mechanical Engineering, Beijing University of
         Technology, Beijing, China. Modeling and Experimental Evaluation of the Wear in a Miniature Vane Pump Used
         for the Evaluation of Hydraulic Fluid Performance. 1999-2001 (w/ Dr. Michael Keefe).

S P E C I A L E D U C AT I O N A L P R O G R A M S A N D A C T I V I T I E S
     • Solar Decathlon Competition. (2000-2001). Nationwide design competition to develop and operate an 800 ft2
           solar powered house – the team consisted of three faculty advisors, 30 students, 40 industrial sponsors, and
           several technical consultants. The University of Delaware house, along with the 9 other houses from universities
           in the U.S. and Puerto Rico, was built and operated on the National Mall in Washington, D.C. for a 10-day period
           in October, 2002. Over 90,000 visitors toured the site, and the U of D house placed sixth in the competition.
           Faculty Advisors: Drs. Lian Ping Wang, Ajay Prasad, and James Glancey.
     • Travel Abroad Program to California/Mexico. Winter Session 2002. Co-Sponsored by the Departments. of Plant
           and Soil Sciences & Bioresources Engineering. Faculty Directors: Ed Kee and James Glancey. Cancelled due
           to terrorist activities of September 11, 2001.
     • Charter High School Senior Research Project Advisor
           ▪ Derrek Jones. 2004-05. Performance of a non-contact temperature sensor for avian egg embryo temperature
                measurement. Senior Research Project for the Charter School of Wilmington.
           ▪ Phillip Franklin. 2004-05. Biomechanics of a human climbing a fiberglass step ladder. Senior Research
                Project for the Charter School of Wilmington.
     • Summer Research Internship
           ▪ Kurt Hayes. 2011. Comparison of flashspun high-density polyethylene fibers to other conventional polymer
                fabrics for the separation of oil from water. Rowen University, Glassboro, DE.
           ▪ Erin McCaul. 2005. Estimating physical properties required for computing the forces on the upper femur
                during falls. St. Marks High School, Wilmington, DE.
     • High School Sophomore Science Fair Project Advisor
           ▪ Samir Streatfield. 2011-12. Design of a grinder to accelerate composting of food wastes. Unionville High
                School. Delaware Valley Science Fair, Unionville, PA.
           ▪ Amee Raval. 2006-07. Measuring the Heating Value from Several Different Bio-Diesel and E-Diesel Fuels.
                Sophomore Science Fair for the Charter School of Wilmington, Wilmington, DE.
           ▪ Sam Nobles, 2005-06. Testing of Ethanol-Based and Soy Oil-Based Diesel Fuels in Commercial and
                Industrial Engines. Sophomore Science Fair for the Charter School of Wilmington.
           ▪ Shane Furn. 2005-06. Particulate Emission Measurements from Several Biofuels in Commercial and
                Industrial Engines. S
           ▪ Sophomore Science Fair for the Charter School of Wilmington.
     ▪ Coach for the Science Olympiad. Lectures and Demonstrations on Simple Machines. Mario Musumeci and
           Adam Smith. (2008).
     • New Castle County Annual Science Fair Judge and American Society of Mechanical Engineers Award Presenter.
           (2006, 2008, 2009, 2010). Stanton, DE.
     • Presentations and Career Fairs for High School Student Groups:
           ▪ Engineering as a Profession. 2012. Middletown High School, Middletown, DE.
           ▪ What’s a Professional Engineer? 2008, 2009. Middletown and Appoquinimink High Schools Career Fair.
           ▪ Engineering as a Profession. 2007. St. Marks High School Career Fair, Wilmington, DE.
           ▪ Biomechanics: Engineering for (and of) Humans. 2004. Outreach seminar for the Resources for Successful
                Engineers (RISE) program, Students from the Philadelphia School District, Newark , DE.
           ▪ Who’s Really Protecting Me? Engineers Who Design and Develop Products! 2003. Outreach seminar for
                the Resources for Successful Engineers (RISE) program, Students from the Philadelphia School District,
                Newark, DE.

U N D E R G R A D U AT E S T U D E N T P R O J E C T S A D V I S E D F O R C R E D I T (I N D E P E N D E N T S T U D Y O R H O N O R S
D E G R E E R E Q U I R E M E N T ), 3 C R E D I T S U N L E S S O T H E RW I S E N O T E D
    1. Anuj Gandhi. 2019. Scaling of a silica column manufacturing process for gas chromatographs. Sponsored by
          Advanced Materials Technology, Wilmington, DE. (Graduate Student)
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2. Greg Driscoll and Drew McQuiston. 2019. Integration of a cooperative robot into the assembly process for
    silica-based reactive columns in liquid chromatographs. Newport Manufacturing Site, Agilent Technologies,
    Wilmington, Delaware.
3. Mary Galanek. 2018. Fatigue analysis of a four bar linkage. Sponsored by Siemen Healthcare Diagnostics.
    (Honors Degree Requirement).
4. Michael Palmer. 2018. Testing of an angled gear worm drive for medical display devices. Sponsored by Southco
    Inc., Concordville, PA. (Honors Degree Requirement).
5. Greg Driscoll. 2018. Stepper motor sizing as an alternative drive for a cooperative robot tube feeding system.
    Sponsored by Newport Manufacturing Site, Agilent Technologies. (Honors Degree Requirement).
6. Drew McQuiston. 2018. Staticially significant testing of a tube singulation mechanism. Sponsored by Newport
    Manufacturing Site, Agilent Technologies. (Honors Degree Requirement).
7. Kanak Chattopadhyay. 2018. Evaluation of an automated bottle cap torqueing system for the filling line of
    consumables reagent bottles. Sponsored by Siemens Healthineers, Glasgow, DE.
8. Matt Blasi, Tom Celenza, Matt Seitel, Alex Nugent. 2018. Implementation of a cooperative robot for Computer
    Numerical Control fabrication of Plexiglas shields. Sponsors by Norwalt Design.
9. Luke Szewczak. 2018. Software and laboratory assignment development for the 3-axis Mazak milling machine
    in Spencer Lab. Sponsored by the Department of Mechanical Engineering (6 credits)
10. Matt Hall, Sarah Ago, and Ricky Hahn. 2018. Redesign of a 3d adjustment system for an optical HASMAT
    chemical detector. Sponsored by Smith Detection, Edgewood, Maryland.
11. Marisa Bisram. 2017. Modeling the enclosure environment on a 3-axis mill using coolant mist. Sponsored by
    Depuy Synthes. (Honors Degree Requirement).
12. Shannon Russell. 2017. Semi-automated extrusion loader for reagent vessels. Sponsored by Siemens Healthcare
    Diagnostics.
13. Connor Bydlon. 2016. Hopper transfer process for extruded plastic cuvette holders. Sponsored by Siemens
    Healthcare Diagnostics. (Honors Degree Requirement).
14. Steven Davis and Adam Smith. 2016. Test system for qualifying silicon lids on reagent delivery trays.
    Sponsored by Siemens Healthcare Diagnostics.
15. Michael Junken. 2015. Optimized design for the next generation plate lifting system for composite sample
    manufacturing. Sponsored by GE Aviation.
16. Steve Todderud. 2015. Developing of a tailgate-based bale weighing system for large round balers. Sponsored
    by Case-New Holland Industrial, New Holland, PA.
17. Hunter Bachman. 2015. Preventative maintenance statistical analysis for a tube manufacturing process.
    Sponsored by Superior Tube. Collegeville, PA (Honors Degree Requirement).
18. Rebecca Runkle. 2014. Automation of composite preforms into an autoclave for curing. Sponsored by GE
    Aviation, Newark, DE. (Honors Degree Requirement).
19. Michael McClintock. 2014. Integration of load measurement pins into the rear door of a round baler. (Honors
    Degree Requirement).
20. Derrick Herr. 2013. Modeling and testing of a robotically inserted surgical needle. Sponsored by Dr. Peter
    Popper.
21. Adrian Sawyer. 2013. Automation of honeycomb structure curing during manufacturing. Sponsored by Alcore,
    Edgewood, MD. (Honors Degree Requirement).
22. David Chun and Devon Prate. 2012. Development of a manufacturing process for composite honeycomb
    structures for aerospace applications. Sponsored by Alcore, Edgewood, MD.
23. David Eisensmith. 2012. Improved welding method for precision wound temperature sensors for aircraft
    applications. Sponsored by Sensing Devices, Inc.
24. Chanel Aldrich. 2012. Modeling and testing for a composite cap for impact tools. Sponsored by Hard Cap, LLC.
25. Michael Yeager. 2011. Forming process for composite plate manufacturing. Sponsored by the The Dupont Co.
    (Honors Degree Requirement).
26. Eric Wurtzel. 2011. Laminated aluminum expandable structures. Sponsored by Alcore, Edgewood, MD.
    (Honors Degree Requirement).
27. Daniel Russach. 2010. Failure modes analysis of a blood analysis machine using FMEA and Fault Tree
    techniques. Sponsored by Siemens Healthcare Diagnostics.
28. John Zerhusen. 2010. Implementation and validation of a non-contact torque test for a blood pump assembly
    process. Sponsored by Terumo Cardiovascular.
29. Connie Helstosky. 2010. Photovoltaic system sizing for a solar powered facility for the University of Delaware
    Creamery.
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30. Kristen Saksa. 2010. Computer-Aided drafting methods for the University of Delaware Botanical Gardens. (1
    credit).
31. Jennifer Iskai. 2009. Design of an automatic adhesive application process to attach an acrylic impeller to a pump
    motor shaft for the artificial heart-lung oxygenator. Sponsored by Terumo Cardiovascular.
32. Christopher Uthgenannt. 2009. Measurement of airflow characteristics of various disc mower design
    configurations. Sponsored by Case-New Holland. (6 credits)
33. Ronit Lilu. 2008. Implementation plan for lean manufacturing of an artificial heart-lung oxygenator.
    Sponsored by Terumo Cardiovascular.
34. Kasey Gust. 2008. Integration of an automated pressure regulator setting system for oxygen bottle
    manufacturing. Sponsored by Siemens Corp.
35. Daniel Brisach. 2008-09. Development of PWM charging strategies for ultracapacitors used on mobile
    equipment for energy storage. Sponsored by Case New Holland.
36. Mark Steimer. 2008. Control circuit simulation and prototyping of vehicle energy storage systems using
    ultracapacitors. Sponsored by Case New Holland
37. Michael Brill. 2008. Design and prototyping of a novel sanitary fly swatter (US Patent No. 6,957,510).
    Sponsored by Laura Simon, Esquire, Wilmington, DE.
38. Sean Collins and Doug Ericson. 2008. Modeling and experimental validation of an on-board hydraulic bale
    weighing system for round balers. Sponsored by Case New Holland. (3 credits for each student)
39. Dan Pron. 2007. Confined compression characteristics of a mineral reinforced polymer. Sponsored by Hard
    Cap, LLC.
40. Daniel Gempeshaw. 2007. Kinematic analysis of a composite marine seat structure for military applications.
    Sponsored by Revenge Composites (in fulfillment of his Honors Capstone Requirement).
41. Tom Coombes. 2007. Design and development of a hand-crank dynamometer as a hands-on museum activity.
    Sponsored by the Delaware Ag Museum. (4 credits)
42. Dan Pron. 2006-07. Testing of polymers for impact durability on a hammer face. Sponsored by Hard Cap, LLC.
43. Jesse Krisher. 2006. Development of an ALGOR finite element model for the prediction of femoral fractures
    from human falls. Sponsored by the DuPont Co.
44. Beth Miller, Erik Pearson, and James Woodhouse. 2006. Embedded controller development and vehicle testing
    of a drive-by-wire propulsion system for a windrower. Sponsored by CNH America, LLC. (3 credits each)
45. Matt Griffith. 2006. High strain rate testing of reinforced polymer inserts for power tools using a Split Hopkins
    Bar. Sponsored by Hard Cap, LLC.
46. John Armstrong and Greg Stewart. 2005. Design and testing of a mechanical harvesting system for indoor,
    closed system tilapia production. Sponsored by Blair View Aquaculture Farm. (3 credits each).
47. Julia Levinson. 2005. Automated measurement of laminate bond strength for substrates bonded to Teflon
    membranes. Sponsored by W.L. Gore and Associates.
48. Craig Livingston. 2005. Computer-aided-drafting fundamentals (1 credit).
49. Barry Levinson. 2005. Solid modeling with mechanical desktop (1 credit).
50. Mark Deaver. 2004-05. Parametric modeling and finite element analysis of disposable testing components for
    measuring laminate bond strength. Sponsored by W.L. Gore and Associates.
51. Gwen Thorsen. 2003-04. Software development and testing for the automatic transmission of data via a cellular
    modem. Sponsored by the Delaware Department of Natural Resources and Environmental Control. (6 credits)
52. Eric Busby. 2004. Development of a remote controlled drip tape cutter for drip tape laying equipment. Sponsored
    by Busby Farms.
53. Jennifer Lawrence and James Moore. 2004. Development of a test stand for the vibration analysis of power
    tools. Sponsored by Baltimore Tool Works, Inc. (3 credits each)
54. Dominic Schiavoni. 2004. Design of a drop tower for constant energy impact testing. Sponsored by Baltimore
    Tool Works, Inc.
55. Dan Muhlenforth. 2004. Design and testing of low vibration accessories for hand-struck tools. Sponsored by
    Baltimore Tool Works, Inc.
56. Derrick Dickerson. 2004. Development of an automated test device for evaluating the wear characteristics of
    poultry nipple drinkers. Sponsored by the Delaware Cooperative Extension Service. (co-advised w/ Gary Van
    Wicklen).
57. Eric Busby. 2004. Development and testing of a device for accelerated life testing of an Air Pogo toy. Sponsored
    by Leavis and Rests, P.C.
58. Dan Muhlenforth. 2003-04. Software and sensor arrangement for determining the frequency content of hand-
    mounted accelerometers. Sponsored by Baltimore Tool Works, Inc.
   Case: 1:23-cv-00631-BMB Doc #: 40-12 Filed: 04/23/24 87 of 163. PageID #: 1462
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59. Dominic Schiavoni. 2003-04. Measurement of vibration transmitted to the hand from hand-struck and power
    tools. Sponsored by Baltimore Tool Works, Inc.
60. Dominic Pellegrenio. 2003. Design of a steel frame flooring system with EPS foam insulation. Sponsored by
    Ecothermal Panel Systems, Inc.
61. Mike Fyock and Dan Meckley. 2003. Structural analysis and hydraulic automation of a prototype kicker for
    round balers. Sponsored by Case New Holland, Inc. (3 credits each)
62. Annie Tseng. 2003. An automated testing machine and methodology for ceramic wafer substrates used for blood
    sample analysis. Sponsored by Dade Behring.
63. Matt Mitch. 2002. Development of a computer design tool for the cooling systems on skid-loaders. Sponsored
    by Case-New Holland, Inc.
64. Dawn Cintavey. 2002. Finite element analysis of extruded aluminum structures. Sponsored by National
    Forensics Engineers, Inc.
65. Mark Orgovan and Dan O’Brien. 2002. Evaluation of a two-piece chisel system designed with a high
    performance engineering polymer impact surface. Sponsored by Baltimore Tool Works, Inc. (3 credits each)
66. Pete Truitt. 2002. Automated pneumatic capping system for dental adhesive capsules. Sponsored by Densply-
    Caulk.
67. Julian Jones and Matt Dougherty. 2002. Development of an automated cutter for plastic sleeves. Sponsored by
    Xymid, LLC.
68. Tony Nasr. 2002. Design and Instron testing of a framing system and fasteners for electrically insulated
    attachment of solar panel systems to steel-framed structures. Sponsored by the UD Solar Decathlon and
    AstroPower.
69. Tony Nasr. 2002-03. Ergonomic testing trials of a new low vibration, hand-struck chisel system. Sponsored by
    Baltimore Tool Works, Inc.
70. Mike Vassallo. 2002. Development of high volume compression system for preparing inoculated silage samples.
    Sponsored and co-advised by Dr. L. Kung.
71. Rich Herseim. 2002. Design, analysis and testing of plastic drivetrain shields on Case-New Holland windrower
    headers. Sponsored by Case-New Holland, Inc.
72. Pete Truitt. 2002. Finite element analysis of the impact of a hammer-tool system. Sponsored by Baltimore Tool
    Works, Inc.
73. Andrew Drysdale. 2002. The current state of photovoltaic technology. (as part of his Honors Degree Capstone
    Requirement in Mechanical Engineering).
74. Doug Cook, Jeff Gordon, and Matt Dunson. 2001. Development of AutoGap: a control system for the automatic
    adjustment of windrower roll gap. Sponsored by Case New Holland, Inc. (3 credits each)
75. Ian Cosden. 2001. Control software development and field testing for the closed loop control of DC motor
    angular displacement for mower-conditioner roll gap adjustment. Sponsored by Case-New Holland, Inc.
76. Tim Filasky. 2001-02. Design of a precision push planter. Sponsored by Delaware Cooperative Extension and
    Rogers Seed Co.
77. Mac Cushing. 2001-03. Design of an automatic fabric feed system for a numerically controlled laser cutter.
    Sponsored by Cirrus Engineering.
78. Nikki Rossi. 2001. Feasibility of an on-line degradation sensor for soy-based hydraulic fluids. Part of a project
    funded by DuPont. (co-advised with Mike Keefe)
79. Chad Stover. 2000. Development of improved vaccination system for day-of-age Marak’s vaccine. Sponsored
    by the Allen Laboratory, University of Delaware.
80. Andy Park. 2000. Development of learning modules for CAD/CAM and CNC machining for undergraduate
    design courses. (co-advised with Dr. Michael Keefe).
81. Matt Dunson and Yuen Yoong Leong. 2000. Demeter project system ID and PID controller design. Sponsored
    by New Holland, N.A.
82. Matt Behr. 1999. Development of a non-invasive sensing method for the measurement of watermelon sugar
    content. Sponsored by University of Delaware Cooperative Extension.
83. Ken Miller and Rob Banks. 1998. Experimental evaluation of a subcutaneous vaccination system for day-of-age
    Marek’s vaccine. (co-advised with Dr. Michael Keefe).
84. John Filasky. 1997. Design requirements for a watermelon harvester. Sponsored by University of Delaware
    Cooperative Extension.
85. Dan Hoffstetter. 1997. Yield monitor designs for vegetable harvesters. Sponsored as part of a grant from FMC
    Corporation.
       Case: 1:23-cv-00631-BMB Doc #: 40-12 Filed: 04/23/24 88 of 163. PageID #: 1463
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SCHOLARSHIP
BOOK CHAPTERS
  1. S. Zhengjie Jia, J. Gunasekera, and J.L. Glancey. 2023,. Chapter 11: Computer integrated sustainable
     manufacturing. Sustainable Manufacturing Processes. Published Academic Press, Elsevier, Inc.
  2. Glancey, J.L. 2011. Vacuum-Based Resin Transfer Molding Techniques for Manufacturing Composite Materials
     and Components. Innovations in Materials and Manufacturing Methods. Abingdon, Oxford, UK.
  3. Glancey, J.L. 2003. Machine Design for Vegetable Production Systems, Chapter from The Encyclopedia of
     Agricultural, Food and Biological Engineering, Marcel Dekker, New York, NY.

REFEREED PUBLICATIONS
   Journal Articles
   1. Alms, J.B., J.L. Glancey, and S.G. Advani. 2011. Liquid composite molding control methodologies using
       vacuum induced preform relaxation. Composites, Part A. 42(1): 57-65.
   2. Cheng, L., A. Thomas, J. L. Glancey, and A.M. Karlsson. 2011. Mechanical behavior of bio-inspired laminated
       composites. Composites, Part A. 42(2): 211-220.
   3. Alms, J.B., J.L. Glancey, and S.G. Advani. 2010. Mechanical properties of composite structures fabricated with
       the vacuum induced preform relaxation process. Composite Structures 92: 2811–2816.
   4. Alms, J.B., L. Garnier, J.L. Glancey, and S.G. Advani. 2010. In-plane permeability characterization of the
       vacuum infusion processes with fiber relaxation. International Journal of Material Forming 3(2): 1267-1275.
   5. Wang, J., J.L. Glancey and J.R. Vinson. 2009. The effects of in-plane shear loads on transverse shear
       deformations in laminated and sandwich composite panels. Journal of Aircraft, 46(5): 1473-1478.
   6. Alms, J.B., A. Catry, J.L. Glancey and S.G. Advani. 2009. Flow modification process for vacuum infusion using
       port-based resin flow control. SAMPE Journal, 45(2): 54-63.
   7. Glancey, J.L., J.T. Sims, and D. Snyder. 2008. Field evaluation of a mechanical topdresser for solid wastes.
       Biosystems Engineering, 99(3): 432-443.
   8. Glancey, J.L., J. Hummel, A. Chirnside, S. Nobles, S. Chanpimol and A. Ravel. 2007. Bio-fuel emission
       measurements and potential environmental implications for the Mid-Atlantic Region. Journal of Environmental
       Monitoring and Restoration, 3: 158-166.
   9. Keefe, M., J. Glancey, and N. Cloud. 2007. Assessing student team performance in industry-sponsored design
       projects. Transactions of the ASME, Journal of Mechanical Design, 129(7): 692-700.
   10. Brown, D., and J.L. Glancey. 2007. Theoretical and experimental analysis of a continuous blade cutter for leafy
       vegetables. Transactions of the ASABE, 50(3): 803-813.
   11. Nalla, A., M. Fuqua, J.L. Glancey and B. Leleiver. 2007. A multi-segment injection line and real-time adaptive,
       model-based controller for vacuum assisted resin transfer molding. Composites, Part A: Applied Science and
       Manufacturing, 38: 1058–1069.
   12. Glancey, J., J.T. Sims and D. Snyder. 2007. Agronomic and environmental implications of sidedressed poultry
       manure as a nitrogen source for crops. Journal of Environmental Monitoring and Restoration, 3: 206-221.
   13. Krishnan, M., R. Strosser, J.L. Glancey, and J.Q. Sun. 2006. Adaptive modeling and control of a precision
       manure spreader. Computers and Electronics in Agriculture, 52(1-2):1-10.
   14. Glancey, J.L., W.E. Kee, T.L. Wootten and M. Dukes. 2005. A mechanical harvesting index for horticultural
       crops. Applied Engineering in Agriculture, 21(4): 555-558.
   15. Glancey, J.L., and W.E. Kee. 2005. Engineering aspects of production and mechanization for fresh and
       processed vegetables. HortTech, 15(1): 76-79.
   16. Glancey, J.L., W.E. Kee, and T.L. Wootten. 2005. Technical and strategic advances in vegetable mechanization.
       HortTech, 15(3): 486-488.
   17. Glancey, J.L., R. Strosser, I. Cosden, J. Gordon, M. Dunson, and D. Cook. 2005. A system for the automatic
       adjustment and control of conditioning roll gap on mower conditioners. SAE Transactions, Journal of
       Commercial Vehicles, 113(2): 645-650.
   18. Wang, J., J.R. Vinson., and J.L. Glancey. 2004. Geometric nonlinear deformation effects in composite sandwich
       plates subject to in-plane shear loads. Journal of Sandwich Structures and Materials, 6(5): 447-457.
   19. Birmingham, A., E. Buzby, D. Davis, E. Benson, J. Glancey, W. Pill, T. Evans, R. Mulrooney, and M. Olszewski.
       2004. A precision planter for large seeds in small plots. HortTech, 14(4): 574-576.
   20. Keefe, M., J.L. Glancey, and Z. Zhong. 2000. Performance of high oleic soybean oil-based hydraulic fluids in
       long-duration pump tests. Society of Automotive Engineers Special Publication SP-136, Lubricants for Off-
       Highway Vehicles.
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   12. Entrepreneur. Watermelon ripeness sensor promises savings worldwide. July, 1999.
   13. ScienceDaily. Watermelon Ripeness Sensor Might Promise Huge Savings For Growers Worldwide. June, 1999.
   14. Newswise. Watermelon Ripeness Sensor, Savings for Growers. June, 1999.
   15. Lubricants World. Development of a high oleic soybean oil-based hydraulic fluid. January, 1999.
   16. Lubes-N-Greases. Let’s Get Small. February, 1997

I N V I T E D P R E S E N TAT I O N S
     1. Adapting wastewater irrigation for the new Artesian treatment facility in Milton, DE. 2020. Internal meeting at
            Artesian Water Co., Lewes, DE
     2. Equipment handling and mechanical safety for agricultural operations. 2017. The First Annual Delaware Farm
            Bureau Safety Conference. Harrington, DE
     3. Recommended regulatory changes for the Delaware spray-on-demand wastewater distribution program. 2017.
            Joint meeting of the DNREC and DDA Cabinet Secretaries. (w/ Mayor Ken Branner, Middletown and Scott
            Hoffman, Duffield Associates). Dover, DE.
     4. Changes to the EPA Chesapeake Bay Model inputs for poultry litter nitrogen and phosphorous generation in the
            bay watershed. 2017. Chesapeake College, Wye, MD.
     5. Wastewater treatment and disposal options for small villages and communities. 2016. Joint meeting of the State
            of Delaware Delegation and the Government of Rengo. Rengo, Chile.
     6. Using team-based design projects to build university and industrial partnerships. 2016. Joint meeting of the State
            of Delaware Delegation and the University of O’Higgins faculty and administration. Rengo, Chile.
     7. Reusing treated wastewater for the irrigation of agricultural crops. 2016. Joint meeting of the State of Delaware
            Delegation and the Government of O’Higgins. Rancagua, Chile.
     8. Electrocution and fire hazards outside the poultry house. 2016. Special Poultry Safety Seminar in Honor of Bill
            Brown. Georgetown, DE.
     9. Prediction of NOx and PM emission reductions by converting industrial backup and load shaving generators to
            Tier 4 diesel engines. 2016. The Delaware Electric Cooperative. Greenwood, DE.
     10. Production of N and P from poultry production as part of an overall production mass balance (given by Ed Kee).
            2015. Wye Research Center, University of Maryland, MD
     11. Updates on the Improved Poultry Data for Modeling the Chesapeake Bay Watershed. 2015. Monthly meeting of
            the Nutrient Management Commission. Dover, DE.
     12. Predicting Poultry N and P generation based on improved estimates for litter concentrations, generation and bird
            populations. Perdue Agri-Business Orientation Meeting for New Executives. Dover, DE.
     13. Comparison of Methods for Estimating Poutry Manure Nutrient Generation in the Chesapeake Bay Watershed.
            2014. Meeting of the Northeast Secretaries of Agriculture. Boston, MA.
     14. Land application of highly treated municipal wastewater for agricultural uses: Results of a three year pilot
            project. Scientific and Technical Advisory Committee. 2014. Center for the Inland Bays. University of
            Delaware, Lewes, DE.
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15. Status and timeline for implementing changes to the Chesapeake Bay Watershed Model. EPA Region 3
    Headquarters. 2014. Philadelphia, PA
16. The EPA and Chesapeake Bay Program modeling of the Chesapeake Bay Watershed - Deficiencies and Current
    Efforts to Improve Model Inputs. The International Poultry Production and Processing Expo. 2014. Atlanta, GA.
    (given by Kelley Shenk, EPA).
17. Status of revised data inputs to the Chesapeake Bay Watershed Model. Chesapeake Bay Regional Poultry
    Production Data Meeting. 2014. Beltsville, MD.
18. Final recommendations for the Chesapeake Bay Program modeling of the Bay watershed. Chesapeake Bay
    Program Ag Working Group. 2014. College Park, MD.
19. Proposed recommendations for the Chesapeake Bay Program modeling of the Bay watershed. Chesapeake Bay
    Program WQGIT. 2014. College Park, MD.
20. Recommendations to improve nitrogen and phosphorous loading from the poultry industry in the Phase 6
    Chesapeake Bay Watershed Model. 2014. Center for the Inland Bays. University of Delaware, Lewes, DE.
21. Poultry Litter Subcommittee Update: Status & Updated Summary. Presentation to the EPA Region Ill and
    Chesapeake Bay Program upper administrations. 2013. Buena Vista, New Castle, DE.
22. Setup and operation of hay balers for optimal hay quality. Delaware Ag Week Technical Sessions. 2014
    Harrington, DE.
23. Conditioning options to minimize hay drying time. The Maryland Southern Hay Production Meeting. 2014.
    Brandywine, MD
24. Updates regarding the Chesapeake Bay Program modeling of the Bay watershed. Chesapeake Bay Program
    Summit. 2013. College Park, MD.
25. Overview of the Chesapeake Bay Program Modeling of Delmarva – Concerns and current status. The Delaware
    and Maryland Congressional Delegation’s Poultry Summit. 2012. Delmar, DE. (w/ Secretary Ed Kee and
    Senators Carper, Coons, Mikulski, Cardin)
26. Comparison of methods for estimating poultry manure nutrient generation in the Chesapeake Bay watershed.
    2012. Quarterly meeting of the Chesapeake Bay Program Water Quality Goal Implementation Team. Annapolis,
    MD.
27. Comparison of University of Delaware and Delaware Department of Agriculture and Environmental Protection
    Agency Nitrogen and Phosphorous Estimation Methods within the Chesapeake Bay Watershed. Meeting of the
    Northeast Presidents of Farm Bureau. 2012. Boston MA.
28. Power purchase agreements for large scale industrial businesses. Annual meeting of the Delmarva Poultry
    Industry. 2012. Ocean City, MD.
29. The Chesapeake Bay Program modeling of the Bay watershed. Meeting of the Northeast Council of Governance.
    2012. Atlantic City, NJ.
30. Technical and financial consideration for solar power purchase agreements. Solar work shop for the Delmarva
    Poultry Industry. 2011. Georgetown, DE.
31. Calculation of assimilation rates for nutrients and heavy metals for as-needed spray irrigation of agricultural crops
    with treated wastewater. 2011. Monthly meeting of the Bridgeville Town Council. Bridgeville, DE.
32. Updates regarding the Chesapeake Bay Program modeling of the Bay watershed. 2011. Meeting of the Delaware
    Nutrient Management Commission. Dover, DE.
33. Current estimates for N and P amounts on Delmarva. 2011. Joint meeting of the Delmarva Poultry Association’s
    Environmental and Grower Committees. Salisbury, MD.
34. Comparison of University of Delaware and Delaware Department of Agriculture and Environmental Protection
    Agency Nitrogen and Phosphorous Estimation Methods within the Chesapeake Bay Watershed. 2011. Meeting
    of the Chesapeake Bay Program Ag Working Group. Annapolis, MD.
35. Spray-on-demand with treated and filtered municipal wastewater: Results of a one-year pilot study. 2011.
    Meeting of the Delaware Nutrient Management Commission. Dover, DE.
36. Nutrient removal methods for Concentrated Animal Feeding Operation runoff. 2010. Chesapeake Goal Line
    2025: Opportunities for Enhancing Agricultural Conservation. Hunt Valley, MD.
37. Mechanical systems and automation to enhance the ergonomics of aquaculture. The 2010 Agrability National
    Training Workshop. Charleston, WV.
38. Feasibility of renewable energy and power purchase agreements for the food manufacturing industry. 2010. The
    2010 Pickle Packers International Annual Conference. Philadelphia, PA.
39. An overview of lima bean harvesting research and recommendations. 2009. The Lima Bean Forum.
    Georgetown, DE.
40. Equipment research at the University of Delaware. 2009. Delegation from the Chinese Consulate, Washington, D.C.
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41. Equipment, maintenance, and safety considerations in the installation of on-site waste treatment systems. 2009.
    The annual meeting of the Delaware On-Site Wastewater Treatment Association. Dover, DE.
42. Design recommendations to improve the safety of portable, metal climbing structures. 2008. The annual meeting
    of the American National Standards Institute (ANSI), Subcommittee 14.2. Chicago, IL.
43. Machine design in vegetable production and harvesting: A review of 100 years of engineering innovation and
    design. 2007. The 2007 ASABE International Annual Meeting, Minneapolis, MN.
44. Preventing hand and arm injuries through limited exposure and new low vibration tool technology. 2007
    Delaware Safety Association Annual Meeting, Ocean City, MD.
45. Reducing vibration-related injuries from hand and power tools. 2006 National Ergonomics Conference and
    Exposition. Las Vegas, NV.
46. Ladders – Summary of testing and forensics of failures. 2006. Consumer Union, Inc. Headquarters (Publishers of
    Consumer Reports Magazine). Yonkers, NY.
47. Measuring the potential for noise and vibration injuries in industrial settings. 2006 Eastern Ergonomics
    Conference and Exposition. Boston, MA.
48. Assessing and preventing ladder accidents. 2006 Delaware Safety Association Annual Meeting, Ocean City, MD.
49. Demonstration of a new cost effective surveillance system for Delaware water bodies. 2005. Scientific and
    Technical Advisory Committee, Center for the Inland Bays. University of Delaware, Lewes, DE.
50. Automation requirements for retaining pickling cucumber production in the U.S. 2005 Pickle Packers
    International Annual Meeting, Baltimore, MD.
51. Developments in harvesting of specialty crops. 2005 AETC Conference, Invited Session on Specialty Crops,
    Louisville, KY.
52. Barriers to vegetable harvest automation. 2005. AETC Conference, Invited Session on Automation. Louisville, KY.
53. Workshop on hand-arm vibration and noise: Overview of current limits and strategies for reducing working
    exposure and injury. 2005 Eastern Ergonomics Conference and Exposition, New York, NY.
54. Engineered human protection: An overview of research at University of Delaware. 2004. DuPont Experimental
    Station, Wilmington, DE.
55. Overview of modern machine designs for mechanized harvest of processing peas. The 2004 ASAE Film Forum.
    2004 ASAE International Meeting, Ottawa, Ontario, Canada.
56. Ten years of developments for mechanical harvesting pickling cucumbers. The 2004 ASAE Film Forum. 2004
    ASAE International Meeting, Ottawa, Ontario Canada.
57. Theoretical and experimental evaluation of an adaptive controller design using off-line model-based prediction
    and a segmented injection line for resin flow control in VARTM. 2004. Office of Naval Research, Advanced
    Materials Intelligent Processing Center (AMIPC). Newark, DE.
58. Progress in developing automated equipment for the simulation of human falls. 2004. DuPont Experimental
    Station, Wilmington, DE.
59. Improving mold part quality through automation and control: Progress and future challenges. 2004. National
    Science Foundation Invited Workshop Participant: Future of Modeling in Composites Molding Processes. The
    National Science Foundation, June 9 and 10, 2004, Alexandria, VA.
60. Progress in spatial and temporal surveillance technology for agricultural and environmental monitoring in
    Delaware. 2004. Department of Geography, spring 2004 Colloquium. Newark, DE.
61. Design and development of near-real-time whole water column surveillance systems for Delaware estuaries.
    2004. Scientific and Technical Advisory Committee, Center for the Inland Bays. College of Marine Studies,
    University of Delaware, Lewes, DE.
62. Engineering aspects of production and mechanization for fresh and processed vegetables. 2003. Workshop on
    Recent Advances in Machine Harvesting of Fruits and Vegetables. The 100th Annual International Conference of
    the American Society for Horticultural Sciences. Providence, Rhode Island
63. Technical and strategic advances in vegetable mechanization. 2003. Colloquium: The U.S. Vegetable Industry
    Past and Future: Highlighting Advances, Challenges, and Opportunities in Vegetable Crop Management.
    Proceeding of the 100th Annual International Conference of the American Society for Horticultural Sciences.
    Providence, Rhode Island (co-presenter with E. Kee).
64. Adaptive control options for liquid composite resin injection. 2002. Office of Naval Research Meeting at the
    Center for Composite Materials, Newark, DE.
65. Performance of soy-based hydraulic fluids in long-term pump tests. 2001. Annual Meeting of the United
    Soybean Board Industrial Uses Committee. United Soybean Board, Chicago, IL (co-presenter M. Keefe).
66. Machine harvest: Research and field experiences on Delmarva and production systems, comparative tests of the
    Raven vs. the PicRyte Harvester, and improving tractor mounted harvesters. 2000. The Pickling Cucumber
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        Improvement Committee (PCIC) Spring Meeting of the Pickle Packers International, Newark, DE. (E. Kee, J.
        Glancey and J. Adkins).
    67. Current machine design research projects including harvester improvements, automated pale filing, and electronic
        and digital sorting of pickles. 2000. The Pickling Cucumber Improvement Committee (PCIC) Spring Meeting of
        the Pickle Packers International, Newark, DE. Demonstrations held on the University of Delaware campus.
        (Glancey and Kee).
    68. Development of a precision manure spreader for improved nutrient management. 1999. Agricultural Computer
        Expo, Lancaster, PA.
    69. Progress in developing a soyoil based hydraulic fluid. 1999. Annual Meeting of the United Soybean Board
        Industrial Uses Committee. United Soybean Board, Chicago, IL (co-presenter Keefe and J. Gooch (DuPont).
    70. Weld design and specifications: An engineer’s perspective. 1999. Meeting of the American Welding Society,
        Delaware Section, Newark, DE.
    71. A low volume fluid power test standard for hydraulic fluid testing. 1998. The Lubrizol Corporation, Wickliffe,
        OH.
    72. A soyoil based hydraulic fluid: Advantages and limitations. 1998. United Soybean Board, Chicago, IL, Annual
        Meeting of the United Soybean Board Industrial Uses Committee (co-presenter S. Knowlton).
    73. Mechanical harvesting: Current issues and where should we go from here? 1997. 104th Pickle Packers
        International Annual Meeting, Las Vegas, NV. (E. Kee presented on my behalf since I could not attend).
    74. Progress in cucumber harvester research. 1997. Block and Guggenheimer Foods Inc. Annual Growers Meeting,
        DuPont Country Club, Seaford, DE.
    75. An overview of pod stripper combine research at University of Delaware. 1997. FMC Corporate Headquarters,
        Chicago, IL.

R E S E A R C H P R E S E N TAT I O N S AT P R O F E S S I O N A L M E E T I N G S & C O N F E R E N C E S
    1. Glancey, J., M. Baust, P.E., and E. Kee. Using Treated Municipal Wastewater for Agriculture: A Review of a
        Pilot Study and Regulations in Delaware. 2015. 2015 NABEC Annual Conference. Newark, DE
    2. Glancey, J., B. Brown, E. Kee, M. Davis, L. Towle, Comparison of methods for estimating nutrient generation
        within the Chesapeake Bay Watershed. 2015. 2015 NABEC Annual Conference. Newark, DE
    3. Glancey, J., M. Baust, P.E., B. Carbaugh, E. Kee, and K. Branner. 2011. Using treated municipal wastewater for
        agriculture: a review of a pilot study and regulations in Delaware. 4th International Symposium on Global Issues
        in Nutrient Management Science, Technology and Policy. Newark, DE.
    4. Glancey, J., B. Brown, E. Kee, M. Davis, L. Towle, J. Timmons, and J. Nelson. 2011. Comparison of methods
        for estimating poultry manure nutrient generation within the Chesapeake Bay watershed. 4th International
        Symposium on Global Issues in Nutrient Management Science, Technology and Policy. Newark, DE.
    5. Alms, J., J. Glancey and S. Advani. 2009. Mechanical properties of composite structures made with the vacuum
        induced preform relaxation process. The American Society for Composites, Twenty-fourth Technical
        Conference. Newark, DE.
    6. Brisach, D., J. Alms, J. Glancey and N. Cloud. 2009. Integrated cut performance and sample inspection system
        for microtome setup evaluation. DETC 2009-87521. The ASME 2009 International Design Engineering Technical
        Conferences & Computers and Information in Engineering Conference, IDETC/CIE 2009. San Diego, CA.
    7. Ciappi, R. B. Miller, S. Petfield, C. Uthgenannt, J. Glancey, K. Smith and M. Harkcom. 2009. Design of a
        protective curtain system for high rotational speed disc mowers. The ASME 2009 International Design
        Engineering Technical Conferences & Computers and Information in Engineering Conference, IDETC/CIE 2009.
        San Diego, CA.
    8. Alms, J., J. Glancey and S. Advani. 2009. Development of computer controlled flow manipulation for vacuum
        infusion processes. ICCM-17, the International Committee on Composite Materials, Edinburgh, Scotland.
    9. Alms, J., J. Glancey and S. Advani. 2009. Sequential injection using a gantry positioning system for flow control
        in vacuum resin infusion processes. The 2009 Society for the Advancement of Materials and Process Engineering
        Symposium and Exposition, Baltimore, MD.
    10. Alms, J., J. Glancey and S. Advani. 2008. Experimental determination of permeability of woven fiber glass
        during the vacuum induced preform relaxation (VIPR) process. The 9th International Conference on Textile
        Composites (TEXCOMP9). Newark, DE.
    11. Alms, J., J. Glancey and S. Advani. 2008. Experimental validation of a port based injection methodology for
        vacuum infusion processes. The 2008 Society for the Advancement of Materials and Process Engineering
        Symposium and Exposition, Long Beach, CA.
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12. Alms, J., J. Glancey and S. Advani. 2008. Vacuum induced preform relaxation (VIPR) process for resin flow
    control in vacuum infusion processes. The 9th International Conference on Flow Processes in Composite
    Materials (FPCM-9), July 7th to 9th, Montreal, Quebec, Canada.
13. Collins, S., D. Erickson, S. Mabel, D. Shannon, K. Smith and J. Glancey. 2008. Design and prototyping of a
    hydraulic hose and cable organizer for mobile equipment. The ASME International Design Engineering
    Technical Conferences: 5th Symposium on International Design and Design Education (DEC), Brooklyn, NY.
14. Dibelka, J., M. Steimer, L. Traub, J. Twomey, S. Woods, S. Phillips, and J. Glancey, 2008. Design of a heat
    removal method for the electronics in lithium-ion cordless power tools. The ASME International Design
    Engineering Technical Conferences: 5th Symposium on International Design and Design Education (DEC),
    Brooklyn, NY.
15. Glancey, J. 2008. Mechanical harvesting characteristics of several leafy greens grown for processing. The 2008
    Northeast Agricultural and Biological Engineering Conference, Annapolis, MD.
16. Pearson, E. J. Woodhouse, B. Miller, R. Strosser and J. Glancey. 2008. Performance of a prototype steer-by-wire
    driving system for self propelled windrowers. The 2008 Northeast Agricultural and Biological Engineering
    Conference, Annapolis, MD.
17. Stewart, S., J. Armstrong, J. Harp, D. Breakiron, M. Baker, G. Bennett, R. Jester and J. Glancey. 2008.
    Mechanical harvesting system for improving the ergonomics for in-door, closed system, live market tilapia
    production. The 2008 Northeast Agricultural and Biological Engineering Conference, Annapolis, MD.
18. Collins, S., D. Erickson, S. Mabel, D. Shannon, K. Smith and J. Glancey. 2008. A hydraulic hose and electrical
    cable organizer and support for agricultural implements. The 2008 Northeast Agricultural and Biological
    Engineering Conference, Annapolis, MD.
19. Alms, J., J. Glancey and S. Advani. 2008. Vacuum induced preform relaxation (VIPR) process for resin flow
    control in vacuum infusion processes. The American Society for Composites, Twenty-third Technical
    Conference. Memphis, TN.
20. Glancey. J. 2008. Feasibility of on-site cucumber relish manufacturing from mechanically harvested culled fruit:
    mechanical and energy requirements. The 2008 ASABE International Annual Meeting. Providence, RI.
21. Glancey, J., R. Gorlich, and R. Jester. 2008. Mechanically-assisted composting of fish mortalities for disabled
    aquaculture producers. Proceedings of the 2008 ASABE International Annual Meeting. Providence, RI.
22. Fuqua, M. and J. Glancey. 2008. Resin position sensing and control during infusion of composite panels as a
    cost-effective alternative to metal shielding and panels on agricultural and construction equipment. Proceedings
    of the 2008 ASABE International Annual Meeting. Providence, RI.
23. Glancey, J., J. Vinson and D. Brisach. 2008. Side rail flexibility and the potential for spreader bar failures on tall
    step ladders. Proceedings of the 2008 ASABE International Annual Meeting. Providence, RI.
24. Alms, J., J. Glancey and S. Advani. 2008. Vacuum induced preform relaxation (VIPR) process for resin flow
    control in vacuum infusion processes. The 9th International Conference on Flow Processes in Composite
    Materials (FPCM-9) will be held from July 7th to 9th 2008, in Montreal, Quebec, Canada.
25. Glancey, J, D. Hoffstetter, and E. Kee. 2008. Impact mechanics of pickling cucumber as a basis for mass flow
    measurement on mechanical harvesters. Application of Precision Agriculture for Fruits and Vegetables, January
    6th – 9th, 2008, Orlando, FL.
26. Alms, J., J. Lawrence, A. Catry, J. Glancey and S. Advani. 2007. Resin delivery and control workstation for
    VARTM. The Sixth Canadian-International Composites Conference, Winnipeg, Manitoba, Canada.
27. Brisach, D., M. Griffith, J. Konchar, S. Petfield, P. Popper, and J.L. Glancey. 2007. Attenuation of impact and
    continuous vibration in the hand and arm. The ASME International Design Engineering Technical Conferences:
    The 21st Biennial Conference on Mechanical Vibration and Noise, & Applications of Vibration and Acoustics in
    Biomedical Engineering. Las Vegas, NV.
28. Griffith, M., D. Brisach, J. Konchar, S. Petfield, P. Popper, and J.L. Glancey. 2007. Polymer-based vibration and
    noise emission control characteristics for hand-struck tools. The ASME International Design Engineering
    Technical Conferences: The 19th Reliability, Stress Analysis and Failure Prevention Conference, Las Vegas, NV.
29. Stewart, S., J. Armstrong, R. Jester and J. Glancey. 2007. A bulk mechanical harvester for indoor, closed system
    tilipia production. The 4th National Aquaculture Extension Conference, Cincinnati, OH.
30. Brisach, D., M. Griffith, J. Konchar, P. Popper, and J. Glancey. 2007. Polymer composite-based noise emission
    controls for power and hand-struck impact tools. The 2007 American Industrial Hygiene Conference &
    Exposition, Philadelphia, PA.
31. Griffith, M., D. Brisach, J. Konchar, J. Nasr, P. Popper, and J. Glancey. 2007. Reducing the potential for
    vibration-related injuries from hand and power tools. The 2007 American Industrial Hygiene Conference &
    Exposition, Philadelphia, PA.
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32. Glancey, J.L., J. Hummel, A. Chirnside, S. Nobles, S. Chanpimol and A. Ravel. 2007. Bio-fuel emission
    measurements and potential environmental implications for the Mid-Atlantic Region. National Conference on
    Agriculture & Natural Resource Conservation and Management. Dover, DE.
33. Smith, K., J. Glancey, S. Huerta, E. Humphries and R. Tyler. 2007. Cost effective, real-time surveillance of
    shallow depth estuaries for water quality monitoring and harmful algal bloom detection. National Conference on
    Agriculture & Natural Resource Conservation and Management. Dover, DE.
34. Glancey, J., J.T. Sims and D. Snyder. 2007. Field evaluation of new sidedressing technology for side dressing
    solid wastes. National Conference on Agriculture & Natural Resource Conservation and Management. Dover, DE.
35. Fuqua, M. and J.L. Glancey. 2007. The Effects of in-tool resin delivery ports on process control and molded part
    quality for vacuum-based composite manufacturing. The Greater Philadelphia AIAA/ASME 3rd Annual
    Aerospace & Mechanical Engineering Mini-Symposium. Plymouth Meeting, PA.
36. Nasr, J., M. Fuqua, S. Kasprzak, and J. Glancey. 2007. Modeling and experimental validation of an external
    flooding chamber for vacuum-based composite molding. The Greater Philadelphia AIAA/ASME 3rd Annual
    Aerospace & Mechanical Engineering Mini-Symposium. Plymouth Meeting, PA.
37. Brisach, D., M. Griffith, S. Petfield, P. Popper, and J. Glancey. 2007. Evaluation of reinforced polymer
    composites for engineering controls of sound and vibration. The Greater Philadelphia AIAA/ASME 3rd Annual
    Aerospace & Mechanical Engineering Mini-Symposium. Plymouth Meeting, PA.
38. Alms, J., S. Advani, and J. Glancey. 2007. Vacuum induced preform relaxation (VIPR) method for liquid
    composite molding (LCM) processes. The Greater Philadelphia AIAA/ASME 3rd Annual Aerospace &
    Mechanical Engineering Mini-Symposium. Plymouth Meeting, PA.
39. Konchar, J., D. Brisach, M. Griffith, J. Nasr, P. Popper, and J. Glancey. 2007. Design and testing of composite
    driveline components for impact tools. The 2007 Society for the Advancement of Materials and Process
    Engineering Symposium and Exposition, Baltimore, MD.
40. Kasprzak, S., J. Nasr, M. Fuqua, and J. Glancey. 2007. An external flow modification system for vacuum-
    assisted resin transfer molding. The 2007 Society for the Advancement of Materials and Process Engineering
    Symposium and Exposition, Baltimore, MD.
41. Fuqua, M. and J. Glancey. 2007. Design and performance of a closed loop control, port-based resin delivery
    system for vacuum-assisted resin transfer molding. The 2007 Society for the Advancement of materials and
    process engineering symposium and exposition, Baltimore, MD.
42. Glancey, J.L., J. Hummel, S. Nobles, S. Chanpimol, and A. Raval. 2007. Measurement of transient smoke
    emissions characteristics from e-diesel and soy-diesel fuel blends in two commercial engines. The 2007 ASABE
    International Annual Meeting, Minneapolis, MN.
43. Glancey, J.L. 2007. Once-over harvesting of several leafy greens. The 2007 ASABE International Annual
    Meeting, Minneapolis, MN.
44. Brisach, D., M. Griffith, P. Popper and J. Glancey. 2007. Measurement of vibration transmission in the hand and
    arm from impact and continuous vibrating sources. The 2007 ASABE International Annual Meeting,
    Minneapolis, MN.
45. Glancey, J.L., and D. Brown. 2007. Mechanical harvesting of spinach. Northeast Region of the American
    Society for Horticultural Science, University of Maryland, College Park, MD.
46. Glancey, J.L. 2007. Yield, plant architecture, and machine harvest characteristics of several leafy greens grown
    for processing. Northeast Region of the American Society for Horticultural Science, University of Maryland,
    College Park, MD.
47. Fuqua, M. and J.L. Glancey. 2006. A port injection process for improved resin delivery and flow control in
    vacuum-assisted resin transfer molded composites. 2006 ASME International Annual Meeting, Chicago, IL.
48. Konchar, J., P. M. Griffith, P. Popper, and J.L. Glancey. 2006. Modeling and testing of a new polymer-based
    impact tool design to reduce biomechanical injuries. 2006 ASME International Annual Meeting, Chicago, IL.
49. Kasprzak, S., M. Fuqua., J. Nasr, and J.L. Glancey. 2006. A robotic system for real-time resin flow modification
    during vacuum-assisted resin transfer molding of composite materials. 2006 ASME International Annual
    Meeting, Chicago, IL.
50. Brown, D. and J.L. Glancey. 2006. Fatigue and stability analysis of long-span continuous band saw blades. 2006
    ASME International Annual Meeting, Chicago, IL.
51. Griffith, M., J. Nasr, P. Popper, and J.L. Glancey. 2006. A reinforced polymer hammer cap for eliminating
    metal-to-metal contact and reducing hand-transmitted vibration. 2006 ASABE International Annual Meeting,
    Portland, OR.
52. Brown, D., and J.L. Glancey. 2006. Fatigue analysis and testing of a continuous blade band-type cutter for leafy
    vegetables. 2006 ASABE International Annual Meeting, Portland, OR.
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53. Armstrong, J., G. Stewart, J. Harp, D. Breakiron, M. Baker, G. Bennett, R. Jester, and J. Glancey. 2006. Improving
    the ergonomics of harvest for pond raised live market tilapia. 2006 ASABE International Annual Meeting, Portland,
    OR.
54. Fuqua, M. and J.L. Glancey. 2006. Development of a port injection process for vacuum assisted resin transfer
    molding. The 2006 Meeting of the Society for the Advancement of Materials and Processes (SAMPE), Long
    Beach, CA.
55. Fuqua and Glancey. 2006. Modeling of vacuum-assisted resin transfer with in-mold ports. The Greater
    Philadelphia AIAA/ASME 2nd Annual Aerospace & Mechanical Engineering Mini-Symposium. Plymouth
    Meeting, PA.
56. Nasr, J., S. Kasprzak, and J. Glancey. 2006. External modification of VARTM flow with a rigid external
    chamber. The Greater Philadelphia AIAA/ASME 2nd Annual Aerospace & Mechanical Engineering Mini-
    Symposium. Plymouth Meeting, PA.
57. Kasprzak, S., M. Fuqua, J. Nasr, and J.L. Glancey. 2006. A real-time resin flow modification robot for vacuum-
    assisted resin transfer molding of composite materials. The Greater Philadelphia AIAA/ASME 2nd Annual
    Aerospace & Mechanical Engineering Mini-Symposium. Plymouth Meeting, PA.
58. Nalla, A. and J. Glancey. 2006. Adaptive, model-based control for resin transfer molding. The Greater
    Philadelphia AIAA/ASME 2nd Annual Aerospace & Mechanical Engineering Mini-Symposium. Plymouth
    Meeting, PA.
59. Konchar, J. and J. Glancey. 2006. Molding and testing of composite-based impact tool designs to reduced
    biomechanical injuries. The 3rd Annual Center for Biomedical Engineering Research Symposium, Newark, DE.
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    Defendant Attorney: Byron Pickard, Sterne, Kessler, Goldstein & Fox P.L.L.C., Washington, D.C.
    (deposition and trial);
33. Juki America, Inc. et al. (Plaintiff). vs. ABM International, Inc. (Defendant). Case No. IPR2020-01371, -
    01372, and -01373). Inter Partes Review Expert in front of the Patent Trial and Appeals Board for U.S.
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    & Emery LLP, Buffalo, NY (deposition);
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    Attorney: Joseph Hines, Esq., Rothwell Figg, Washington, D.C. (deposition).
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    for Arizona). Plaintiff Attorney: John E. Osborne, Esq. Goldberg & Osborne LLP. Tucson, AZ.
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36. Olati LLC (Plaintiff) v Hass Automation (Defendant). Case No. IPR2021-00146. (District Court Central for
    California Western Division). Inter Partes Review Expert in front of the Patent Trial and Appeals Board for
    U.S. Patent Number 8,136,432. Working on behalf of the Plaintiff. Plaintiff Attorney: Matt Holohan, Esq.,
    Sheridan Ross, PC., Denver, CO. (deposition);
37. Kamm (Plaintiff) vs. Stellar, et al. (Defendant). Case No. CV-19-05172-PHX-SPL. (District Court for
    Arizona). Working on behalf of the Plaintiff. Plaintiff Attorney: Matt Holohan, Esq., Sheridan Ross, PC.,
    Denver, CO. (Deposition);
38. John Deere (Plaintiff) v AGCO and Precision Planting (Defendants). C.A. No. 18-827 (CFC)
    (Consolidated). District Court of Delaware. Infringement of Plaintiff Patents 8813663 and 9699955.
    Working on behalf of Plaintiff Attorney: Jay Alexander, Covington and Burling, Washington, D.C.
    (deposition and trial);
39. Palmer (Plaintiff) v Stanley Black and Decker (Defendant). Case No. 20-cv-1084. (Middle District Court of
    Pennsylvania). Working on behalf of the Plaintiff. Plaintiff Attorney: Wayne Marvel Esq., Maron, Marvel,
    Bradley, Anderson, & Tardy LLC. Wilmington, DE. (trial only).
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  40. Pentz (Plaintiff) vs. Werner Ladder (Defendant). Civil No. 210900435. Working on behalf of the Plaintiff
      District Court of Utah. Plaintiff Attorney: Douglas B. Cannon, Esq., Fabian & Clenndenin, P.C., Salt Lake
      City, UT. (deposition).
  41. Parents of the Estate of Kaidon Montgomery (Plaintiff) vs. Kids2, Inc. et.al. (Defendant). Civil No. No.: 3:21-
      CV-166. District Court of Western Pennsylvania. Working on behalf of the Plaintiff. Plaintiff Attorney:
      Thomas Bosworth, Esq., Klein and Specter, P.C. (deposition).
  42. Tomassetti (Plaintiff) vs. Little Giant Ladder (Defendant). Case No. 22-CV-2587(VB). Working on behalf
      of the Plaintiff. Plaintiff Attorney: Terry McCarty, Esq., Reiner, Slaughter, McCartney & Frankel LLP., Rye,
      NY. Terry McCartney, (3-part deposition).
  43. John Deere (Plaintiff) vs Kinze Manufacturing, Inc. and Ag Leader, Inc. (Defendants). Case No.
      4:2020cv00389. District Court of Iowa. Working on behalf of Plaintiff. Infringement and Validity of a set of
      13 patents for the ExactEmerge ™ precision planting product line. U.S. Patent Numbers: 8,671,856;
      8,813,663; 8,850,998; 9,480,199; 9,510,502; 9,661,799; 9,686,906; 9,699,955; 9,807,922; 9,807,924;
      9.820,429; 9,861,031; 10,004,173. Nathan Mammen, Kirkland and Ellis LLP, Washington, D.C. (deposition
      and 2 trial appearances).
  44. Norge Holdings, LLC and Alien Technologies Corp. (Plaintiffs), vs John D. Cullinan and Lynx Precision
      Products Corp. (Defendant). District Court of Southern Ohio, Western Division. Infringement and Validity
      of a Sports Utility Vehicle Hard Top Removal Device Patent, U.S. Patent Number US9,643,823. Testimony
      and declaration in support of Plaintiff’s Temporary restraining order and preliminary injunction. Working on
      behalf of the Plaintiff. Eric Gaum, Taft, Cleveland, OH. Case No. 1:20-CV-00918-MVM. (court testimony).
  45. James Rowedder v. Primal Vantage Company, Inc., and Dick’s Sporting Goods. Inc. d/b/a Field & Stream.
      District Court of South Carolina. Working on behalf of Plaintiff. Ronnie Crosby, Parker Law Group, LLP,
      Hampton, S.C. Civil Action No.: 2:22-cv-2371-RMG. (deposition)

• Expert Witness – Patent Infringement, Validity & Other Patent Litigation Matters
   1. Cline Williams Wright Johnson & Oldfather, L.L.P., Lincoln, NE. (2003). Automated Layout Technology,
      LLC v. Precisions Steel Systems, LLC, Donner Steel Works, Inc., and Nicholas Donner, Working on behalf of
      the Defendants. U.S. Patents Numbers: 10,576,588 and 11,426,826. Case No. 4:20- cv-3127.
   2. Freeman Mathis and Gary, LLP. (2023). Dae Sung Hi Tech Co., LTD, and First 2 Market Products, LLC v
      D&B Sales, Inc. et al. Working on behalf of the Plaintiffs. U.S. Patent Number 7503696. Case No. 2:22-cv-
      00030-ART-BNW.
   3. Rothwell, Figg, Ernst & Manbeck, P.C., Washington, D.C. (2023). Unverferth Manufacturing Co., Inc.
      (Plaintiff) vs. Par-Kan (Defendant). Infringement of Agricultural Seed Tender with Pivoting Conveyor, U.S.
      Patent Numbers: 8,221,047, 8,967,940, and 9,745,123. Working on behalf of Plaintiff. Case No. TBD
   4. Saul Ewing Arnstein & Lehr LLP, Chicago, IL. (2022-present). Pipp Mobile Storage Systems, Inc. (Plaintiff)
      v Innovative Growers Equipment, Inc. (Defendant). U.S. Patent Number 10,806,099. Working on behalf of
      the Defendants. Case No.: 1:21-cv-2104.
   5. Rothwell, Figg, Ernst & Manbeck, P.C., Washington, D.C. (2022-2023). Dynamic Motion Rides GMBH et al.
      (Plaintiffs) v. Universal City Development Partners Ltd. et al. (NBC Universal and the Disney Co.)
      (Defendants). U.S. Patent Numbers: 9,259,657; 9,536,446; and 10,283,008. Working on behalf of the
      Defendants. Case No. 21-cv-752-RBDLRH (M.D. Fl.).
   6. Kirkland & Ellis (2022-present). John Deere (Plaintiff) vs Kinze Manufacturing, Inc. and Ag Leader, Inc.
      (Defendants). Infringement of a set of 13 patents for the ExactEmerge ™ precision planting product line.
      U.S. Patent Numbers: 8,671,856; 8,813,663; 8,850,998; 9,480,199; 9,510,502; 9,661,799; 9,686,906;
      9,699,955; 9,807,922; 9,807,924; 9.820,429; 9,861,031; 10,004,173. Working on behalf of Plaintiff. Case
      No. 4:2020cv00389.
   7. Taft Stettinius & Hollister LLP. Cleveland, OH. (2021-present). Norge Holdings, LLC and Alien
      Technologies Corp., (Plaintiffs) vs John D. Cullinan and Lynx Precision Products Corp. (Defendant).
      Infringement of a Sports Utility Vehicle Hard Top Removal Device Patent, U.S. Patent Number US9,643,823.
      Working on behalf of the Plaintiff. Case No. 1:20-CV-00918-MVM.
   8. Sterne, Kessler, Goldstein & Fox P.L.L.C., Washington, D.C. (2020-2022). Steuben Foods, Inc. (Plaintiff) vs.
      Shibuua Hoppman, LLC. and HP Hood LLC (Defendants). Infringement of Several Aseptic Methods and
      Processing Machines. U.S. Patent Numbers: 6,209,591, 6,536,188 and 6,702,985. Working on behalf of
      Defendant. Case No. CV-00781-WMS-JJM.
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  9. Harter Secrest & Emery LLP, Buffalo, NY (2020-present). ABM International, Inc (Plaintiff). vs. Juki
     America, Inc. et al. Inter Partes Review Expert in front of the Patent Trial and Appeals Board for U.S. Patent
     Number: 9,840,797. Working on behalf of Plaintiff. Case No. IPR2020-01371.
 10. Nyemaster Goode PC, Des Moines, IA. (2020-21). John Deere (Plaintiff) vs Kinze Manufacturing, Inc. and
     Ag Leader, Inc. (Defendants). Infringement of a set of 13 patents for the ExactEmerge ™ precision planting
     product line. U.S. Patent Numbers: 8,671,856; 8,813,663; 8,850,998; 9,480,199; 9,510,502; 9,661,799;
     9,686,906; 9,699,955; 9,807,922; 9,807,924; 9.820,429; 9,861,031; 10,004,173. Working on behalf of
     Plaintiff. Case No. 4:2020cv00389.
 11. Harter Secrest & Emery LLP, Buffalo, NY (2020-present). ABM International, Inc (Plaintiff). vs. Juki
     America, Inc. et al. Infringement of U.S. Patent Number: 9,840,797. Working on behalf of Plaintiff. Case
     No. Case No. IPR2020-01371.
 12. Covington and Burling, LLP, Washington, D.C. (2019-2021). John Deere (Plaintiff) vs AGCO and Precision
     Planting (Defendants). Inter Partes Review Expert in front of the Patent Trial and Appeals Board for U.S.
     Patent Numbers: 8,671,856; 8,813,663; 8,850,998; 9,480,199; 9,510,502; 9,661,799; 9,686,906; 9,699,955;
     9,807,922; 9,807,924; 9.820,429; 9,861,031; 10,004,173. Working on behalf of the Plaintiff. Case No’s.
     IPR2019-01044, IPR2019-01046, IPR2019-01055, IPR2019-01053, IPR2019-01052, and IPR2019-01048.
 13. Sheridan Ross, PC., Denver, CO (2020-present). Olati LLC v Hass Automation. Infringement of a Numerical
     Control Algorithm for Controlling Machined Surface Finish. U.S. Patent Number: 8,136,432. Working on
     behalf of the Plaintiff. Case No. IPR2021-00146.
 14. Haley Guiliano, LLP, San Jose, CA (2019-present). Cherokee Eagle LLC (Plaintiff) v Skyzone, LLC, et al.
     (Defendants). Infringement of an indoor trampoline arena. U.S. Patent Number: 8,764,575. Working on
     behalf of the Plaintiff. Case No. 6:18-cv-355-Orl-40TBS.
 15. Taft Stettinius & Hollister LLP. Cleveland, OH. (2019-2020). H.W.J. Designs for Agribusiness, Inc., and
     Samuel Strapping Systems, Inc. (Plaintiff) v. Rethceif Enterprises, LLC, Brown Company, Inc., D/B/A
     International Fiber Packaging (Defendant). Infringement of a Cotton Bale Wrapper and Sampler, U.S.
     Patent Numbers: 9,463,885 and 8,336,404. Working on behalf of the Defendant. Case No.1:17-CV-0272-
     AWI-SKO.
 16. Rothwell, Figg, Ernst & Manbeck, P.C., Washington, D.C. (2019-2022). Unverferth Manufacturing Co., Inc.
     (Plaintiff) vs. Meridian Manufacturing Corp. (Defendant). Infringement of Agricultural Seed Carrier with
     Pivoting Conveyor, U.S. Patent Numbers: 8,221,047, 8,967,940, and 9,745,123. Working on behalf of the
     Plaintiff. Case No. 5:19-cv-4005.
 17. Covington and Burling, LLP, Washington, D.C. (2018-22). John Deere (Plaintiff) vs AGCO and Precision
     Planting (Defendants). Infringement of a set of 13 patents for the ExactEmerge ™ precision planting product
     line. U.S. Patent Numbers: 8,671,856; 8,813,663; 8,850,998; 9,480,199; 9,510,502; 9,661,799; 9,686,906;
     9,699,955; 9,807,922; 9,807,924; 9.820,429; 9,861,031; 10,004,173. Working on behalf of Plaintiff. Case
     No. C.A. No. 18-872 (CFC) (consolidated).
 18. Rothwell, Figg, Ernst & Manbeck, P.C., Washington, D.C. (2018-19). Unverferth Manufacturing Co., Inc.
     (Plaintiff) vs. Norwood. (Defendant). Infringement of Agricultural Seed Tender with Pivoting Conveyor,
     U.S. Patent Numbers: 8,221,047, 8,967,940, and 9,745,123. Working on behalf of Plaintiff. Case No. 3:18-
     cv-00053.
 19. David Gerasimow, Esq., Blackbird Technologies, Boston, MA. (2017-18). Blackbird Technologies, Inc.
     (Plaintiff) vs. Lenovo Corporation (Defendant). Infringement of Multipurpose Computer Display System,
     U.S. Patent No. 7,129,931. Working on behalf of Plaintiff. C.A. No. 16-cv-140-RGA.
 20. Rothwell, Figg, Ernst & Manbeck, P.C., Washington, D.C. (2016-18). Unverferth Manufacturing Co., Inc.
     (Plaintiff) vs. J&M Manufacturing Co., Inc. (Defendant). Infringement of Agricultural Seed Carrier with
     Pivoting Conveyor, U.S. Patent No. 8,221,047. Working on behalf of Plaintiff. Civil Action No. 3:16-cv-
     02282-JZ
 21. Daneker, McIntire, Schumm, Prince, Manning & Widmann, P.C., Baltimore, MD. (2011). Testing to
     demonstrate infringement of Hard Cap™ patent by a foreign manufacturer. U.S. Patent No. 908,996.
 22. Brooke Schumm, Esq., Baltimore, MD. (2010). Prototyping and reduction to practice of U.S. Patent No.
     8,092,370.
 23. Laura Simon, Esq., Dalton and Associates, Wilmington, DE. (2008) Prototyping and reduction to practice of
     U.S. Patent No. 6,957,510.

• Expert Witness – Product Liability Litigation and Investigations, and Personal Injury Lawsuits
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1. Ronnie Crosby, Esq., Parker Law Group, LLP, Hampton, SC. In-flight failure of the flight control
    mechanism on a two-seat monoplane. (2023).
2. Brian Corcoran, Esq., Fellerman & Ciarimboli Law PC, Kingston, PA. Injuries resulting from use of a
    forklift backup impact. (2023).
3. Ronnie Crosby, Esq., Parker Law Group, LLP, Hampton, SC. Runover injury from a linear-move irrigation
    system. (2023).
4. Phillip Mazzotti, Esq., Martin, Harding & Mazzotti, LLP, Albany, NY. Burning fuel emission from a
    tabletop pit, and associated burns. (2023)
5. Michael Edwards, Esq., Freeman Mathis & Gary, LLP, Las Vegas, NV. Alleged misuse of a water kettle
    available in a casino hotel room. (2023).
6. Brian Corcoran, Esq., Fellerman & Ciarimboli Law PC, Kingston, PA. Injuries resulting from use of a water
    jet ski. (2023).
7. Austin Crosby, Esq., Parker Law Group, LLP, Hampton, SC. Leg amputation from an intake conveyor for a
    saw mill board trimming operation. (2023).
8. Don Corson, Esq., Corson and Johnson Law Firm, Eugene, OR. Failure of a gooseneck trailer coupling.
    (2023).
9. Alberto Guerrero, Esq. Mask & Guerrero, Trial Attorneys. McAllen, TX. Evaluation of a fall involving a
    Little Giant Multipurpose Leveler Ladder. (2023).
10. Austin Crosby, Esq., Parker Law Group, LLP, Hampton, SC. Finger amputation from a collapsible basketball
    hoop and backboard structure. (2023).
11. Pete Friday, Esq., Friday and Cox, LLC. Pittsburgh, PA. Analysis of a failed garage door and lift, and
    resulting back injury. (2023).
12. Andrew Valentin, Esq., Schuster Law and Associates, Media, PA. ATV front end installation and failure.
    (2023).
13. Brian Corcoran, Esq., Fellerman & Ciarimboli Law PC, Kingston, PA. Zero turn mower misuse and rollover.
    (2023).
14. Austin Crosby, Esq., Parker Law Group, LLP, Hampton, SC. Finger amputation from an unguarded transport
    conveyor. (2023).
15. Brian Anderson, Esq., Friday and Cox, LLC. Pittsburgh, PA. Analysis of a bicycle brake system failure and
    resulting injury from a downhill crash. (2023).
16. Michael Conley, Esq., Kenney & Conley, P.C., Braintree, Massachusetts. Tip over and injury from a wheeled
    dumpster. (2023).
17. Justine Bernstein, Esq., Schuster Law and Associates, Media, PA. Traffic cone distribution truck body
    structural failure and injury. (2023).
18. Austin Crosby, Esq., Parker Law Group, LLP, Hampton, SC. Finger amputation caused by a coating machine
    and roller nip. (2023).
19. Will Owen, Esq., Musselwhite, Musselwhite, Branch & Grantham, P.A., Lumberton, NC. Failure of a
    hydraulic powered fence post driver and resulting injuries. (2023).
20. Austin Crosby, Esq., Parker Law Group, LLP, Hampton, SC. Finger amputation of caused by a plastic
    shredder and air conveyor. (2023).
21. Greg Spizer, Esq. VSCP Law, Philadelphia, PA. Infant death in an inclined infant sleeping device. (2022-
    present).
22. Pete Friday, Esq., Friday and Cox, LLC. Pittsburgh, PA. Fall and injury from a failed scaffolding walkway.
    (2022-present).
23. Austin Crosby, Esq., Parker Law Group, LLP, Hampton, SC. Hand and finger crushing in a baling machine
    used for plastic bale forming and wrapping. (2022-present).
24. Ronnie Crosby, Esq., Parker Law Group, LLP, Hampton, S.C. Fall from a climbing-type tree stand for
    hunting. (2023).
25. Terry McCarty, Reiner, Slaughter, McCartney, Frankel LLP., Rye, NY. Failure of a coffee percolator handle
    and resulting scalding injury. (2022-23).
26. Michael Trunk, Esq., Kline and Specter, PC. Philadelphia, PA. Class action suit against an infant inclined
    sleeper manufacturer (Kids 2, Inc.) related to multiple SIDS deaths – evaluation of the engineering design
    process used to develop the at-issue Kids 2, Inc. product. (2022-23).
27. Pete Friday, Esq., Friday and Cox, LLC. Pittsburgh, PA. Hand crushing during the assembly of a pumping
    station using an overhead crane. (2022-present).
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28. Ronnie Crosby, Esq., Parker Law Group, LLP, Hampton, S.C. Crushing incident and fatality from a failed
    robotic palletizer safety shutdown system. (2022-present).
29. Pete Friday, Esq., Friday and Cox, LLC. Pittsburgh, PA. Respiratory disease from long term use of a failed
    PPE sandblasting suit and breather. (2022-present).
30. Pete Friday, Esq., Friday and Cox, LLC. Pittsburgh, PA. Fire and burns from an infant Pack and Play.
    (2022-present).
31. Mauro Ruiz, Esq., Ruiz Law Firm P.L.L.C., McAllen, TX. Failure of motorized hurricane exterior shutters
    and resulting death during a building fire. (2002-present)
32. Chad Shannon, Esq., Friday and Cox, LLC. Pittsburgh, PA. Analysis of a bicycle brake system failure and
    resulting traffic injury. (2022-present).
33. Austin Crosby, Esq., Parker Law Group, LLP, Hampton, S.C. Entanglement death in a bulk de-baling
    machine used for plastic bottle recycling. (2022-present).
34. Alberto Guerrero, Esq. Mask & Guerrero, Trial Attorneys. McAllen, TX. Examination and analysis of
    effects of a water/soap mixture on a non-slip tile floor at a La Quinta hotel. (2022-present).
35. Ronnie Crosby, Esq., Parker Law Group, LLP, Hampton, S.C. Entanglement amputation in a defective screw
    conveyor caused by a failed lock out/tag out safety system and lack of engineering safety controls. (2022-
    present).
36. Kevin O’Brien, Esq., Sampone O’Brien Dilsheimer Law, Cheltenham, PA. Class action suit against an infant
    inclined sleeper manufacturer (Kids 2, Inc.) related to multiple SIDS deaths – evaluation of the engineering
    design process used to develop the at-issue Kids product. (2022-present).
37. Carl Schiffman, Esq., Schiffman Firm, Pittsburgh, PA. Structural analysis of the failure of two small step
    ladders. (2022-present).
38. Matt Dillon, Esq., Martin, Harding & Mazzotti, LLP, Albany, NY. Injury from a right-angle grinder switch
    failure. (2022-present)
39. Ryan H Fisher, Esq., Lowe Scott Fisher Co LPA, Cleveland, OH. Slip out failure of an articulating ladder
    configured as an extension ladder. (2022).
40. Chad Shannon, Esq., Friday and Cox, LLC. Pittsburgh, PA. Analysis of a portable ladder and scaffold
    structural failure and injury. (2022).
41. Justin Bernstein, Esq. Schuster Law and Associates, Media, PA. Injury resulting from a powered multi-pallet
    pallet jack. (2022-present).
42. Miguel Dilley, Esq. Dilley Law Firm, San Antonio, TX. Child injury from a Walmart clothing rack collapse.
    (2022).
43. Robert Reardon, Esq. The Reardon Law Firm, P.C., New London, CT. Arm injury from a wire rope winding
    machine. (2021-present).
44. Thomas Mortati, Esq., Martin, Harding & Mazzotti, LLP, Albany, NY. Hand amputation by a commercial
    bag label printing machine. (2021-present)
45. Douglas Dilley, Esq. Dilley Law Firm, San Antonio, TX. Analysis of the frictional attributes, warnings, and
    injury associated with a wet tile floor fall at a McDonalds restaurant. (2021-present).
46. Pete Friday, Esq., Friday and Cox, LLC. Pittsburgh, PA. Fatality caused by a fall from a concrete mixer
    truck. (2021-present).
47. Ian M. Bauer, Esq., Hagens, Berman, Sobol, Shapiro LLP, Seattle WA. Analysis of a rope climbing device
    failure and manufacturing and design defect. (2021-2022).
48. Brian Cox, Esq., Friday and Cox, LLC. Pittsburgh, PA. Analysis of a crossbow structural failure and injury.
    (2021-present).
49. Thomas Mortati, Esq., Martin, Harding & Mazzotti, LLP, Albany, NY. Amputation by a Cabalas commercial
    meat grinder. (2021-present)
50. Ian Watt, Esq., Friday and Cox, LLC. Pittsburgh, PA. Analysis of a leg amputation in a commercial saw
    mill. (2021-2022).
51. Terry McCarty, Esq., Reiner, Slaughter, McCartney & Frankel LLP., Rye, NY. Engineering analysis and
    testing of an articulated ladder slipout failure. (2021-present)
52. Pete Friday, Esq., Friday and Cox, LLC. Pittsburgh, PA. Fatality from a stairs chair lift and battery charging
    system (2021-2022).
53. Justin Bernstein, Esq. Schuster Law and Associates, Media, PA. Amputation caused by a concrete pump
    misstart. (2020-2022).
54. Raymond Gill, Esq., Gill and Chamas, LLC, Woodbridge, NJ. Portable charcoal grill structural failure and
    fatal fire. (2020-present).
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55. Justin Bernstein, Esq. Schuster Law and Associates, Media, PA. Rotating cutter shroud failure on a wood
    chipper. (2020-present).
56. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Finger amputations caused by a stationary Porter
    Cable (Black and Decker) router. (2020).
57. Jason Schiffman, Esq., Schiffman Firm, Pittsburgh, PA. Kickback of a hand held Black and Decker circular
    saw. (2020-present).
58. Aaron Parker, Esq., Law Offices of Peter G. Angelos, Baltimore, MD. Finger loss injury from a Black and
    Decker table saw. (2020-present).
59. Thomas Mortati, Esq., Martin, Harding & Mazzotti, LLP, Plattsburgh, NY. Amputation from an unguarded
    mechanical drive train on a printing press. (2021-present)
60. John E. Osborne, Esq. Goldberg & Osborne LLP. Tucson, AZ. Examination and testing of an OTR tire
    change machine related to an operator fatality. (2019-2022).
61. Alberto Guerrero, Esq. Mask & Guerrero, Trial Attorneys. McAllen, TX. Assessment of ADA compliance
    of an outside ramp on South Padre Island, TX. (2019-2021).
62. Douglas B. Cannon, Esq., Fabian & Clenndenin, P.C., Salt Lake City, UT. Analysis and testing of an
    articulated ladder, configured as an extension ladder, slip out injury. (2019-present).
63. John E. Osborne, Esq. Goldberg & Osborne LLP. Tucson, AZ. Refuse truck incident involving catastrophic
    injuries from flying debris. (2019-2022).
64. Wayne Marvel, Esq. Maron Marvel Bradley Anderson & Tardy LLC. Wilmington, DE. Examination and
    analysis of a fall injury with a Dewalt battery heated jacket. (2018-2022)
65. Alberto Guerrero, Esq. Mask & Guerrero, Trial Attorneys. Hidalgo, TX. Examination and analysis of
    effects of water on a non-slip tile floor at a Lava Wash Laundromat. (2019-20).
66. Scott E. Schermerhorn, Esq. Law offices of Scott E. Schermerhorn. Scranton, PA. Analysis of an automotive
    lift collapse and crushing event. (2018-2020).
67. Miguel Dilley, Esq. Dilley Law Firm, San Antonio, TX. Analysis of a scaffold failure and OSHA-related
    jobsite violations. (2018).
68. James Thompson, Esq. Edelman and Thompson, LLC. Kansas City, MO. Structural failure of a fiberglass
    industrial stepladder. (2018-present).
69. Alberto Guerrero, Esq. Mask & Guerrero. McAllen, TX. Kinematics and kinetics of a Volvo tractor-trailer
    and car collision. (2018).
70. Jody Mask, Esq. Mask & Guerrero, Trial Attorneys. San Antonio, TX. Examination and design analysis of a
    failed fall arrester and fall arrest system. (2018).
71. Alberto Guerrero, Esq. Mask & Guerrero, Trial Attorneys. McAllen, TX. Analysis of a fiberglass crossbow
    structural failure and injury. (2018).
72. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of the failure of a polymer spray
    applicator for coating fabrics. (2017).
73. Scott Kagan & Terry McCarty, Reiner, Slaughter, McCartney & Frankel LLP. Rye, NY. Evaluation and
    testing of a molded elastomeric foot on a multipurpose aluminum ladder. (2017-present).
74. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Railing failure and fall from a 5th story apartment
    porch. (2017-present)
75. Alberto Guerrero, Esq. Cowen, Mask and Blanchard Attorneys at Law. McAllen, TX. Analysis of a low
    speed impact between two tractor trailers. (2017).
76. Pete Friday, Esq., Friday and Cox, LLC. Pittsburgh, PA. Analysis of a natural gas repair site and associated
    signage and traffic accident. (2017).
77. Linsey Scarcello, Esq., Langdon and Emison, LLC, Lexington, MO. Analysis of an articulating ladder
    molded foot design. (2017-18)
78. Pete Friday, Esq., Friday and Cox, LLC. Pittsburgh, PA. Analysis of a natural gas repair site and associated
    signage and traffic accident. (2017).
79. Pete Friday, Esq., Friday and Cox, LLC. Pittsburgh, PA. Analysis of a welding torch and failure and clothing
    fire. (2017).
80. Anthony Pinnie, Esq. Schuster Law and Associates, Media, PA. Failure of a polymer nut on a Pfister
    bathroom sink fixture. (2017)
81. Jody Mask, Esq., and Alberto Guerrero, Esq. Cowen, Mask and Blanchard Attorneys at Law. Donna, TX.
    Walkway trip and fall, and assessment of the American Disabilities Act design requirements. (2017)
82. Pete Friday, Esq., and Josh Licata, Esq., Friday and Cox, LLC. Pittsburgh, PA. Analysis of a large
    elastomeric hose failure after post extrusion pressure testing. (2017).
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 83. Jody Mask, Esq., and Alberto Guerrero, Esq. Cowen, Mask and Blanchard Attorneys at Law. McAllen, TX.
     Modeling of the kinetics of an impact between a John Deere backhoe and a pickup truck. (2017)
 84. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of the failure of a harness during the
     fall of worker cutting of a tree. (2016).
 85. Chris Apessos Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of a rear end collision involving a
     bumper hitch recreational trailer. (2016).
 86. Alberto Guerrero, Esq. Cowen, Mask and Blanchard Attorneys at Law. McAllen, TX. Forensic evaluation
     of a fall involving a mobile ladder. (2016-present)
 87. Greg Nicosia, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of an incident involving a Caterpillar
     Excavator. (2016).
 88. Joshua Licata, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of an electrocution involving a truck
     mounted aerial lift. (2016).
 89. Justin Bernstein, Esq. Schuster Law and Associates, Media, PA. Extremity laceration and equipment
     evaluation of a highschool wood shop tablesaw. (2015-17).
 90. Justin Bernstein, Esq. Schuster Law and Associates, Media, PA. Evaluation of a pallet jack foot crushing
     incident. (2015-present).
 91. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of a fall into a press for manufacturing
     tubing. (2015-17).
 92. Justin Bernstein, Esq. Schuster Law and Associates, Media, PA. Extremity loss evaluation from an
     automated chopsaw. (2015).
 93. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of a fall from a scissors lift (2015-
     present).
 94. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of a motorcycle ignition switch failure.
     (2015-present).
 95. Amy Eddy, Esq. The Law office of Amy Eddy, PLLC. Kalispell, MT. Examination of a fiberglass extension
     ladder failure. (2015-16).
 96. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Determining the impact characteristics of a rear
     truck bumper during a rear end collision. (2015-16).
 97. Kevin Burger, Esq. Friday and Cox, LLC. Pittsburgh, PA. Analysis and testing of failed concrete
     reinforcement (rebar). (2015-2022).
 98. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Determining the permeability characteristics of a
     crib bumper. (2015).
 99. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of a hunting stand structural failure.
     (2015-present).
 100.     Scott Kauff, Esq. Law Offices of John K. Dema, PC., St. Croix, Virgin Islands Analysis of a failed
     aluminum step ladder assembly. (2015-present).
101. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of a failed clip for bicycle clip-in
     shoes. (2015-19).
102. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Examination of an ATV accident involving an
     unmarked electric pole guy wire. (2014-present)
103. Anthony Pinnie, Esq. Schuster Law and Associates, Media, PA. Examination of an electric cable transfer
     system at the Philadelphia Water Department's Receiving Station. (2014-present).
104. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of an amputated arm accident by a
     horizontal boring machine. (2014-present).
105. Justin Bernstein, Esq. Pinnie Law Offices., Media, PA. Analysis of a smoke tunnel door latch system failure
     on a paper manufacturing system. (2014-2015).
106. James Navagh, Esq. The Law Office of John Wallace. Buffalo, NY Analysis of failed fiberglass ladder
     siderail. (2014 – present).
107. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of a failed weld on a wood chipper
     jack. (2014-present)
108. Allan Freeman, Esq. Schultz Law LLC. Conshohocken, PA. Evaluation of a failed fiberglass step ladder.
     (2014-present).
109. David Cutt, Esq. Eisenberg, Gilchrist, and Cutt. Salt Lake City, UT. Analysis and testing of a failed
     aluminum step ladder. (2014 – present).
110. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of a crushing head impact on an
     enclosed water slide stairs. (2014-present).
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111. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of an electrocution from overhead
     power lines. (2014-present).
112. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of a powered rotating entrance door at
     a casino. (2013).
113. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Evaluation of the electrocution of a tree trimmer.
     (2013-present).
114. Peter Friday, Esq. Friday and Cox, LLC. Pittsburgh, PA. Examination of a leg crushing accident involving a
     natural gas well beam pump. (2013-2015).
115. Bobby Kenny, Kenny Brothers, Inc. Bridgeville, DE. Analysis of a fractured GM diesel engine crank shaft.
     (2012).
116. Craig Hilborn, Esq., Hilborn & Hilborn, Birmingham, MI. Analysis of a step failure on a bucket truck
     fiberglass bucket. (2012-13)
117. Brantly White, Esq. Sico, White, Hoelscher, Braugh. Corpus Christi, TX. Analysis of an aluminum
     extension ladder failure. (2012-14).
118. David L. Jones, Esq., Jones Law Firm, P.L.L.C., Corpus Christi, TX. Analysis of an apartment heater
     temperature controller failure. (2011-12).
119. Gregory Hopper Esq., Salsbury, Clements, Bekman, Marder & Adkins, LLC. Analysis of a ladder failure.
     Baltimore, MD. (2011-12).
120. David L. Jones, Esq., Jones Law Firm, P.L.L.C., Corpus Christi, TX. Analysis of an extrusion machine
     design and accident. (2011-13).
121. David Kramer, Esq., Hilborn & Hilborn, Birmingham, MI. Analysis of failed fiberglass ladder siderail.
     (2011-14).
122. Kristen Sinisi, Esq., Angino and Associates, Harrisburg, PA. Analysis and testing of a failed aluminum
     stepladder. (2011-13)
123. Brett Farney, Esq., Farney Law Office, San Antonio, TX. Analysis of a failed aluminum step ladder side rail
     and first step. (2011-2012).
124. Joel Rosen, Esq. Cohen, Placitella & Roth, P.C., Philadelphia, PA. Analysis of an oxygen cylinder failure
     and injury. (2011-12).
125. Cameron Davis, Esq., Hoversten, Johnson, Beckmann & Hovey, Austin, MN. Failure analysis of a failed
     aluminum extension ladder. (2011-13).
126. Douglas B. Cannon, Esq., Fabian & Clenndenin, P.C., Salt Lake City, UT. Failure analysis of the structural
     failure of an articulating ladder. (2011-13).
127. John O’Connell, Esq., O’Connell and Associates, PC. Denver, CO. Analysis and testing of a failed
     aluminum telescoping extension ladder. (2010-12).
128. David J. DeToffol, Esq. DeToffol & Associates Attorneys at Law. New York, NY. Failure analysis of the
     locking pin on a telescoping extension ladder. (2010-12).
129. David L. Jones, Esq., Watts, Guerra, and Craft LLP, Corpus Christi, TX. Stress analysis and testing of a
     Grade A, class 2 shackle failure and injury. (2010-12).
130. David L. Jones, Esq., Watts, Guerra, and Craft LLP, Corpus Christi, TX. Analysis and testing of a Schedule
     160 high pressure pipe fitting failure and fatality. (2010-12).
131. David L. Jones, Esq., Watts, Guerra, and Craft LLP, Corpus Christi, TX. Georgia buggy accident and
     operator injury investigation. (2010-present).
132. Thomas J. Gilbride, Esq. O’Malley & Langan, P.C., Scranton, PA. Failure analysis of an aluminum scaffold
     jack. (2010).
133. Kiersta D. Perlee, Esq., The Arnold Law Firm, Sacramento, CA. Structural analysis of a failed fiberglass
     channel. (2010).
134. Tom Power, Esq. Power, Rogers & Smith, P.C., Chicago, IL. Examination of a failed rubber foot. (2010-
     present).
135. Peter Friday, Esq. Friday, Porta, Cox, and Ward, LLC. Pittsburgh, PA. Evaluation of the swimming pool
     electrocution. (2010).
136. Jeff Clark, Esq., Schmittinger & Rodriguez, Dover, DE. Analysis and testing of a pultruded fiberglass
     structural failure. (2010-12).
137. Eugene McGurk, Esq., Raynes McCarty, Philadelphia, PA. Analysis of the structural failure of a carbon fiber
     bicycle frame. (2010-2012).
138. Christina T. Novajosky, Esq. O’Malley & Langan, P.C., Scranton, PA. Analysis of a foot pad failure and
     overall stability of an aluminum step ladder. (2010).
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139. Tim Lengkeek, Esq., Young, Conaway, Stargatt, & Taylor, LLP, Wilmington, DE. Analysis of an accident
     involving a conveying system. (2009).
140. Junie Sinson, Esq, Sinson & Sinson, LTD, Chicago, IL. Analysis of a ladder side rail structural failure. (2009-
     present).
141. Devon Bruce, Esq., Power, Rogers & Smith, P.C., Chicago, IL. Examination of a fiberglass side rail failure.
     (2009).
142. A.J. Sackett & Sons, Inc., Baltimore, MD. Review of a load out conveyor and blending system design and
     accident. (2009).
143. Steven Stambaugh, Esq., Stambaugh Law, York, PA. Analysis of the electro-hydraulic system design and
     failure for a trailer boom lift accident. (2009). – just papers
144. Lauren Hudecki, Esq., Young, Conaway, Stargatt, & Taylor, LLP, Wilmington, DE. Analysis of an accident
     involving a hydraulically driven screening machine (2009).
145. Wyatt Stevens, Esq., Roberts & Stevens, P.A., Asheville, N.C. Testing and analysis of a high performance
     carbon fiber water ski failure. (2009).
146. David L. Jones, Esq., Watts, Guerra, and Craft LLP, Corpus Christi, TX. Analysis of an aluminum step
     ladder failure. (2009).
147. Peter Friday, Friday, Porta, Cox, and Ward, LLC. Pittsburgh, PA. Analysis and testing of a horizontal
     mixing mill safety shutdown system. (2009).
148. John Roberts, Esq., Ball, Hulbert and Roberts. Analysis of a fiberglass step ladder failure. Pasadena, CA
     (2008).
149. The Dalton Law Firm, Wilmington, DE. Structural analysis and property testing of aluminum step ladder
     (2007-2008).
150. Steven Stambaugh, Esq., Stambaugh Law, York, PA. Analysis and testing of a defective cast aluminum
     motorcycle wheel. (2007-08).
151. O’Malley & Langan, P.C., Scranton, PA. Failure analysis of a portable steel ladder failure and accident.
     (2006)
152. Craig D. Brown, Esq., Foote, Meyers, Mielke & Flowers, Geneva, Illinois. Analysis of a spreader bar failure
     on a step ladder. (2006-07).
153. Steven Stambaugh, Esq., Stambaugh Law, York, PA. Analysis and testing of a fiber reinforced composite
     cut-off wheel for abrasive metal cutting (2006-2008).
154. The Walker Law Group, Clearwater, FL., Analysis of fiberglass step ladder failure (2006-present).
155. Richard South, Esq., Wright and Greenhill, P.C., Austin TX., Analysis and testing of an articulating ladder
     failure. (2006-09).
156. Joel Rosen, Esq. Cohen, Placitella & Roth, P.C., Philadelphia, PA. Analysis of a snap blade knife failure and
     accident. (2006-09).
157. Welebir & McCune, Redlands, California. Failure analysis of a fiberglass step ladder. (2006-08).
158. Mary Buonanno, Esq., Attorney-at-Law, Takoma Park, MD. Failure analysis of a composite extension ladder
     siderail. (2006-08).
159. Danny Henderson, Esq., Peters, Murdaugh, Parker, Eltzroth & Detrick Law Offices, Hampton, SC. Failure
     analysis of an aluminum step stool. (2006-09).
160. Cohen, Placitella & Roth, P.C., Philadelphia, PA. Preliminary analysis of a window failure. (2006-07).
161. Steven Stambaugh, Esq., Stambaugh Law, York, PA. Evaluation of the safety shutdown system on a concrete
     power trowel (2006).
162. Steven Stambaugh, Esq., Stambaugh Law, York, PA. Structural analysis and testing of an extension ladder.
     (2006).
163. Steven Stambaugh, Esq., Stambaugh Law, York, PA. Analysis of a forklift brake failure. (2006).
164. Edgar Snyder and Associates, Pittsburgh, PA. Analysis and ASTM testing of the structural failure of a
     polyethylene molded chair. (2006).
165. Edgar Snyder and Associates, Pittsburgh, PA. Analysis of the structural failure of a composite bike fork.
     (2006).
166. O’Malley & Langan, P.C., Scranton, PA. Failure analysis of a step stool accident. (2006)
167. Ronald Owen, Attorney at Law, Jacksonville, FL. Failure analysis of a fiberglass extension ladder. (2004-
     present).
168. O’Malley & Langan, P.C., Scranton, PA. Biomechanics of the impact of a clevis pin on the human skull and
     neck fitted with a hardhat. (2004-present).
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  169. Todd S. Miller and Associates, Allentown, PA. Evaluation of a brake failure on a hydrostatic drive, self-
       propelled asphalt paver. (2004-05).
  170. Ferrara, Rossetti & DeVoto, P.A., Cherry Hill, NJ. Preliminary failure analysis of the power train on a shaft-
       drive motorcycle. (2004).
  171. O’Malley & Langan, P.C., Scranton, PA. Analysis of a motorcycle steering column failure and accident.
       (2004-present)
  172. Peter Friday, Esq., Woomer and Friday, Attorneys at Law, LLP, Pittsburg, PA. Analysis and testing of a
       horizontal mixing mill accident. (2003-05).
  173. Todd O’Malley, Esq., O’Malley & Langan, P.C., Scranton, PA. Analysis of an automotive jackstand failure.
       (2003-07).
  174. Leavis and Rests, P.C., Boston, MA. Analysis and experimental evaluation of a defective childs toy. (2003-
       07).
  175. Crews and Bodiford, P.A., Orlando, FL. Failure analysis and testing of a composite sandwich structure water
       ski. (2003-06).
  176. Leavis and Rests, P.C., Boston, MA. Failure analysis of an aluminum extension ladder siderail. (2003-06).
  177. Gibson, Valenti & Ashley, P.A., Lake Wales, FL. Rivet pullout analysis of a fiber reinforced structure.
       (2003-05).
  178. Smith, Phillips, Mitchell and Scott, Hernando, MS. Failure analysis of an aluminum open channel. (2003-
       05).
  179. Robert M. N. Palmer, P.C., Springfield, MS. Failure analysis of an aluminum step ladder. (2003-05).
  180. Frankel, Cunningham, Stambaugh & Associates, York, PA. Failure of an aluminum extension ladder. (2003-
       05).
  181. Hardin, Kundla, McKeon, Poletto & Polifroni, Springfield, NJ. Fiberglass side rail structural analysis and
       testing for a failed Werner step ladder. (2003-05).
  182. Kessler, Cohen, and Roth, Inc., Philadelphia, PA. Structural analysis and testing of an aluminum folding
       walker. (2003).
  183. Hourigan, Kluger, and Quinn, Kingston, PA. Failure analysis of an aluminum step ladder. (2002-03).
  184. The Krasnow Law Firm, Roanoke, VA. Failure analysis of a fiber-reinforced step ladder. (2002-03).
  185. Smith, Stephens, Reed & Phillips, Inc., Pittsburgh, PA. Evaluation/testing of the safety shutdown system on a
       horizontal mixing mill. (2002).
  186. Litvin, Blumberg, Matusow, and Young, Philadelphia, PA. Evaluation/testing of the crushing potential of a
       vehicle power seat with position memory. (2002-03).
  187. Venable, Baetjer, Howard & Civiletti, LLP, Washington, D.C. Failure analysis and testing of an exercise
       device. (2002).
  188. Kessler, Cohen, and Roth, Inc., Philadelphia, PA. Failure analysis of a vending machine fan motor. (2002).
  189. Scanlon and Co., LLC, Akron, OH. Failure analysis of an aluminum step ladder. (2002).
  190. Universal Underwriters Group, Overland Park, KS. Product liability design evaluation. (2002).
  191. Kessler, Cohen, and Roth, Inc., Philadelphia, PA. Assessment of the design, and testing of a concrete chop
       saw. (2001).
  192. Structural Mechanics Associates, Inc., Philadelphia, PA. Various stress analysis projects for extruded
       aluminum and fiber-reinforced structures. (1999-2019).
  193. National Forensic Engineers, Inc., Pittsburgh, PA. Various failure analysis of step ladders accident cases.
       (1999-2005).
• Professional Engineering Mechanical Design Services - Industry and Government
  1. Mid-Atlantic Organic Resource Recovery Company, Ridgley, MD. Design of a large circular rotating
      composting vessel and drive for composting poultry renderings. (2023).
  2. Fifer Orchards, LLC, Wyoming, DE. Design of a high capacity durable sweep for sweet corn distribution to
      the packing line workers. (2023).
  3. Fennimore Construction, Inc., Clayton, DE. Floor joist sizing and footer requirements for a porch addition to
      an existing home. (2023).
  4. L&L Farms, Inc., Townsend, DE. Structural damage caused by the ridged mounting of a screw-type
      conveyor to the top of a grain bin. (2023).
  5. Siemens Healthcare Diagnostics, Glasgow, DE. Measurement of hand squeeze force and load to failure for a
      new bottle cap design with reduced geometric features to lower stress concentrations and increase cap
      strength. (2022).
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6. Siemens Healthcare Diagnostics, Glasgow, DE. Design validation and testing of a new bottle cap closure for
    medical grade bleach compatibility. (2021-22).
7. Fifer Orchards, LLC, Wyoming, DE. Design and installation of a sweet corn truck unloading system for bulk
    fresh market produce. (2021).
8. Siemens Healthcare Diagnostics, Glasgow, DE. Testing to determine the causes of leaks in injection molded
    cuvettes. (2020).
9. EZ Venture, LLC, Harrington, DE. Design of an ethanol-based extraction process and facility for the
    processing of CBD hemp oil. (2019-21).
10. Fennimore Construction, Clayton, DE. Beam sizing for a home renovation. (2019).
11. Siemens Healthcare Diagnostics, Glasgow, DE. Testing to determine the degradation of polyethylene bottle
    caps when saturated with chloride bleach. (2019-present).
12. Duffield Associates, Wilmington, DE. Renovation plan for the New Castle County (DE) wastewater
    treatment facility (2019-present).
13. Siemens Healthcare Diagnostics, Glasgow, DE. Redesign of a click-lock cap for medical instrument reagents.
    (2019-present).
14. Siemens Healthcare Diagnostics, Glasgow, DE. Bottle sorting mechanism to prevent mechanical damage and
    bottle leakage. (2019-present).
15. Siemens Healthcare Diagnostics, Glasgow, DE. Load and leak testing of analytical instrument cuvettes for
    human fluid and reagent transport. (2018).
16. Fennimore Construction, Clayton, DE. Structural analysis of several balconies at the Bayview Development.
    (2018-2019).
17. Siemens Healthcare Diagnostics. Glasgow, DE. Measurement of insertion force of an injection molded insert
    into a regent bottle. (2017).
18. The Dupont Co., Wilmington Experimental Station, Wilmington, DE. Development of an automated XY
    table for rapid carbon fiber fabric formation for near net shape structural automotive components. (2016-17).
19. The Town of Middletown, Delaware. Middletown, DE. Development of a bidding and selection process for
    the remediation of the town-owned agricultural fields. (2014, 2016, 2018)
20. Siemens Healthcare Diagnostics. Glasgow, DE. Fatigue analysis, and mechanical and chemical testing of
    injection molding tooling. (2016-17).
21. Siemens Healthcare Diagnostics. Glasgow, DE. Automated torqueing of bottle lids for analytical instrument
    reagents. (2016-17).
22. The Town of Middletown, Delaware. Middletown, DE. Development of 150 acre sports complex utilizing
    treated municipal wastewater for irrigation. (2015-2017)
23. Mid Atlantic Industrial Belting, Newark, DE. Analysis of a flat belt failure. (2015).
24. ATK (Alliant Techsystems, formerly Thiokol), Elkton, MD. Analysis of a fiberglass structural failure and
    recommendations for an improved safety inspection procedure. (2014).
25. Dr. Peter Popper, Wilmington, DE. Modeling the needle tip spatial location during tumor sample extraction.
    (2013)
26. The Town of Middletown, Delaware. Middletown, DE. Calculation of field loading rates resulting from
    Copper Sulfate algae treatment in the wastewater lagoons. (2013)
27. Kraft Foods, Dover, DE. Design of and engineering drawing for a servo motor mount. (2013)
28. New Castle County, DE. Odessa, DE. Calculation of the assimilation rates for nutrients and heavy metals for
    as-needed spray irrigation with treated wastewater for the Odessa area fields. (2012)
29. The Town of Middletown, Delaware. Middletown, DE. Calculation assimilation rates for nutrients and
    heavy metals for as-needed spray irrigation with treated wastewater for the Burger farm. (2012)
30. Siemens Healthcare Diagnostics. Glasgow, DE. Elastic property measurement of a multi-laminant polymer
    film for medical applications. (2012).
31. The Town of Middletown, Delaware. Middletown, DE. Preparation of an amended permit application to
    expand spray-on-demand in the Middletown region. (2012)
32. Tornier, Inc. Edina, MN. Consolidation characteristics of several biomedical laminates. (2011-12).
33. The Town of Middletown, Delaware. Middletown, DE. Development and supervision of a bid process for
    the remediation of the dedicated spray irrigation fields used for wastewater disposal. (2011-12)
34. Siemens Healthcare Diagnostics, Glasgow, DE. Analysis of an HDPE injection molded component failure.
    (2011).
35. Tornier, Inc. Edina, MN. Development of a manufacturing process to consolidate and compress biomedical
    fabrics. (2010-2011).
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         36. Tornier, Inc. Edina, MN. Development of a machine vision system to quantify porosity of biomedical
             fabrics. (2010-2011).
         37. University of Delaware, College of Engineering. Newark, DE. Load rating computation, engineering
             drawings and load rating label recommendations for two lift structures in the College of Engineering Machine
             Shop. Newark, DE (2010).
         38. The Town of Odessa, Delaware. Odessa, DE. Calculation assimilation rates for nutrients and heavy metals
             for as-needed spray irrigation with treated wastewater. (2010)
         39. Kraft Foods Inc., Dover, DE. Fastener strength requirements for an overhead crane system. (2009).
         40. Consumer Union, Yonkers, NY. Evaluation of vibrating exercise machines. (2006-07).
         41. Cirrus Engineering, Delaware Technology Park, Newark, DE. Measurement of cutting force dynamics for
             several PTFE coated microtome histologist blades. (2006-2011).
         42. Institute for Energy Conversion, Newark, DE. Design and implementation of a self-tuning controller for a
             multi-chemical batch reactor with web handling for thin film photovoltaic manufacturing. (2003-2005).
         43. Hard Hat, LCC, Baltimore, MD. Design and computer-aided-drafting of a hand-struck tool product line for
             overseas production. (2003).
         44. George Whitmyre, Newark DE. Design of and engineering drawings for a welded steel bracket w/ compound
             angles. (2003).
         45. Baltimore Tool Works, Inc., Baltimore, MD. Programmable Logic Controller (PLC) programming. (2002).
         46. Cirrus Engineering, Inc., Wilmington, DE. Characterization of edge geometry for coated microtone knives;
             Estimation of cutting energy for apparel fabric and the design and automation of fabric cutting equipment.
             (2002-03).
         47. Monsanto Co., Inc., Galena, MD. Design/Development of a pneumatic conveying system for hybrid seed.
             (2001-02).
         48. Monsanto Co., Inc., Galena, MD. Calculation of the load capacity of a storage loft. (1999).

OUTREACH
P E E R -R E V I E W E D E X T E N S I O N P U B L I C AT I O N S
     1. Kee, W.E., J.L. Glancey, and T.L. Wootten. 2004. Successful lima bean production in Delaware: A management
          profile. Extension Bulletin VF-6. University of Delaware, Newark, DE.
     2. Kee, W.E, K. Everts, J.L. Glancey, and T.L. Wootten. 2004. Pea production in Delaware. Extension Bulletin
          VF-4. University of Delaware, Newark, DE.
    3.    Glancey, J.L. 2001. Equipment for effective poultry litter management. Delaware Nutrient Management Notes.
          2 (1): 1-3.

N O N -R E F E R E E D E X T E N S I O N P U B L I C A T I O N S & R E P O R T S
    1. Stoops, A. and J. Glancey. 2010. Drip irrigation basics. Handout for the 2010 Twilight New Castle Growers
        Meeting, Newark, DE.
    2. Glancey, J. 2008. Facility housing considerations for Delaware dairy farms. Proceedings of the 2008 Delmarva
        Dairy Day, Harrington, DE
    3. Glancey, J. 2007. Mechanical sidedressing: Is there an opportunity with some horticultural crops? Proceedings
        of the 2007 Mid-Atlantic Vegetable Workers Conference, Newark, DE.
    4. Glancey, J. 2007. Adjustment and operation of conditioning equipment for increased drying rates and decreased
        dry matter losses. Proceedings of the Southern and Central Maryland Hay and Pasture Conference, Waldorf, MD.
    5. Glancey, J. 2006. Mechanical harvest characteristics of several small greens. 2006. Proceedings of the 2006
        Mid-Atlantic Vegetable Workers Conference, Newark, DE.
    6. Glancey, J. 2005. Performance and safety concerns with the new bandsaw-type spinach harvester. 2005.
        Proceedings of the 2005 Mid-Atlantic Vegetable Workers Conference, Newark, DE.
    7. Glancey, J. 2000. Flow rate requirements for center pivot irrigation systems. 2000.
    8. Glancey, J. and E. Kee. 1999. Report on the throughput capacities and recovery characteristics of tractor
        mounted and pull-type cucumber harvesters.
    9. Kee, E. and J. Glancey. 1997. Harvest loss in peas and lima beans with pod stripper combines.
    10. Kee, E., T. Wootten, and J. Glancey. University of Delaware Pea Variety Trials. 1996, 1997, 1998, 2000, 2002.

P R E S E N TAT I O N S & D E M O N S T R AT I O N S AT C O O P E R AT I V E E X T E N S I O N A N D O T H E R O U T R E A C H M E E T I N G S
     1. Multiple Updates on the Delmarva N and P mass balance as part of the Land and Litter Challenge. (2017). L&L
          Steering Committee Meeting, Wye, MD.
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2. Irrigating Agricultural Crops with Treated Municipal Wastewater: Review of a Three Year Study and New
    Regulations in Delaware. 2014. STAC meeting of the Center for the Inland Bays, Lewes, DE.
3. Latest in baler technology and bale size economics. 2014. Delaware Ag Week, Harrington, DE.
4. Updates on the next version of the EPA model to predict nutrient loading in the Chesapeake Bay from the poultry
    industry. 2014. Delaware Ag Week, Harrington, DE.
5. Latest in baler technology and bale size economics. 2014. Southern Maryland Hay & Pasture Conference,
    Brandywine, MD.
6. Moisture sensing technologies for hay production. 2013. Delaware Ag Week, Harrington, DE.
7. Recommendations for the Reuse of Treated Municipal Wastewater for Irrigating Crops. 2013. 2013 Mid-Atlantic
    Crop Management School, Ocean City, MD.
8. Moisture sensing technologies for hay production. 2013. Southern Maryland Hay & Pasture Conference,
    Brandywine, MD.
9. Moisture sensing technologies for hay production. 2013. Tri-State Hay & Pasture Conference, Oakland, MD.
10. Environmental pressures on small vegetable processors- a case study for lima bean grading. 2013 Mid-Atlantic
    Vegetable Workers Conference, Newark, DE.
11. As Needed Irrigation with Municipal Wastewater: A Pilot Project for the Town of Middletown. 2012. Delaware
    Ag Week, Harrington, DE.
12. Irrigating with Highly Treated Municipal Wastewater: Feasibility for Vegetables? 2012 Mid-Atlantic Vegetable
    Workers Conference, Newark, DE.
13. Drip irrigation basics demonstration. 2010. Twilight meeting for New Castle County growers. (with Anna
    Stoops, Extension Agriculture Agent).
14. Moderator of a grower and dealer panel—Irrigation Engineering Advances and Water Conservation. 2010.
    Irrigation Session, Delaware Ag Week, Harrington, DE.
15. Season extenders: row covers, greenhouses, high and low tunnels and cold frames. 2010. Delaware Organic food
    and Farming Association Annual Educational Meeting. Dover, DE.
16. Compaction in processing vegetable fields: causes and cures. 2009. Delaware Ag Week, Harrington, DE.
17. Technologies for Manure Management. 2009 Delmarva Dairy Day. Hartley, DE.
18. Energy efficiency of alternative fuels and tips for saving energy on the farm. 2008. Agronomy/Soybean Session,
    Delaware Ag Week, Harrington, DE.
19. Nutrient management considerations for various tillage systems. 2008. Nutrient Management Session, Delaware
    Ag Week, Harrington, DE.
20. Facility considerations for Delaware dairy farms. 2008 Delmarva Dairy Day, Harrington, DE
21. Panel member: Discussion on cover crops, irrigation, tillage practices and nutrient management. 2008 Delmarva
    Dairy Day, Harrington, DE
22. Machine setup and operation for optimal quality forage. 2007. The 2007 Mid-Atlantic Crop Management
    School, Ocean City, MD.
23. GPS and precision agriculture applications for agronomic and vegetable crops grown in the Delmarva region.
    2007. The Southern States Cooperative Growmaster Annual Training Program, Harrington, DE.
24. Composite-based tool designs to reduce vibration and noise. 2007. The Delaware Woodworkers Guild Meeting,
    Glasgow, DE.
25. Maintenance, adjustment, and operation of mower-conditioners to minimize drying time and dry matter losses in
    hay production. 2007. Southern and Central Maryland Hay and Pasture Conference. Waldorf, MD.
26. Harvest recovery of a band saw cutter for spinach and several small greens. 2007 Delaware Ag Week, Harrington,
    DE.
27. Maintenance, adjustment, and operation of mower-conditioners to minimize drying time and dry matter losses in
    hay production, 2007 Delaware Ag Week (both day and night programs), Harrington, DE.
28. Performance and recovery characteristics of a band saw cutter for spinach and several small greens. 2006 Mid-
    Atlantic Vegetable Workers Conference, Newark, DE.
29. Design of a continuous blade cutter for processing spinach. 2006. Delaware Ag Week, Harrington, DE.
30. GPS contest. 2005 Day on the Farm, Hockessin, DE.
31. Design and safety concerns with the new bandsaw-type spinach harvester. 2005 Mid-Atlantic Vegetable Workers
    Conference, Newark, DE.
32. How to use GPS waypoints to identify and find hidden objects. 2004 Day on the Farm, Middletown, DE.
33. Biodiesel: Facts and fiction. 2004. 2004 Agronomy Days. Delaware Cooperative Extension. Harrington, DE.
34. Update on commercialization of bio-based fuels and lubricates & considerations for road and off-road vehicles.
    2004. Delaware Vegetable Growers Association, Harrington, DE.
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   35. Application machinery and technology considerations for cost-effective nutrient management. 2004. The 2004
       Mid-Atlantic Crop Management School, Ocean City, MD.
   36. GPS technology demonstration and GPS challenge contest. 2003. Farm and Home Field Day, Georgetown, DE.
   37. How to choose, use and not abuse hydraulic systems and fluids. 2003. Delaware Agronomy and Machinery Day,
       Harrington, DE
   38. Design and development of detachable cutter knives for high speed disc cutter bars. 2002. Delaware Vegetable
       Growers Association (with Dawn Cintavey, W.L. Gore and Associates, Inc.), Harrington, DE.
   39. Yield monitoring and precision field mapping in vegetable crops. 2001. Delaware Vegetable Growers Meeting,
       Felton, DE 2001.
   40. Current and future trends in intelligent agricultural machinery, 2001. Delaware Agronomy Day, Harrington, DE.
   41. Irrigation system design for the Mid-Atlantic region. 2000. University of Maryland Cooperative Extension
       Service Winter Growers Meeting. Fair Hill, MD.
   42. Yield monitors and new harvesting equipment for processed vegetable production. 2000. The 2000 Mid-Atlantic
       Crop Management School, Ocean City, MD.
   43. Center pivot irrigation system design and economic considerations for Delaware. 1999. Delaware Cooperative
       Extension Service New Castle County Growers Breakfast Meeting. 1999. St. Georges, DE.
   44. Prototype device for sensing watermelon ripeness. Farm and Home Field Day. 1999. Georgetown, DE.
   45. Update on Cucumber Harvesting Research. 1999. University of Delaware Grower and Processor Pickling
       Cucumber Meeting. Georgetown, DE.
   46. What’s driving precision agriculture in Delaware? 1998. University of Delaware In-Service for Cooperative
       Extension Professionals. Dover, DE.
   47. Irrigation pumping methods and equipment for improved water management. 1998. University of Maryland
       Cooperative Extension Kent Co. Growers Meeting, Galena, MD.
   48. New equipment for irrigation and water resources management. 1998. University of Maryland Wye Research
       Center, Wye Mills, MD.
   49. New technology for vegetable production. Delaware Vegetable Growers Meeting. 1998. Milford, DE.
   50. Comparison of the new shaker harvester to conventional harvesters for processed cucumbers. Delaware
       Vegetable Growers Meeting. 1998. Milford, DE.
   51. New technology for irrigation and water management. 1998. Mid-Atlantic Crop Certification School, Dover, DE.
   52. Demonstration of a precision manure applicator. 1997. DNREC Crop Management Tour, Sussex County, DE.
   53. Techniques for reducing tire-induced soil compaction. 1997. Delaware Vegetable Growers Meeting. Milford, DE.
   54. Progress in developing yield monitors for processed vegetables. 1997. Delaware Vegetable Growers Meeting.
       Milford, DE.
   55. Reducing the potential for soil compaction induced with pneumatic tires. 1997. Milford Fertilizer Inc. Annual
       Field Crops Growers Meeting, Bordentown, NJ.

DELAWARE COOPERATIVE EXTENSION ENGINEERING SERVICES PROJECTS
  1. Design of a Tractor Trailer Unloading System for Sweet Corn. Fifer Orchards, Wyoming, DE. (2020-21).
  2. Measurement of potato emergence and population in a commercial potato production setting. Pries Farm,
     Harrington, DE. (2019)
  3. Implementation of reclaimed wastewater program at the new Milton, DE wastewater treatment facility for on-
     demand agricultural irrigation. Artisan Water Co., Inc. (2019-present).
  4. The Town of Middletown, Delaware. Middletown, DE. Proposal to Governor Carney and Secretary Garvin
     (DNREC) for a state-wide review and revision of the regulations governing the treatment and distribution of
     wastewater in Delaware. (2018-present).
  5. The Covered Bridge Inn, Lewes, DE. Design of a radiant infrared heating system for an agricultural barn and
     reception facility for weddings (Hopkins Dairy Farm). (2017).
  6. The Town of Middletown, Delaware. Middletown, DE. Preparation of an amended CMR permit application to
     recognize agricultural spray-on-demand irrigation as dedicated wastewater disposal capacity in the Middletown
     region. (2017-18).
  7. Puglusi Egg Farm, Middletown, DE. Modifications to the washwater disposal system to achieve compliance with
     the DNREC operating permit. (2015-16).
  8. Howard Webb Farm, Lincoln, DE. Design of a ventilation system and electrical service for a beef holding and
     finishing building. (2016).
  9. Kraft Foods, Inc., Dover, DE. Forensic analysis of high rate of failures on the StoveTop Stuffing manufacturing
     line. (2013).
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 10. Kraft Foods, Inc., Dover, DE. Re-design of the drive system for package handling. (2013).
 11. New Castle County Wastewater Treatment Division. New Castle, DE. Feasibility calculations for the distribution
     of highly treated wastewater to the farms surrounding Waterfarm #1 in Odessa. (2013)
 12. Delaware Electric Coop. Greenwood, DE. Pollution and energy implications of converting Tier 1, 2, and 3 diesel
     irrigation pump engines to electric motors. (2013).
13. The Town of Middletown, Delaware. Middletown, DE. Preparation of an amended permit application to expand
     spray-on-demand in the Middletown region. (2012-14).
 14. Duffield and Associates, Pike Creek, DE. Calculation of Ag BMP’s nutrient savings for the purpose of nutrient
     credit trading (2013).
 15. The Town of Middletown, Delaware. Middletown, DE. Development and supervision of a bid process for the
     compaction remediation and re-seeding of the dedicated spray irrigation fields used for wastewater disposal.
     (2012)
 16. Delaware Electric Coop. Greenwood, DE. Computation of PM and NOx emissions from all stationary
     generators. (2012).
 17. Dogfish Head Brewery, Milton, DE. Design of a processing facility to extract juices from local produce as
     ingredients for beer. (2012-13).
 18. Fifer Orchards, Wyoming, DE. Redesign of a sweetcorn packing line for a crew size of 50 packers. (2012-15).
 19. The Town of Middletown, Delaware. Middletown, DE. Review of the soil and irrigation management program
     at the Frog Hollow Golf Course. (2012)
 20. West Farms, Milford, DE. Modification of a grading station and development of an amended permit application
     for DNREC compliance. (2011-14).
 21. Delaware Department of Transportation (DelDOT), Georgetown, DE. Design analysis of the hydrostatic drive
     propulsion system and thruster shaft sealing system on the Delaware Woodland Ferry. (2011-13)
 22. Austin & Bednash, Newark, DE. Analysis of the head loss in a dry fire hydrant line & sizing of a primer pump
     for the hydrant. (2011).
 23. Kraft Foods, Inc., Dover, DE. Re-design of the liquid ingredient pumping system for bulk shaved coconut
     manufacturing. (2011-12).
 24. Delaware Department of Transportation (DelDOT), Georgetown, DE. Diagnosis of the misalignment on the
     loading ramp and redesign of the ramp lifting linkage on the Delaware Woodland Ferry. (2011-12).
 25. Artesian Water Company, Inc. Christiana, DE. Nutrient loading limits and water demand for spray on demand
     irrigation with treated municipal wastewater from Rehoboth Beach, DE. (2011)
 26. Delaware Refining Company, LLC., Delaware City, DE. 2011. Feasibility analysis for an ethanol processing
     facility and a biodiesel processing facility at the Delaware City Refinery. (2011)
 27. Aerca Advisors, Wilmington, DE and the Delaware Department of Agriculture, Dover, DE. Development of a
     power purchase agreement (PPA) between the State of Delaware and a corporation in Delaware. (2011).
 28. Chesapeake Utilities, Dover, DE. Feasibility of using natural gas as a replacement for propane for heating poultry
     houses. (w/ Bill Brown). (2011-12)
 29. Lally White, LLP, Lewes, DE & the Delaware Department of Agriculture, Dover, DE. Development of an online
     knowledge base for the evaluation of solar power systems for agribusinesses. (2011-12)
 30. Rolland Hitchens, Georgetown, DE. Calculation of structural member sizes to support extended ballasting
     weights. (2011).
 31. Artesian Water Company, Inc. Christiana, DE. Nutrient loading limits and water demand for spray on demand
     irrigation with treated municipal wastewater from Rehoboth Beach, DE. (2011)
 32. Port of Wilmington, Wilmington, DE. Design recommendations for a 2000 heifer short-term holding facility for
     loading overseas transportation vessels. (2010-2012)
 33. ARCA Advisors and Mid-Atlantic Renewable Parnters LLC (MARP). Feasibility study for large (multi-acre)
     photovoltaic systems at Perdue (Milford), Mountaire (Millsboro), Vlasic (Millsboro), and Allen's Family Foods
     (Harbeson). 2010-12.
 34. West Farms, Milford, DE. Design of new manufacturing processes and hardware for separating green and white
     lima beans that reduce Sodium and Chloride concentrations in the wastewater distributed to wastewater spray
     irrigation systems. (2010-present).
 35. Town of Middletown, DE. Drafting of a long-term contract between the growers and town for the use of treated
     municipal waste water for the irrigation of agricultural crops. (2010-11).
 36. Fifer Orchards, Wyoming, DE. Preliminary kWh production estimate and design for a low head turbine-based
     electrical generation system and dam redesign for the Wyoming pond. (2010-11).
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37. L & L Farms, Townsend, DE. Drafting of a lease agreement for renting land for as-needed spray irrigation of
    agricultural crops with treated and filtered municipal wastewater. (with Anna Stoops, Extension Agriculture
    Agent). (2010-present)
38. Delaware Department of Agriculture, Dover, DE. 2010. Preliminary sizing for a PV system for the Dover State
    office. (2010).
39. Coleman’s Christmas Tree Farm, Odessa, DE. A Day on the Farm 2010. Promoting agriculture in the state of
    Delaware –recommendations of land use planning and event volunteer. (2010).
40. Town of Middletown, DE. Recommendations for remediating compaction in dedicated spray irrigation fields
    owned by municipalities (w/ Anna Stoops, Ext. Ag. Agent). (2010-present)
41. Kranz Farm, Newark, DE. Design of a drip tape or drip emitter system for vegetable production. (with Anna
    Stoops, Extension Agriculture Agent). (2010).
42. Fifer Orchards, Wyoming, DE. Reconfiguration of a fresh market sweet corn packing line to increase
    throughput. (2010).
43. Town of Middletown & Artesian Water, Middletown DE. Recommendations for using treated wastewater
    effluent to irrigate agricultural crops. (2009-present).
44. Delaware Department of Agriculture, Dover, DE. 2010. PV system design and costing for the Redden State
    Facility in Georgetown, DE.
45. Howard Webb, Milford, DE. Design and configuration of a slatted floor beef facility. (2009)
46. Vogl Farms, Harrington, DE. Design of a structure for a new young animal housing. (2008-09).
47. Carlisle Farms, Greenwood, DE. Design and fabrication of steel drive pulleys for band saw type greens cutters.
    (2008).
48. Fifer Orchards, Wyoming, DE. Redesign of the hydrocooler water pumping and cleaning systems to reduce heat
    exchanger fouling. (2008).
49. Seaford High School. Structural analysis and wind load certification of a non-engineered greenhouse. (2008).
50. Rolland Hitchens & Hannover Foods Corp, Georgetown, DE. Configuration, calibration, emergence
    measurements of a grain drill for narrow row, no-till lima bean production. (2008).
51. Fifer Orchards, Wyoming, DE. Design and implementation of processing line modifications to reduce peach and
    apple fruit bruising during handling and packing. (2007).
52. Blair View Aquaculture Farm and the NRCES. Milford, DE. Design and implementation of a powered, closed-
    system, rotary drum composter for tilapia mortalities. (2007)
53. Kenny Grading Station, Bridgeville, DE. Paper design of an on-site relish fermentation system – heater sizing
    and estimate of energy requirements and costs. (2006)
54. H&S DuBoise, Pittgrove, NJ. Design of and recovery measurements for a continuous cutter for small greens.
    (2006).
55. Blair View Aquaculture Farm, Milford, DE. Design and implementation of a catch-and-weigh system for tilapia
    harvest. (2005-06).
56. Kenny Grading Station, Bridgeville, DE. Design and installation of a speed reduction drive for a high volume
    pumping station. (2005).
57. Colemans Tree Farm, Odessa, DE. Irrigation pump and electric motor selection. (2005).
58. Carlisle Farms, Greenwood DE. Installation of a continuous blade spinach cutter header on a Portaway harvester.
    (2004).
59. Mumford General Contractors, Seaford, DE. Testing protocol for the evaluation of a defective concrete floor.
    (2004).
60. Carrazza Farms, Townsend, DE. Estimation of fuel consumption for stationary power units for oxygenator
    recommendations on diesel power units in Delaware. (2004).
61. Blair View Aquaculture Farm, Milford, DE. Design and fabrication of a basket conveyor for live tilapia harvest
    and loading. (2004-05).
62. Kenny Grading Station, Bridgeville, DE. Finite element analysis and installation of a continuous, long-span,
    beam-type water line and support structure for the hydro-unloading of cucumber transport trucks. (2004).
63. Woodenhawk Farms, Greenwood, DE. Structural analysis and engineering certification of a greenhouse structure.
    (2003).
64. L&L Farms, Inc., Middletown, DE. Field measurements and analysis of multiple center pivot irrigation system
    structural failures. (2001).
65. Gundry Greenhouses, Laurel, DE. Structural analysis and engineering certification of a hoop greenhouse
    structure. (2000).
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   66. Richardson’s Farm, Hurlock, MD. Design of bridges over drainage ditches for center pivot irrigation systems.
       (2000).
   67. Hitchens Farms, Inc. Georgetown, DE. Field evaluation of an irrigation system end gun reconfiguration for
       lawsuit settlement. (1999).
   68. Carlisle Brothers, Inc., Greenwood, DE. Selection and installation of a fuel flow meter for irrigation system
       power units. (1999).
   69. Holy Hill Farms, Milford, DE. Hydraulic system redesign and installation for a raven cucumber harvester.
       (1998).
   70. Fifer Orchards, Wyoming, DE. Design and setup of a sweet corn grading & packing line with a hydrocooler.
       (1998-99).
   71. Fifer Orchards, Wyoming, DE. Design and setup of a hydraulic drive and unloading system for sweet corn
       wagons. (1997).
   72. Jersey Asparagus Farms, Elmer, NJ. Design and testing of shaker cleaning system for asparagus root crowns.
       (1997-98).

S E RV I C E
G O V E R N M E N T S E RV I C E
  • Gubernatorial Appointment, Delaware’s Representative on the EPA’s Scientific and Technical Advisory Committee
        (STAC) for the Chesapeake Bay Program. 2011-2014 term.
  • Invited Panel Member, Congressional Delegations of Delaware and Maryland’s Environmental Summit. 2012.
  • Cabinet Secretaries (DNREC & DDA) Appointment, State Certainty Committee and Program, State of Delaware.
        2012-present.
  • Invited Panel Member, Congressional Delegations of Delaware and Maryland’s Environmental Poultry Summit.
        2012.
  • Gubernatorial Appointment, Governor’s Energy Advisory Council, State of Delaware. 2009-2012 term.
  • Cabinet Secretaries (DNREC & DDA) Appointment, State Technical Standards Committee, State of Delaware.
        2010-present.
  • Invited Member, Planning & Advisory Committee for the Town of Middletown Wastewater Treatment Facility
        Expansion Project. 2009-present.
  • Invited Panel Member. Forum on Expanding the U.S. Biofuels Market. USDA/Rural Development/Farm Services
        Agencies (FSA). 2010-11.
P R O F E S S I O N A L & I N D U S T R I A L S E RV I C E
  • Member, Advisory Board for EzyCure LLC (DE small business growing and processing medical hemp),
        Harrington, DE. 2020-present.
  • Member, Land and Litter Challenge, Subcommittee on the Mass Balance of Nitrogen and Phosphorous on
        Delmarva. 2016-2018.
  • Invited Member, Chesapeake Bay Programs’ Implementation Workgroups. Agriculture Workgroup & Watershed
        Technical Workgroup. 2011-present.
  • Chair, Chesapeake Bay Programs’ Sub-committee on Quantifying Nutrient Generation by the Poultry Industry
        within the Chesapeake Bay Watershed (aka the Poultry Litter Subcommittee). (2011-16).
  • Chairman, Vice-Chair, and Past-Chair of PM48 – Fruit and Vegetable Production Engineering. ASAE. 1999-
        2005.
  • Executive Committee Member and University Relations Officer, Delaware Section of the American Society of
        Mechanical Engineers. 2003-2016.
  • National Science Foundation Invited Workshop Participant: Engineering Solutions for Sustainable Food and
        Energy Supplies in the U.S. Co-Sponsored by NSF, NASA, and USDA. April 24-25, 2007, Washington, DC.
  • Scientific Committee Member, International Symposium on the Application of Precision Agriculture for Fruits and
        Vegetables. 2007-08.
  • National Science Foundation Invited Workshop Presenter and Participant: Future of Modeling in Composites
        Molding Processes. Co-Sponsored by NSF, DOE and APC, June 9-10, 2004, Washington, DC.
  • Member, United Soybean Board National Technical Advisory Panel for Industrial Uses of Soybean Oil. (1999-
        2001).
  • Member, ASAE PM 04 - Power and Machinery Publications Committee. 2003-present.
  • Member, ASAE PM 01/02 - Power and Machinery Executive Steering Committee. 2001-2003.
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•  ASABE Technical Committee Memberships: PM 48 – Fruit and Vegetable Production Engineering (1996-present); PM
   54 – Precision Agriculture (1998-99); PM 51 – Hydraulics (1998-00); ESH 04 – Ergonomics, Safety and Health
   (2003-present)
• Member, Scientific and Technical Advisory Committee, Center for the Inland Bays, Lewes, DE 2004-present.
• SAE Technical Committee Memberships: Alternate Industrial Lubricants (1997-00); Fluid Power (1997-99); Farm
   Equipment (1997-99, 2003-present)
• ASME Committee Memberships: Reliability, Stress Analysis and Failure Prevention Technical Committee (RSAFP)
   (2003-present)
• Chair and/or Moderator, Sessions at Professional Meetings
    ▪ 2008 Conference on Application of Precision Agriculture for Fruits and Vegetables, Session on Economics,
       Quality and Environmental Aspects of Precision Agriculture.
    ▪ 2007 Greater Philadelphia AIAA/ASME 3rd Annual Aerospace/Mechanical Engineering Mini-Symposium,
       Session on Materials.
    ▪ 2007 ASABE International Annual Meeting – Session ESH-4, Agricultural Safety and Health – Education and
       Intervention.
    ▪ 2006 ASABE International Annual Meeting – Session ESH 216, Advances in Safety Technology.
    ▪ 2004 SAE Commercial Vehicle Engineering Congress and Exposition – Advances in Off-Road Vehicle
       Electronics.
    ▪ 2001 ASAE International Annual Meeting – Session 112 – New Technology for Fruit and Vegetable Production
       Engineering.
    ▪ 1999 SAE Off-Highway and Powerplant Congress and Exposition – Alternative Industrial Lubricants.
• Reviewer, Manuscripts
    ▪ Journal of Mechanical Design, Transactions of the American Society of Mechanical Engineers (2).
    ▪ Journal of Composites, Part A: Applied Science Manufacturing (4).
    ▪ Journal of Sandwich Structures and Materials (3)
    ▪ Peer-Reviewed Proceedings of the Design Engineering Technical Conference (2005) – Symposium on
       Reliability, Stress, and Failure Prediction (American Society of Mechanical Engineers) (2).
    ▪ Peer-Reviewed Proceedings of Society for the Advancement of Materials and Processes (SAMPE) (1).
    ▪ Peer-Reviewed Proceedings of the American Society of Mechanical Engineers Congress (2)
    ▪ Peer-Reviewed Proceedings of the Design Engineering Technical Conference (2008) – 5th Symposium on
       International Design and Design Education (American Society of Mechanical Engineers) (3).
    ▪ Transactions of the American Society of Agricultural Engineers (6)
    ▪ Computers and Electronics in Ag (1)
    ▪ Journal of Agricultural Engineering Research (1)
    ▪ Biosystems Engineering (3)
    ▪ Applied Engineering in Agriculture (7)
    ▪ Canadian Journal of Bio-Engineering (1)
    ▪ SAE Technical Papers (4)
    ▪ HortTechnology (ASHS) (4)
    ▪ Special Issue of Soil and Tillage Research (1)
    ▪ Journal of Irrigation and Drainage Engineering, American Society of Civil Engineers (1)
    ▪ USDA Peer-Reviewed Publications (1)
• Reviewer, Books
    ▪ Design of Machinery, 5th Edition. McGraw Hill, New York, NY
    ▪ Mechanical Engineering Design, 8th Edition. McGraw Hill, New York, NY
    ▪ Solid Works Workbook. Prentice Hall, Upper Saddle River, NJ.
    ▪ Practical Reliability Analysis. Prentice Hall Publishing, Upper Saddle River, NJ.
    ▪ Machine Design Series. John Wiley & Sons, Inc., Hoboken, NJ
• Reviewer, Proposals
    ▪ Kentucky Science and Engineering Foundation, R & D Excellence Funding Program (2006).
    ▪ Canadian Natural Sciences and Engineering Research Council (NSERC) (2006).
    ▪ The Cooperative Institute for Coastal and Estuarine Environmental Technology (CICEET) – Environmental
       Technology Development Grants Program (2004).
    ▪ Canadian Natural Sciences and Engineering Research Council (NSERC) (2002).
    ▪ National Review Panel, Small Business Innovative Research Program, Washington, D.C. (1999).
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     ▪ Small Business Innovative Research Program, Proposal Reviewer (1998, 1999, 2000, 2001, 2002, 2003, 2006,
        2007, 2008).
 • Reviewer, Papers for Northeast Agricultural and Biological Engineers (NABEC) Student Design Competition. (1992-
   2004, 2006, 2009, 2010).
 • Proctor, Delaware Association of Professional Engineers. Fundamentals of Engineering Exam. (1998, 1999).

U N I V E R S I T Y S E RV I C E
  • Advisor, UD Trap and Skeet Club. (2017-2020).
  • Member, UD Sustainability Fund Working Group. (2011-2013 term)
  • Member, Advisory Panel for the Undergraduate Research Program (2009-13).
  • Member, Senior Thesis Board, Undergraduate Research Program. (2003-13).
  • Instructor of Record, Undergraduate Senior Thesis (UNIV 401 and 402). (2007-08).
  • Co-Advisor, Solar Decathlon Competition. (2001-2003).
  • Member, Search Committee for Project Manager in the Office of the Vice Provost for Research. (1999-2000).
  • Member, Search Committee for Assistant Project Manager in the Office of the Vice Provost for Research. (1999).
  • Member, Undergraduate Studies Committee, Faculty Senate (1995-97).

C O L L E G E O F A G R I C U L T U R E A N D N A T U R A L R E S O U R C E S ( CANR) S E R V I C E
  • Member, Nutrient Management Committee (2012-13).
  • Member, Search Committee for the Dean, College of Agriculture and Natural Resources (2012).
  • Member, Search Committee for CANR Nutrient Management Faculty Member and Specialist (2012).
  • Member, Search Committee for CANR Extension Environmental Quality and Management Specialist (2012).
  • Member, Search Committee for CANR Newark Farm Manager (2008-10).
  • Member, Search Committee for the Extension Vegetable Specialist. (2007-09).
  • Member, College Promotion and Tenure Committee (2003-2005).
  • Member, Advisory Committee for the CANR Industrial Partnership Program. (2003, 2005-present).
  • Member, Search Committee for Animal and Food Sciences Assistant Professor - Food Processing. (2003).
  • Member, Search Committee for CANR Associate Dean for Education and Research. (2003).
  • Member, Search Committee for CANR Newark Farm Manager (2002).
  • Member, Search Committee for Animal and Food Sciences Assistant Professor - Food Engineer (2002).
  • Member, Review Committee for the CANR Research Partnership Program. (2001, 2005).
  • Member, College Promotion and Tenure Committee (2000-2002).
  • Member, Deans Advisory Committee (2000-2001).
  • Co-Host, Delaware Vegetable Growers Trip to the Tulare Farm Show (w/ Ed Kee). (1999).
  • Member, College Committee on Nutrient Management. (1998).
  • Member, College Strategic Planning Committee (1997-98).

C O L L E G E O F E N G I N E E R I N G (COE) S E RV I C E
  • Member, Search Committee – CAD/CAM Machinist for the COE Student Machine Shop. (2021-22).
  • Advisor, Solar Decathlon College of Engineering Team. (2019-21)
  • Member, Search Committee – Laboratory Coordinator for Mechanical Engineering. (2018).
  • Faculty Manager and Coordinator, Student Machine Shop. (2016-present)
  • Member, Search Committee – CNC and CAD/CAM Master Machinist for the Student Machine Shop. (2017).
  • Member, Search Committee – Replacement Master Machinist for the Colburn Research Machine Shop. (2017).
  • Faculty Consultant, Reconfiguration of the Colburn Machine Shop Lathe Lifts (2010).
  • Member, Advisory Committee for the Society of Automotive Engineers Club (2009-10).
  • Member, Center for Composites Materials Honors Day Awards Committee (2004, 2007).
  • Member, Search Committee - Master Machinist for the Student Shop. (2003).
  • Moderator, Center for Composites Spring and Summer Research Symposiums (Fall, 2003, Spring, 2004, Spring
       2005, Spring 2007, Spring 2008, Spring 2009, Spring 2010)
  • Faculty Coordinator, Renovations of the Student Shop and Student Shop Website (2001–2004).

DEPARTMENT OF BIORESOURCES ENGINEERING SERVICE
 • Chair, Promotion and Tenure Committee. (2012-13)
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 •   Member, Promotion and Tenure Committee. (2007-08)
 •   Chair, Promotion and Tenure Committee. (2006-07)
 •   Presenter, RISE Program Presentation to High School Students. (Fall 2003, Spring 2004)
 •   Member, Department Promotion and Tenure Committee. (2001-02).
 •   Member, Search Committee for Assistant Professor/Extension in Irrigation/Water Resources Engineering (2000-01).
 •   Member, Search Committee for Assistant Professor/Extension Specialist in Poultry Production Engineering (2000-01).
 •   Member, Search Committee for Assistant Professor in Power and Machinery, Bioresources Engineering (2000).
 •   Member, Search Committee for Engineering Extension Associate. (1999).

DEPARTMENT OF MECHANICAL ENGINEERING SERVICE
 • Member, Graduate Student-Industry Partnership (GSIP) Program (2018-present)
 • Chair, ME Safety Committee (2017-18, 2018-19).
 • Member, Planning Committee for the Future of Design Instruction (2009).
 • Member, Design Curriculum Committee. (2005).
 • Member, Laboratory Committee. (2000- present).
 • Advisor, Student Chapter of SAE. (2000-01).
 • Member, Graduate Student Recruitment Committee. (1999-00).
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                          Exhibit D
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                                                                                                                                                 An American National Standard
                    Designation: F 412 – 09



                   Standard Terminology Relating to
                   Plastic Piping Systems1
                   This standard is issued under the ﬁxed designation F 412; the number immediately following the designation indicates the year of
                   original adoption or, in the case of revision, the year of last revision. A number in parentheses indicates the year of last reapproval. A
                   superscript epsilon (´) indicates an editorial change since the last revision or reapproval.




                                                                                                                           om
                   This standard has been approved for use by agencies of the Department of Defense.



1. Scope                                                                                        D 882 Test Method for Tensile Properties of Thin Plastic




                                                                                                                         .c
   1.1 This terminology is a compilation of deﬁnitions of                                        Sheeting
technical terms used in the plastic piping industry. Terms that                                 D 883 Terminology Relating to Plastics
                                                                                                D 907 Terminology of Adhesives




                                                                                                                       sh
are generally understood or adequately deﬁned in other readily
available sources are not included.                                                             D 1003 Test Method for Haze and Luminous Transmittance
   1.2 When a term is used in an ASTM document for which                                         of Transparent Plastics
                                                                                                D 1238 Test Method for Melt Flow Rates of Thermoplastics




                                                                                                          ki
Committee F17 is responsible it is included only when judged,
after review, by Subcommittee F17.91 to be a generally usable                                    by Extrusion Plastometer
term.                                                                                           D 1488 Test Method for Amylaceous Matter in Adhesives



                                                                                                e-
   1.3 Deﬁnitions that are identical to those published by other                                D 1505 Test Method for Density of Plastics by the Density-
ASTM committees or other standards organizations are iden-                                       Gradient Technique
                                                                                                D 1527 Speciﬁcation for Acrylonitrile-Butadiene-Styrene
                                                                                   en
tiﬁed with the committee number (for example, D20) or with
the abbreviation of the name of the organization (for example,                                   (ABS) Plastic Pipe, Schedules 40 and 80
IUPAC International Union of Pure and Applied Chemistry).                                       D 1785 Speciﬁcation for Poly(Vinyl Chloride) (PVC) Plas-
   1.4 A deﬁnition is a single sentence with additional infor-                                   tic Pipe, Schedules 40, 80, and 120
                                                                          yl

mation included in notes.                                                                       D 2104 Speciﬁcation for Polyethylene (PE) Plastic Pipe,
   1.5 Deﬁnitions are followed by the committee responsible                                      Schedule 40
                                                               th


for the standard(s) (for example, [F17.26]) and standard                                        D 2239 Speciﬁcation for Polyethylene (PE) Plastic Pipe
numbers(s) in which they are used (for example, F 714).                                          (SIDR-PR) Based on Controlled Inside Diameter
                                                                                                D 2241 Speciﬁcation for Poly(Vinyl Chloride) (PVC)
                                                  se




2. Referenced Documents                                                                          Pressure-Rated Pipe (SDR Series)
  2.1 ASTM Standards:2                                                                          D 2282 Speciﬁcation for Acrylonitrile-Butadiene-Styrene
   C 114 Test Methods for Chemical Analysis of Hydraulic                                         (ABS) Plastic Pipe3
                                        ar




    Cement                                                                                      D 2444 Test Method for Determination of the Impact Re-
   D 256 Test Methods for Determining the Izod Pendulum                                          sistance of Thermoplastic Pipe and Fittings by Means of a
    Impact Resistance of Plastics                                                                Tup (Falling Weight)
                              .p




   D 638 Test Method for Tensile Properties of Plastics                                         D 2447 Speciﬁcation for Polyethylene (PE) Plastic Pipe,
   D 648 Test Method for Deﬂection Temperature of Plastics                                       Schedules 40 and 80, Based on Outside Diameter
            w




    Under Flexural Load in the Edgewise Position                                                D 2513 Speciﬁcation for Thermoplastic Gas Pressure Pipe,
   D 747 Test Method for Apparent Bending Modulus of                                             Tubing, and Fittings
    Plastics by Means of a Cantilever Beam                                                      D 2661 Speciﬁcation for Acrylonitrile-Butadiene-Styrene
           w




   D 790 Test Methods for Flexural Properties of Unreinforced                                    (ABS) Schedule 40 Plastic Drain, Waste, and Vent Pipe
    and Reinforced Plastics and Electrical Insulating Materials                                  and Fittings
  w




                                                                                                D 2666 Speciﬁcation for Polybutylene (PB) Plastic Tubing3
                                                                                                D 2680 Speciﬁcation for Acrylonitrile-Butadiene-Styrene
   1
     This terminology is under the jurisdiction of ASTM Committee F17 on Plastic                 (ABS) and Poly(Vinyl Chloride) (PVC) Composite Sewer
Piping Systems and is the direct responsibility of Subcommittee F17.91 on Editorial
and Terminology.                                                                                 Piping
   Current edition approved May 1, 2009. Published June 2009. Originally                        D 2683 Speciﬁcation for Socket-Type Polyethylene Fittings
approved in 1975. Last previous edition approved in 2007 as F 412 – 07.
   2
     For referenced ASTM standards, visit the ASTM website, www.astm.org, or
contact ASTM Customer Service at service@astm.org. For Annual Book of ASTM
                                                                                                3
Standards volume information, refer to the standard’s Document Summary page on                    Withdrawn. The last approved version of this historical standard is referenced
the ASTM website.                                                                            on www.astm.org.




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                                                             F 412 – 09
  for Outside Diameter-Controlled Polyethylene Pipe and                 F 1473 Test Method for Notch Tensile Test to Measure the
  Tubing                                                                 Resistance to Slow Crack Growth of Polyethylene Pipes
D 2737 Speciﬁcation for Polyethylene (PE) Plastic Tubing                 and Resins
D 2751 Speciﬁcation for Acrylonitrile-Butadiene-Styrene                 F 1488 Speciﬁcation for Coextruded Composite Pipe
  (ABS) Sewer Pipe and Fittings                                         F 1499 Speciﬁcation for Coextruded Composite Drain,
D 2837 Test Method for Obtaining Hydrostatic Design                      Waste, and Vent Pipe (DWV)
  Basis for Thermoplastic Pipe Materials or Pressure Design             F 1668 Guide for Construction Procedures for Buried Plas-
  Basis for Thermoplastic Pipe Products                                  tic Pipe
D 2846/D 2846M Speciﬁcation for Chlorinated Poly(Vinyl                  F 1733 Speciﬁcation for Butt Heat Fusion Polyamide(PA)
                                                                         Plastic Fitting for Polyamide(PA) Plastic Pipe and Tubing




                                                                                              om
  Chloride) (CPVC) Plastic Hot- and Cold-Water Distribu-
  tion Systems                                                          F 1760 Speciﬁcation for Coextruded Poly(Vinyl Chloride)
D 3035 Speciﬁcation for Polyethylene (PE) Plastic Pipe                   (PVC) Non-Pressure Plastic Pipe Having Reprocessed-
  (DR-PR) Based on Controlled Outside Diameter                           Recycled Content
                                                                        F 1924 Speciﬁcation for Plastic Mechanical Fittings for Use




                                                                                            .c
D 3139 Speciﬁcation for Joints for Plastic Pressure Pipes
                                                                         on Outside Diameter Controlled Polyethylene Gas Distri-
  Using Flexible Elastomeric Seals
                                                                         bution Pipe and Tubing
D 3261 Speciﬁcation for Butt Heat Fusion Polyethylene




                                                                                          sh
                                                                        F 1948 Speciﬁcation for Metallic Mechanical Fittings for
  (PE) Plastic Fittings for Polyethylene (PE) Plastic Pipe and
                                                                         Use on Outside Diameter Controlled Thermoplastic Gas
  Tubing
                                                                         Distribution Pipe and Tubing
D 3309 Speciﬁcation for Polybutylene (PB) Plastic Hot-




                                                                                 ki
                                                                        F 1970 Speciﬁcation for Special Engineered Fittings, Ap-
  and Cold-Water Distribution Systems                                    purtenances or Valves for use in Poly (Vinyl Chloride)
D 3350 Speciﬁcation for Polyethylene Plastics Pipe and                   (PVC) or Chlorinated Poly (Vinyl Chloride) (CPVC)


                                                                        e-
  Fittings Materials                                                     Systems
F 402 Practice for Safe Handling of Solvent Cements,                    F 1973 Speciﬁcation for Factory Assembled Anodeless Ris-
 Primers, and Cleaners Used for Joining Thermoplastic Pipe
                                                           en
                                                                         ers and Transition Fittings in Polyethylene (PE) and
 and Fittings                                                            Polyamide 11 (PA11) and Polyamide 12 (PA12) Fuel Gas
F 405 Speciﬁcation for Corrugated Polyethylene (PE) Pipe                 Distribution Systems
 and Fittings                                                           F 1986 Speciﬁcation for Multilayer Pipe Type 2, Compres-
                                                    yl

F 441/F 441M Speciﬁcation for Chlorinated Poly(Vinyl                     sion Fittings, and Compression Joints for Hot and Cold
 Chloride) (CPVC) Plastic Pipe, Schedules 40 and 80                      Drinking-Water Systems
                                            th



F 442/F 442M Speciﬁcation for Chlorinated Poly(Vinyl                    F 1987 Speciﬁcation for Multilayer Pipe Type 2, Compres-
 Chloride) (CPVC) Plastic Pipe (SDR−PR)                                  sion Fittings, and Compression Joints for Hydronic Heat-
F 449 Practice for Subsurface Installation of Corrugated                 ing Systems
                                   se




 Polyethylene Pipe for Agricultural Drainage or Water Table             F 2145 Speciﬁcation for Polyamide 11 (PA 11) and Polya-
 Control                                                                 mide 12 (PA12) Mechanical Fittings for Use on Outside
F 628 Speciﬁcation for Acrylonitrile-Butadiene-Styrene                   Diameter Controlled Polyamide 11 and Polyamide 12 Pipe
                           ar




 (ABS) Schedule 40 Plastic Drain, Waste, and Vent Pipe                   and Tubing
 With a Cellular Core                                                   F 2158 Speciﬁcation for Residential Central-Vacuum Tube
                                                                         and Fittings
                   .p




F 645 Guide for Selection, Design, and Installation of
 Thermoplastic Water- Pressure Piping Systems                           F 2160 Speciﬁcation for Solid Wall High Density Polyeth-
F 714 Speciﬁcation for Polyethylene (PE) Plastic Pipe                    ylene (HDPE) Conduit Based on Controlled Outside Di-
       w




 (SDR-PR) Based on Outside Diameter                                      ameter (OD)
F 771 Speciﬁcation for Polyethylene (PE) Thermoplastic                  F 2176 Speciﬁcation for Mechanical Couplings Used on
      w




 High-Pressure Irrigation Pipeline Systems                               Polyethylene Conduit, Duct and Innerduct
                                                                        2.2 ISO Standards:4
F 876 Speciﬁcation for Crosslinked Polyethylene (PEX)
                                                                        ISO 3 Preferred Numbers
w




 Tubing
                                                                        ISO 497 Preferred Numbers
F 877 Speciﬁcation for Crosslinked Polyethylene (PEX)
                                                                        ISO R 161 Pipes of Plastics Materials for the Transport of
 Plastic Hot- and Cold-Water Distribution Systems
                                                                          Fluids (Outside Diameters and Nominal Pressures) Part I,
F 891 Speciﬁcation for Coextruded Poly(Vinyl Chloride)                    Metric Series
 (PVC) Plastic Pipe With a Cellular Core                                ISO TR 9080 Thermolplastics Pipes for the Transport of
F 948 Test Method for Time-to-Failure of Plastic Piping                   Fluids-Methods of Extrapolation of Hydrostatic Stress
 Systems and Components Under Constant Internal Pres-                     Rupture Data to Determine the Long-Term Hydrostatic
 sure With Flow                                                           Strength of Thermoplastic Pipe Materials
F 1025 Guide for Selection and Use of Full-Encirclement-                2.3 ANSI Standard:4
 Type Band Clamps for Reinforcement or Repair of Punc-
 tures or Holes in Polyethylene Gas Pressure Pipe
F 1335 Speciﬁcation for Pressure-Rated Composite Pipe                   4
                                                                          Available from American National Standards Institute (ANSI), 25 W. 43rd St.,
 and Fittings for Elevated Temperature Service                       4th Floor, New York, NY 10036, http://www.ansi.org.


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                                                                              F 412 – 09
  Z17.1 ANSI Preferred Numbers                                                             DISCUSSION—The interlaboratory exposure conditions are usually
  2.4 PPI Standard:5                                                                    intensiﬁed beyond those encountered in actual outdoor exposure in an
  PPI TR-4                                                                              attempt to achieve an accelerated effect.

                                                                                      backﬁll—all material used to ﬁll the trench from bedding to
3. Terminology
                                                                                        ﬁnished surface.                    [F17.65 ] F 449, F 1668
acceptance testing—testing performed on a product to deter-                           backﬁll, ﬁnal—material used to ﬁll the trench from initial
  mine whether or not an individual lot of the product                                  backﬁll to ﬁnished surface.                            [F17]
  conforms with speciﬁed requirements.               [F17]                            backﬁll, initial—material used to ﬁll the trench from top of
    DISCUSSION—The number of requirements are usually fewer than for                    bedding to a designated height over the pipe.          [F17]




                                                                                                            om
  qualiﬁcation testing (see deﬁnition).                                               backﬁll, pipe zone—see pipe zone backﬁll.
                                                                                      backﬁll, unconsolidated—noncompacted material in place in
acetal plastics, n—highly crystalline linear thermoplastic ho-
                                                                                        trench.                                                [F17]
   mopolymers or copolymers characterized by repeating
   oxymethylene units.                                     [F17]                      beam loading—the application of a load to a pipe between two




                                                                                                          .c
acrylonitrile-butadiene-styrene (ABS) pipe and ﬁtting                                   points of support, usually expressed in newtons (or pounds-
   plastics—plastics containing polymers or blends of poly-                             force) and the distance between the centers of the supports.




                                                                                                        sh
   mers, or both, in which the minimum butadiene content is                                                                                    [F17]
   6%, the minimum acrylonitrile content is 15 %, the mini-                           bedding, n—materials placed in the bottom of the trench on
   mum styrene or substituted styrene content, or both, is 15 %,                        top of the foundation soil which provides stable bottom




                                                                                                ki
   and the maximum content of all other monomers is not more                            support for buried pipe including the trench bottom groove
   than 5 %; plus lubricants, stabilizers, and colorants.                               support angle or select material placed around the pipe, and
             [F17.61] D 1527, D 2282 [17.62] D 2680, D 2751                             envelope or ﬁlter materials where used during insulation.



                                                                                        e-
adhesive—a substance capable of holding materials together                                                                   [F17.65] F 449, F 1668
   by surface attachment.                                  [F17]                      bedding, v—placement of support materials for buried pipe.
                                                                           en
adhesive bonded joint—see joint, adhesive bonded.                                                                                              [F17]
adhesive, solvent—see solvent cement.                                                 bell-and-spigot joint—see joint, bell-and-spigot gasket.
adiabatic extrusion—a method of extrusion in which, after                             bell end—the enlarged portion of a pipe that resembles the
                                                                   yl

   the extrusion apparatus has been heated sufficiently by                              socket portion of a ﬁtting and that is intended to be used to
   conventional means to plastify the material, the extrusion                           make a joint.                                          [F17]
   process can be continued with the sole source of heat being                        bend—a ﬁtting either molded separately or formed from pipe
                                                         th



   the conversion of the drive energy, through viscous resis-                           for the purpose of accommodating a directional change.
   tance of the plastic mass in the extruder.      [D20] D 883                                                                                 [F17]
aging, n—(1) the effect on materials of exposure to an
                                              se




   environment for an interval of time.                                                    DISCUSSION—Also called ell, elbow, or sweep. Bends generally imply
                                                                                        ﬁttings of relatively shorter radii than sweeps.
      (2) the process of exposing materials to an environment
                                    ar




for an interval of time.                           [D20] D 883                        beveled pipe—a pipe with an end chamfered to mate or adjust
alloy, n—in plastics, two or more immiscible polymers united,                           to another surface or to assist in assembly.          [F17]
   usually by another component, to form a plastic resin having                       binder, n—in a reinforced plastic, the continuous phase which
                           .p




   enhanced performance properties.                [D20] D 883                          holds together the reinforcement.              [D20] D 883
antioxidant, n—compounding ingredient used to retard dete-
                                                                                           DISCUSSION—During fabrication, the binder, which may be either
   rioration caused by oxidation.                          [F17]
           w




                                                                                        thermoplastic or thermoset, usually undergoes a change in state.
apparent density—the weight per unit volume of a material
   including voids inherent in the material as tested.     [F17]                      blinding—the placement of soil, bedding material over and on
          w




     DISCUSSION—The term bulk density is commonly used for material                     the sides of the pipe, tubing or envelope to ensure proper
  such as molding powder.                                                               grade, alignment, support, and protection of pipe during
  w




                                                                                        backﬁlling and after installation.            [F17.65] F 449
approving authority—the individual official, board, depart-                           blister, n—an imperfection, a rounded elevation of the surface
  ment, or agency established and authorized by a state,                                of a plastic, with boundaries that may be more or less sharply
  county, city, or other political subdivision, created by law to                       deﬁned, somewhat resembling in shape a blister on the
  administer and enforce speciﬁed requirements.                                         human skin.                                     [D20] D 883
artiﬁcial weathering—exposure to laboratory conditions,
                                                                                      bloom, n—a visible exudation or efflorescence on the surface
  which may be cyclic, involving temperature, relative humid-
                                                                                        of a material.                                  [D20] D 883
  ity, radiant energy, or any other conditions or pollutants
  found in the atmosphere in various geographical areas; or                           blow molding—a method of fabrication in which a heated
  both.                                                     [F17]                       parison (hollow tube) is forced into the shape of a mold
                                                                                        cavity by internal gas pressure.                [D20] D 883
                                                                                      blowing agent—a compounding ingredient used to produce
   5
     Available from Plastics Pipe Institute (PPI), 105 Decker Court, Suite 825,         gas by chemical or thermal action, or both, in manufacture of
Irving, TX 75062, http://www.plasticpipe.org.                                           hollow or cellular articles.                    [D20] D 883

                                                                                  3
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                                                                        F 412 – 09
brittle failure—a pipe failure mode which exhibits no visible                     is a derivative of cellulose (obtained from cotton or wool
  (to the naked eye) permanent material deformation (stretch-                     pulp, or both) made by converting some of the hydroxyl
  ing, elongation, or necking down) in the area of the break.                     groups in cellulose to acetate and butyrate groups with
                                              [F17.40] F 1473                     chemicals.                                            [F17]
building drain—that part of the lowest horizontal piping of a                   central vacuum tubing, n—plastic tubing used for residental
  drainage system that receives the discharge from soil, waste,                   central vacuum systems in which outside diameter is con-
  and other drainage pipes inside the walls of the building and                   trolled and where the wall thickness is usually small when
  conveys it to the building sewer beyond the foundation walls                    compared to the diameter.                  [F17.25] F 2158
  of the building or structure.                           [F17]                 chalking, n—in plastics, a powdery residue on the surface of
                                                                                  a material resulting from degradation or migration of an




                                                                                                       om
     DISCUSSION—The building sewer generally begins 2 to 5 ft beyond
  the foundation walls.                                                           ingredient, or both.                           [D20] D 883
                                                                                    DISCUSSION—Chalking may be a designed-in characteristic.
building drain (sanitary)—a building drain that conveys gray
  water or sewage, or both.                                [F17]                chemical cleaner—see cleaner, chemical.




                                                                                                     .c
building drain (storm)—a building drain that conveys storm                      chemical resistance—the ability to resist chemical attack.
  water only.                                              [F17]                                                                    [F17]




                                                                                                   sh
building sanitary sewer—that part of the horizontal piping of                        DISCUSSION—The attack is dependent on the method of test and its
  a sanitary drainage system which extends from the building                      severity is measured by determining the changes in physical properties.
  sanitary drain, receives the discharge of the building sanitary                 Time, temperature, stress, and reagent may all be factors that affect the




                                                                                          ki
  drain, and conveys it to a public sewer, private sewer,                         chemical resistance of a material.
  individual sewage disposal system, or other point of dis-
                                                                                chemically formed polymeric material—a cellular material
  posal.                                                   [F17]


                                                                                  e-
                                                                                   in which the cells are formed by gases generated from
building storm sewer—that part of the horizontal piping of a
                                                                                   thermal decomposition or other chemical reaction. [D20]
  storm drainage system which extends from the building
                                                                                                                                        D 883
                                                                      en
  storm drain, receives the discharge of the building storm
                                                                                chlorinated poly(vinyl chloride) plastics—plastics based on
  drain, and conveys it to a public storm sewer, private storm
                                                                                   chlorinated poly(vinyl chloride) in which the chlorinated
  sewer, or other point of disposal.                       [F17]
                                                                                   poly(vinyl chloride) is in the greatest amount by weight.
building supply—See water service.
                                                              yl

                                                                                                                                 [D20] D 883
bulk factor, n—the ratio of the volume of a given mass of
                                                                                chloroﬂuorocarbon plastics—plastics based on polymers
  molding material to its volume in the molded form. ISO/
                                                    th


                                                                                   made with monomers composed of chlorine, ﬂuorine, and
                                                    [D20] D 883
                                                                                   carbon only.                             ISO/ [D20] D 883
     DISCUSSION—The bulk factor is also equal to the ratio of the density       chloroﬂuorohydrocarbon plastics, n—plastics based on poly-
                                          se




  of the material to its apparent density in the unmolded form.                    mers made with monomers composed of chlorine, ﬂuorine,
                                                                                   hydrogen, and carbon only.                ISO/[D20] D 883
burst strength—the internal pressure required to cause a pipe
                                                                                cleaner, chemical—an organic solvent used to remove foreign
  or ﬁtting to fail.                                   [F17]
                                 ar




                                                                                   matter from the surface of plastic pipe and ﬁttings.
     DISCUSSION—This pressure will vary with the rate of buildup of the                                                        [F17.20] F 402
  pressure and the time during which the pressure is held.
                                                                                     DISCUSSION—Cleaners have essentially no effect on the plastic
                        .p




butt-fused joint—see joint, butt-fused.                                           surface being cleaned and may be used prior to joining with a solvent
butylene plastics—plastics based on resins made by the                            cement or adhesive.
          w




  polymerization of butene or copolymerization of butene with                   cleaner, mechanical—an abrasive material or device used to
  one or more unsaturated compounds, the butene being in                           remove foreign matter and gloss from the surface of plastic
         w




  greatest amount by weight.                       [D20] D 883                     pipe and ﬁttings.                                    [F17]
cell, n—a small cavity surrounded partially or completely by
  walls.                                           [D20] D 883                       DISCUSSION—Mechanical cleaners may be used prior to joining with
 w




                                                                                  a solvent cement or adhesive.
cell, closed—a cell totally enclosed by its walls and hence not
  interconnecting with other cells. (See also cell and cell,                    closed-cell cellular plastics—cellular plastics in which almost
  open.)                                     ISO/[D20] D 883                      all the cells are noninterconnecting. [D20] D 883 [F17.63]
cell, open—a cell not totally enclosed by its walls and hence                                                                             F 628
  interconnecting with other cells. (See also cell and cell,                    closed-cell foamed plastics—See closed-cell cellular plastics.
  closed.)                                         [D20] D 883                  code—(1) a system of symbols, letters or numbers, used to
cellular plastic—a plastic containing numerous cells, inten-                      convey a message requiring brevity; (2) a set of rules
  tionally introduced, interconnecting or not, distributed                        established by a legal or quasi-legal body.             [F17]
  throughout the mass. [D20] D 883 [17.63] F 628 [17.25]                        code, classiﬁcation—a code that identiﬁes a plastic material
                                                          F 891                   by its properties in accordance with the pertinent ASTM
cellulose acetate butyrate (CAB) plastics—plastic made by                         speciﬁcation.                                           [F17]
  compounding a cellulose acetate butyrate ester with plasti-                   code, manufacturer’s—a code that provides manufacturing
  cizers and other ingredients. Cellulose acetate butyrate ester                  identity for a piping product.                          [F17]

                                                                            4
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                                                                       F 412 – 09
code, thermoplastic pipe materials designation— letters and                      wires, cables, or other conductors.      [F17.10] F 2176
  ciphers for the designation of stress-rated thermoplastic                                                               [F17.26] F 2160
  compound, which consists of two or three letters to indicate                 consolidation—reduction in volume of soil as a result of
  the abbreviation as listed in Terminology D 1600, for the                      gravitational forces.                               [F17]
  type of thermoplastic resin—followed by four Arabic                          contamination—the presence of a substance not intentionally
  numerals—two to describe the short-term properties, in                         incorporated in a product.                          [F17]
  accordance with the ASTM standard being referenced, and                      continuous waste—a drain connecting two or more plumbing
  two to designate the hydrostatic design stress when tested in                  ﬁxtures or components of plumbing ﬁxtures to a common
  water at 73°F (23°C) in units of 100 psi, with any decimal                     trap.                                               [F17]
  ﬁgures dropped.                                        [F17]                 crack—any narrow opening or ﬁssure in the surface that is




                                                                                                     om
                                                                                 visible to the naked eye.                  [F17.65] F 405
     DISCUSSION—In some ASTM standards, the short-term properties
  with more than two numbers have a table provided to convert to two           crater, n—a small, shallow surface imperfection.      [D20]
  numbers to be used in the code.                                                                                                    D 883
     DISCUSSION—When the hydrostatic design stress code is less than two       crazing, n—apparent ﬁne cracks at or under the surface of a




                                                                                                   .c
  numbers, a zero is inserted before the number.                                 plastic.                                     [D20] D 883
     DISCUSSION—For polyethylene compound, the short-term properties
                                                                                    DISCUSSION—The crazed areas are composed of polymeric material




                                                                                                 sh
  are described using two Arabic numerals in accordance with Speciﬁ-
  cation D 3350, speciﬁcally, the cell classiﬁcation number value for            of lower density than the surrounding matrix.
  density followed by the cell classiﬁcation number value for slow crack       creep, n—the time-dependent part of strain resulting from
  growth resistance.
                                                                                 stress, that is dimensional change caused by the application




                                                                                         ki
coextrusion—a process whereby two or more heated or                              of load over and above the elastic deformation and with
  unheated plastic material streams forced through one or                        respect to time.                [D20] D 883, [17.60] F 1025



                                                                                 e-
  more shaping oriﬁce(s) become one continuously formed                        cross laminate—a laminate in which some of the layers of
  piece.      [F17.63] D 2661, F 628 [F17.25] F 891, F 1760                      material are oriented approximately at right angles to the
                                                                                 remaining layers with respect to the grain or strongest
                                                                     en
                                                [F17.11] F 1488
cold ﬂow—See creep.                                                              direction in tension. (See also parallel laminate.) [D20]
cold molding—a special process of compression molding in                                                                                 D 883
  which the molding is formed at room temperature and                          crosslinking, n—the formation of a three dimensional polymer
                                                             yl

  subsequently baked at elevated temperatures. [D20] D 883                       by means of interchain reactions resulting in changes in
collapse, n—(1) inadvertent densiﬁcation of cellular material                    physical properties.                             [D20] D 883
                                                    th


  during manufacture resulting from breakdown of cell struc-                   cure, v—to change the properties of a polymeric system into a
  ture; (2) the buckling of the inner liner of composite piping;                 more stable, usable condition by the use of heat, radiation, or
  (3) the buckling or ﬂattening of a plastic rehabilitation liner;               reaction with chemical additives.          ISO/[D20] D 883
                                         se




  (4) the buckling or crushing of a plastic pipe from external                      DISCUSSION—Cure may be accomplished, for example, by removal of
  forces, such as earth loads or external hydrostatic load.                      solvent or by crosslinking.
                                                           [F17]
                                ar




compaction, soil—act of packing soil with mechanical force to                  deadload—the static load imposed on the top of the pipe.
  increase its density.                                     [F17]                                                                        [F17]
compatible—(1) a condition wherein components of a plastic                     deﬂection temperature—the temperature at which a specimen
                        .p




  piping system or different speciﬁc plastic materials, or both,                 will deﬂect a given distance at a given load under prescribed
  can be joined together for satisfactory joints. (2) in relation                conditions of test. (See Test Method D 648.) Formerly called
          w




  to elastomeric seal joints, a condition wherein the elastomer                  heat distortion.                                        [F17]
  does not adversely affect the pertinent properties of the                    degradation, n—a deleterious change in chemical structure,
                                                                                 physical properties, or appearance of a plastic.       [D20]
         w




  plastic pipe or ﬁttings, or both, when the sealing gasket is in
  intimate contact with the plastic for a prolonged period.                                                                             D 883
                                                           [F17]               denisty, apparent—see apparent density.
 w




composite pipe—pipe consisting of two or more different                        density of plastics—the weight per unit volume of material at
  materials arranged with speciﬁc functional purpose to serve                    23°C expressed as D23c, g/cm3(kg/m3).                   [F17]
  as pipe.                                                 [F17]                   DISCUSSION—Taken from Test Method D 1505.
compound, n—a mixture of a polymer with other ingredients
                                                                               depth, n—in the case of a beam, the dimension parallel to the
  such as ﬁllers, stabilizers, catalysts, processing aids, lubri-
                                                                                 direction in which the load is applied.      [D20] D 883
  cants, modiﬁers, pigments, or curing agents.           [F17.11]
                                                                               diffusion—the movement of a material such as a gas or liquid,
                                                 F 1488, F 1499
                                                                                 in the body of a plastic.                            [F17]
compression ﬁtting joint—see joint, compression ﬁtting.
compression gasket joint—see joint, compression gasket.                             DISCUSSION—If the gas or liquid is absorbed on one side of a piece of
compression molding—the method of molding a material                             plastic and given off on the other side, the phenomenon is called
  already in a conﬁned cavity by applying pressure and usually                   permeability. Diffusion and permeability are not due to holes or pores
                                                                                 in the plastic.
  heat.                                             [D20] D 883
conduit, (duct), n—a tubular raceway for carrying electric                     dimension ratio (DR)—the average speciﬁed diameter of a

                                                                           5
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                                                                         F 412 – 09
  pipe or tubing divided by the minimum speciﬁed wall                              heat sealing, or other means.                     [D20] D 883
  thickness. The DR values shall be rounded to the nearest 0.5                   failure, adhesive—rupture of an adhesive bond, such that the
  unless otherwise speciﬁed.       [F17.10] D 2683, D 3261,                        plane of separation appears to be at the adhesive-adherend
   F 1733 [17.11] D 1488 [F17.26] D 2737, [F17.60] D 2513                          interface.                                                [F17]
                                                                                 failure, brittle—see brittle failure
     DISCUSSION—Each pipe can have two dimension ratios depending on
  whether the outside or inside diameter is used. In practice, the outside       failure, ductile—see ductile failure
  diameter is used if the standards requirement and manufacturing control        failure, slit —see silt failure
  are based on this diameter. The inside diameter is used when this              ﬁller, n—a relatively inert material added to a plastic to modify
  measurement is the controlling one.                                              its strength, permanence, working properties, or other quali-
                                                                                   ties or to lower costs. (See also reinforced plastic.) [D20]




                                                                                                       om
dry-blend, n—dry compound prepared without ﬂuxing or                                                                                         D 883
   addition of solvent (also called powder blend).            [D20]              ﬁsh-eye, n—small globular mass that has not blended com-
                                                             D 883                 pletely into the surrounding material.            [D20] D 883
ductile failure—a pipe failure mode which exhibits material                      ﬁtting, n—a piping component used to join or terminate




                                                                                                     .c
   deformation (stretching, elongation, or necking down) in the                    sections of pipe or to provide changes of direction or
   area of the break.                                         [F17]                branching in a pipe system.                               [F17]
elastomer, n—a macromolecular material that at room tem-




                                                                                                   sh
                                                                                 ﬂanged joint—see joint, ﬂanged.
   perature returns rapidly to approximately its initial dimen-                  ﬂare joint—see joint, ﬂare.
   sions and shape after substantial deformation by a weak                       ﬂow rate—rate of extrusion, weight per unit of time, g/10 min
   stress and release of the stress.                  [D20] D 883




                                                                                           ki
                                                                                   (kg/s), of molten resins through a die of speciﬁed length and
elastomeric seal—a material or device that uses an elastomer                       diameter, under prescribed conditions of temperature, load,
   to effect a seal between separable piping components.                           and piston position in the barrel as the timed measurement is


                                                                                   e-
                                                              [F17]                being made.                                               [F17]
elevated temperature testing—tests on plastic pipe above                         ﬂuorocarbon plastic, n—a plastic based on polymers made
   23°C (73°F).                                               [F17]
                                                                       en
                                                                                   with perﬂuoromonomers.                       ISO/[D20] D 883
embedment—the placement of materials completely around
   the pipe to provide support.                   [F17.62] F 1668                     DISCUSSION—When the monomer is essentially tetraﬂuoroethylene,
encasement, n—see incasement, n.                                                   the preﬁx TFE is sometimes used to designate these materials. It is
                                                               yl

                                                                                   preferable to use the accepted abbreviation, PFTE. TFE should not be
encasement, v—see incasement, v.                                                   used by itself to mean PTFE. When the resins are copolymers of
engineering plastics, n—those plastics and polymeric compo-                        tetraﬂuoroethylene and hexaﬂuoropropylene, the resins may be desig-
                                                     th


   sitions for which well-deﬁned properties are available, such                    nated with the preﬁx FEP. Other preﬁxes may be adopted to designate
   that engineering rather than empirical methods can be used                      other ﬂuorocarbon plastics.
   for design and manufacture of products requiring deﬁnite
                                          se




   and predictable performance in structural applications over a                 ﬂuorohydrocarbon plastics, n—plastics based on polymers
   substantial temperature range.                     [D20] D 883                  made with monomers composed of ﬂuorine, hydrogen, and
                                                                                   carbon only.                             ISO/[D20] D 883
envelope, drainage—the materials completely surrounding a
                                                                                 ﬂuoroplastic, n—a plastic based on polymers made from
                                 ar




   pipe to provide support or protection or act as a ﬁlter.
                                                                                   monomers containing one or more atoms of ﬂuorine, or
                                                              [F17]
                                                                                   copolymers of such monomers with other monomers, the
environmental stress cracking—the development of cracks in
                         .p




                                                                                   ﬂuorine-containing monomer(s) being in the greatest amount
   a material that is subjected to stress or strain in the presence
                                                                                   by mass.                                      [D20] D 883
   of speciﬁc chemicals.                                      [F17]
          w




ethylene plastics, n—plastics based on polymers of ethylene                           DISCUSSION—For speciﬁc examples of ﬂuoroplastic see ﬂuorocarbon
   or copolymers of ethylene with other monomers, the ethyl-                       plastic, chloroﬂuorocarbon plastics, ﬂuorohydrocarbon plastics,
   ene being in greatest amount by mass. ISO/[D20] D 883                           and chloroﬂuorohydrocarbon plastic.
         w




exﬁltration, pipe—the passage of ﬂuid from a pipe section                        foamed plastics, n—See cellular plastics (the preferred termi-
   through small holes or leaks.                              [F17]                nology).
 w




expandable plastic, n—a plastic in a form capable of being                       forming, n—a process in which the shape of plastic pieces
   made cellular by thermal, chemical, or mechanical means.                        such as sheets, rods, or tubes is changed to a desired
                                                      [D20] D 883                  conﬁguration.                                  [D20] D 883
expanded plastics—See cellular plastics.
extrusion, n—a process in which heated or unheated plastic is                        DISCUSSION—The use of the term “forming” in plastics technology
                                                                                   does not include such operations as molding, casting, or extrusion, in
   forced through a shaping oriﬁce (a die) in one continuously                     which shapes or pieces are made from molding materials or liquids.
   formed shape as ﬁlm, sheet, rod, or tubing. [D20] D 883
extrusion, adiabatic—see adiabatic extrusion.                                    frosting, n—a light-scattering surface resembling ﬁne crystals.
fabricating, n—the manufacture of plastic products from                            See also chalking, haze, bloom.                        [F17]
   molded parts, rods, tubes, sheeting, extrusions, or other                     fungi resistance—the ability of plastic pipe to withstand fungi
   forms by appropriate operations such as punching, cutting,                      growth or their metabolic products, or both, under normal
   drilling, and tapping including fastening plastic parts to-                     conditions of service or laboratory tests simulating such
   gether or to other parts by mechanical devices, adhesives,                      conditions.                                            [F17]

                                                                             6
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                                                                          F 412 – 09
fuse, v—(1) to convert plastic powder or pellets into a                             different structure.                            [D20] D 883
  homogeneous mass through heat and pressure; (2) to make a                       gravity ﬂow, n—liqueﬁed medium conveyance that is induced
  plastic piping joint by heat and pressure.                [F17]                   by a positive elevation head such as a downward pipeline
gasket joint—see joint, compression gasket and joint, bell-                         slope or a higher elevation reservoir.                 [F17]
  and-spigot gasket.                                                              gravity ﬂow, non-pressure, n—gravity ﬂow of liqueﬁed
gate, n—in an injection mold, a constriction in the ﬂow                             medium in a piping system that is not pressure-rated and
  channel between the runner and the mold cavity.           [D20]                   where ﬂow is regularly less than full (open channel ﬂow)
                                                            D 883                   except during conditions when the system may become
gel, n—(1) a semisolid system consisting of a network of solid                      temporarily surcharged in which case, the system is subject
  aggregates in which liquid is held; (2) the initial jelly-like                    to temporary internal hydrostatic pressure that is generally




                                                                                                        om
  solid phase that develops during the formation of a resin                         limited to piping system joint capabilities.[F17]
  from a liquid; (3) with respect to vinyl plastisols, gel is a                   gravity ﬂow, pressure, n—gravity ﬂow of liqueﬁed medium in
  state between liquid and solid that occurs in the initial stages                  a pressure-rated piping system where ﬂow regularly ﬁlls the
  of heating, or upon prolonged storage.           [D20] D 883                      piping system (closed channel ﬂow) and subjects the piping




                                                                                                      .c
     DISCUSSION—All three types of gel have very low strengths and do
                                                                                    system to internal hydrostatic pressure that is within the
  not ﬂow like a liquid. They are soft, ﬂexible, and may rupture under              capabilities of pressure-rated piping system components and




                                                                                                    sh
  their own weight unless supported externally.                                     joints.                                                [F17]
                                                                                  gray water—the waste water of a system that may be a
gel point—the stage at which a liquid begins to exhibit                             combination of the liquid and water-carried wastes except
  pseudo-elastic properties.               [D20] D 883




                                                                                            ki
                                                                                    human wastes.                                          [F17]
     DISCUSSION—This stage may be conveniently observed from the                  groove angle—the angle of support for a pipe when a formed
  inﬂection point on a viscosity-time plot. (See gel (2).)                          groove is made in bedding or foundation.               [F17]


                                                                                    e-
                                                                                  gusset, n—(1) a piece used to give additional size or strength
gel time, n—the period of time from the initial mixing of the
                                                                                    in a particular location of an object.
  reactants of a liquid material composition to the time when
                                                                       en
                                                                                       (2) the folded-in portion of ﬂattened tubular ﬁlm. [D20]
  gelation occurs, as deﬁned by a speciﬁc test method.
                                                                                                                                          D 883
                                                  [D20] D 883
                                                                                  haunching—the act of placing bedding material around the
    DISCUSSION—For a material that must be processed by exposure to                 haunch of the pipe.                                    [F17]
                                                               yl

  some form of energy, the zero time is the start of exposure.                    haunch—that portion of the pipe barrel extending from bottom
glass transition—the reversible change in an amorphous                              to springline.                                         [F17]
                                                      th



  polymer or in amorphous regions of a partially crystalline                      haze—the cloudy or turbid aspect or appearance of an other-
  polymer from (or to) a viscous or rubbery condition to (or                        wise transparent specimen caused by light scattered from
                                                                                    within the specimen or from its surfaces.       [D20] D 883
                                           se




  from) a hard and relatively brittle one.     [D20] D 883
                                                                                       DISCUSSION—For the purpose of Test Method D 1003, haze is the
     DISCUSSION—The glass transition generally occurs over a relatively
                                                                                    percentage of transmitted light which, in passing through the specimen,
  narrow temperature region and is similar to the solidiﬁcation of a liquid
                                                                                    deviates from the incident beam through forward scatter more than 2.5°
                                  ar




  to a glassy state; it is not a phase transition. Not only do hardness and
                                                                                    on the average.
  brittleness undergo rapid changes in this temperature region but other
  properties, such as thermal expansibility and speciﬁc heat also change          heat-fused joint—see joint, heat-fused.
                         .p




  rapidly. This phenomenon has been called second order transition,
  rubber transition, and rubbery transition. The word transformation has
                                                                                  heat joining—making a joint by heating the mating surfaces of
  also been used instead of transition. Where more than one amorphous               the pipe components to be joined and pressing them together
          w




  transition occurs in a polymer, the one associated with segmental                 so that they fuse and become essentially one piece. [F17]
  motions of the polymer backbone chain or accompanied by the largest
                                                                                      DISCUSSION—Also known as heat fusion, thermal fusion, and fusion.
  change in properties is usually considered to be the glass transition.
         w




glass transition temperature (Tg)—the approximate mid-                            heat mark—extremely shallow depression or groove in the
  point of the temperature range over which the glass transi-                       surface of a plastic visible because of a sharply deﬁned rim
 w




  tion takes place.                            [D20] D 883                          or a roughened surface. (See also sink-mark.)           [D20]
                                                                                                                                            D 883
     DISCUSSION—The glass transition temperature can be determined                high-density polyethylene plastics (HDPE), n—those linear
  readily only by observing the temperature at which a signiﬁcant change            polyethylene plastics, g.v., having a standard density of
  takes place in a speciﬁc electrical, mechanical, or other physical
  property. Moreover, the observed temperature can vary signiﬁcantly
                                                                                    0.941 g/cm3or greater.                            [D20] D 883
  depending on the speciﬁc property chosen for observation and on                 homopolymer, n—a polymer resulting from polymerization
  details of the experimental technique (for example, rate of heating,              involving a single monomer.                       [D20] D 883
  frequency). Therefore, the observed Tg should be considered only an             hoop stress—the tensile stress in the wall of the piping product
  estimate. The most reliable estimates are normally obtained from the              in the circumferential direction due to internal hydrostatic
  loss peak observed in dynamic mechanical tests or from dialatometric              pressure.                            [F17.48] D 2837, F 948
  data.
                                                                                      DISCUSSION—Hydrostatic means ﬂuid and is not limited to water.
graft copolymer—a copolymer in which polymeric side                                 Units will be reported as pounds per square inch (psi) or mega pascals
  chains have been attached to the main chain of a polymer of                       (Mpa). Hoop stress is calculated by using ISO equation. Hoop stress


                                                                              7
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                                                                    F 412 – 09
  should only be determined on straight hollow cylindrical specimens.        P     = pressure,
  Products of more complex shape may be evaluated by Option 2 of             ID = average inside diameter,
  Appendix X1 of F 948 based on pressure.
                                                                             OD = average outside diameter, and
hydrostatic design basis—one of a series of established stress               t     = minimum wall thickness.
  values speciﬁed in Test Method D 2837 for a plastic com-                  (See ISO R 161.)      [F17.25] D 1785, F 441/F 441M, F 442/
  pound obtained by categorizing the long-term hydrostatic                   F 442M [F17.26] D 2104, D 2239, D 2447, D 2666, D 2737,
  strength determined in accordance with Test Method                              D 3035, F 714, F 876 [F17.61] D 1527, D 2282, D 2846/
  D 2837.                                     [F17.48] D 2837                                      D 2846M, D 3309, F 645, F 771, F 877
hydrostatic design stress (HDS)—the estimated maximum                       isotactic, adj—pertaining to a type of polymeric molecular
                                                                               structure containing a sequence of regularly spaced asym-




                                                                                                  om
  tensile stress the material is capable of withstanding con-
  tinuously with a high degree of certainty that failure of the                metric atoms arranged in like conﬁguration in a polymer
  pipe will not occur. This stress is circumferential when                     chain.                                        [D20] D 883
  internal hydrostatic water pressure is applied.     [D20.23]              joint—the location at which two pieces of pipe or a pipe and
   D 2104 [F17.25] D 1785, D 2241, F 442/F 442M [F17.26]                       a ﬁtting are connected together. [F17.10] F 2145 [F17.60]




                                                                                                .c
   D 2239, D 2447, D 2666, D 2737, D 3035, F 441/F 441M,                                                          F 1924, F 1948, F 1973
     F 876, [F17.40] D 2837 [F17.61] D 2282, F 771, D 1527                       DISCUSSION—The joint may be made by an adhesive, a solvent-




                                                                                              sh
impact, Izod—a speciﬁc type of impact test made with a                        cement, heat joining, or a mechanical device such as threads or a ring
  pendulum-type machine on a cantilever beam specimen and                     seal.
  also the values obtained by this method.               [F17]
                                                                            joint, adhesive-bonded—a joint made using an adhesive to




                                                                                      ki
    DISCUSSION—See Test Methods D 256.                                        bond the piping components.                           [F17]
                                                                            joint, bell and spigot gasket—a connection between piping
impact, tup—a falling weight (tup) impact test developed


                                                                              e-
                                                                              components consisting of a bell end on one component, an
  speciﬁcally for pipe and ﬁttings.                [F17]
                                                                              elastomeric gasket between the components, and a spigot
    DISCUSSION—There are several variables that can be selected. (See         end on the other component. See joint, push on.       [F17]
                                                                  en
  Test Method D 2444.)                                                      joint, butt-fused—a joint in which the prepared ends of the
incasement, n—a rigid structure or pipe surrounding a buried                  joint components are heated and then placed in contact to
  pipe to provide additional support or protection.    [F17]                  form the joint. (See Fig. 1.)                         [F17]
                                                               yl

incasement, v—placement of a rigid structure or pipe sur-                   joint, compression—a mechanical joint made by deforming a
  rounding a buried pipe to provide additional support or                     sealing member to form a pressure seal between the ﬁtting or
                                                   th



  protection.                                          [F17]                  pipe bell and the pipe or tube (See Fig. 2).          [F17]
inﬁltration, pipe—the passage of ﬂuid into a pipe section                        DISCUSSION—Compression joints include, but are not limited to,
  through small holes or leaks.                        [F17]                  insert ﬁtting joints, compression gasket joints and ﬂare joints.
                                         se




inhibitor, n—a substance used in low concentration which
                                                                            joint, compression gasket—a mechanical joint that utilizes a
  suppresses a chemical reaction.                [D20] D 883
                                                                              compression nut or a gland nut against a gasket to develop a
                                ar




     DISCUSSION—Inhibitors, unlike catalysts, are consumed during the
  reaction.

injection molding, n—the process of forming a material by
                       .p




  forcing it, in a ﬂuid state and under pressure, through a
  runner system (sprue, runner, gate(s)) into the cavity of a
         w




  closed mold.                                  [D20] D 883
insert, n—a part consisting of metal or other material which
  may be molded into position or may be pressed into the
        w




  molding after the completion of the molding operation.
                                           ISO [D20] D 883
 w




insert-ﬁtting joint—see joint, clamped insert-ﬁtting.
ISO equation—an equation showing the interrelations be-
  tween stress, pressure and dimensions in pipe, namely:
          S 5 P ~ID 1 t!
                2t       for inside diameter controlled pipe

                                 or
         S 5 P ~OD 2 t!
               2t       for outside diameter controlled pipe


where:
S   = hoop stress,
                                                                                                     FIG. 1 Butt Fusion


                                                                        8
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                                                                           F 412 – 09
                                                                                     limited to threaded joint, compression gasket joint, compression ﬁtting
                                                                                     joint, push-on joint, clamped insert ﬁtting joint, ﬂanged joint, or ﬂare
                                                                                     joint.)
                                                                                   joint, push on—a joint in which a continuous elastomeric ring
                                                                                     gasket is compressed into annular space formed by the pipe
                                                                                     or ﬁtting socket and the spigot end of the pipe, and forms a
                                                                                     positive seal after being assembled. Details of the joint
                                                                                     design and assembly shall be in accordance with the manu-
                                                                                     facturer’s instructions.                    [F17.20] D 3139




                                                                                                         om
                                                                                       DISCUSSION—Sometimes called a bell-and-spigot gasket joint.
                                                                                   joint, saddle-fused—a joint in which the curved base of the
                                                                                     saddle ﬁtting and a corresponding area of the pipe surface
                                                                                     are heated and then placed together to form the joint.




                                                                                                       .c
                                                                                                                                            [F17]
                                                                                   joint, socket-fused or insert-fused—a joint in which the




                                                                                                     sh
                                                                                     joining surfaces of the components are heated, and the joint
                                                                                     is made by inserting one component into the other. (See Fig.
                     FIG. 2 Compression Fitting                                      4 and Fig. 5.)                                         [F17]




                                                                                             ki
                                                                                   joint, solvent cement—see solvent cement joint.
  pressure seal.                                                     [F17]         joint, solvent-cemented—a joint made using a solvent cement
                                                                                     to unite the components.                               [F17]


                                                                                     e-
     DISCUSSION—There are currently available various designs of com-
  pression gasket joints in ﬁttings, transition ﬁttings, and couplings.                DISCUSSION—The solvent cement softens the surfaces of the compo-
                                                                                     nents, which then solidify as the solvent evaporates.
                                                                        en
joint, ﬂanged—a mechanical joint using pipe ﬂanges, a gasket,
  and bolts.                                           [F17]                       joint, solvent—see solvent joint.
                                                                                   joint, threaded—a mechanical joint that utilizes threaded pipe
    DISCUSSION—The ﬂanges are normally fastened to the pipe or ﬁttings               and ﬁttings.                                          [F17]
                                                                yl

  but there are some systems in which the ﬂanges are free to rotate.
                                                                                       DISCUSSION—There are many types of threads, and the same thread
joint, ﬂare—a mechanical compression connection between                              conﬁguration must be used for mating components.
                                                       th



  ﬂared-end plastic pipe and a ﬁtting speciﬁcally designed to
  accept ﬂared-end plastic pipe. (See Fig. 3.)          [F17]                      knit-line—see weld-line (preferred terminology).
                                                                                   laminate, n—a product made by bonding together two or more
                                            se




    DISCUSSION—A special tool is used to ﬂare plastic pipe.

joint, heat-fused—a joint made using heat and pressure only.
                                                      [F17]
                                  ar




     DISCUSSION—The surfaces are heated with special tools until the
  surfaces have softened. When engaged, the softened surfaces ﬂow
                         .p




  together forming a joint as the material cools. There are three basic
  types of heat-fused joints: butt fused, socket or insert fused, and saddle
  fused.
          w




joint, insert-ﬁtting—a mechanical joint using external metal
  clamps, rings, or other devices to form a pressure seal
         w




  between an insert ﬁtting and the pipe or tube.       [F17]
    DISCUSSION—These joints are a type of compression joint.
 w




joint, mechanical—a connection between piping components
  employing physical force to develop a seal or produce
  alignment.                                       [F17]
     DISCUSSION—Mechanical joints may or may not carry thrust forces
  across the joint. (Examples of mechanical joints include, but are not




                           FIG. 3 Flare Joint                                                              FIG. 4 Socket Fusion


                                                                               9
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                                                                         F 412 – 09
                                                                                  melt index—the ﬂow rate of PE material when measured in
                                                                                   accordance with Test Method D 1238.                      [F17]
                                                                                  minimum required pressure—one of a series of established
                                                                                   pressure values for a plastic piping component (multilayer
                                                                                   pipe, ﬁtting, valve, and so forth) obtained by categorizing the
                                                                                   long-term hydrostatic pressure strength in accordance with
                                                                                   ISO 9080.                                                [F17]
                                                                                  minimum required strength—one of a series of established
                                                                                   stress values for a plastic compound obtained by categoriz-




                                                                                                         om
                                                                                   ing the long-term hydrostatic strength determined by hydro-
                                                                                   static testing in accordance with ISO 9080.              [F17]
                                                                                  molding, blow—see blow molding.
                                                                                  molding, cold—see cold molding.




                                                                                                       .c
                                                                                  molding, compression—see compression molding.
                         FIG. 5 Insert Fusion
                                                                                  molding, contact pressure—a method of molding or laminat-
                                                                                   ing in which the pressure is only slightly more than




                                                                                                     sh
  layers of material or materials. (See also cross laminate and                    necessary to hold the materials together during the molding
  parallel laminate.)                               [D20] D 883                    operation. This pressure is usually less than 69 kPa (10 psi).
     DISCUSSION—A single resin-impregnated sheet of paper, fabric, or                                                                [D20] D 883




                                                                                            ki
  glass mat, for example, is not considered a laminate. Such a single-            molding, high-pressure—a method of molding or laminating
  sheet construction may be called a “lamina.” (See also reinforced                in which the pressure used is greater than 1400 kPa (200



                                                                                    e-
  plastic.)
                                                                                   psi).                                             [D20] D 883
laminate, cross—see cross laminate.                                               molding, injection—see injection molding.
                                                                       en
laminate, parallel—see parallel laminate.                                         molding, low-pressure—a method of molding or laminating
laying length—the centerline length of an installed pipeline                       in which the pressure used is 1400 kPa (200 psi) or less.
  system, section, or ﬁtting.                         [F17]                                                                          [D20] D 883
                                                                                  molding pressure, compression—the calculated ﬂuid pres-
                                                               yl

     DISCUSSION—Laying length of pipe or ﬁtting with overlapping
  joining elements, for example, spigot and socket, include the entire             sure applied to the material in the mold.         [D20] D 883
  length reduced by the portion of the spigot that is overlapped. Laying          molding pressure, injection—the pressure applied to the
                                                     th


  length of pipe or ﬁtting with a spigot on each end is the overall length         cross-sectional area of the material cylinder. [D20] D 883
  of the uninstalled section.
                                                                                  molding pressure, transfer—the pressure applied to the
                                          se




live load—portion of load transmitted to the pipe from wheel                       cross-sectional area of the material pot or cylinder. [D20]
   or traveling loads or other surcharged load.         [F17]                                                                               D 883
long-term hydrostatic strength (LTHS)—the hoop stress that                        molding, transfer—see transfer molding.
   when applied continuously will cause failure of the pipe at
                                 ar




                                                                                  monomer, n—low–molecular weight substance consisting of
   100 000 h (11.43 years).                   [F17.40] D 2837                      molecules capable of reacting with like or unlike molecules
     DISCUSSION—These strengths are usually obtained by extrapolation of           to form a polymer. (See also polymer.)            [D20] D 883
                         .p




  log-log regression equations or plots. Typical conditions are water at          multilayer pipe, n—A pipe constructed of multiple layers that
  23°C.                                                                            are bonded to each other and in which at least 60% of the
          w




lot, n—a lot shall consist of all pipe and ﬁttings or appurte-                     wall thickness consists of polymeric material(s).        [F17]
   nances of the same size produced from one extrusion line or                         DISCUSSION—The different layers of polymeric or other kinds of
         w




   molding machine during one designated period. [F17.10]                           material in a multilayer pipe may provide color, barrier, stiffness,
    F 1970 [F17.11] F 1335, F 1488, F 1986, F 1987 [F17.25]                         strength of other properties for an intended application. In the US and
                         F 891 [F17.63] D 2661, F 628, F 1499                       Canada sometimes multilayer is referred to as composite pipe.
 w




low-density polyethylene plastics (LDPE), n—those                                   In the case of multilayer pipes intended for pressure appli-
   branched polyethylene plastics, q.v., having a standard                        cations two types of pipes are recognized as follows:
   density of 0.910 to 0.925 g/cm3.                 [D20] D 883
lubricant, n—(1) a material used to reduce the friction                             Type 1 multilayer pipe—A pressure rated pipe in which at
   between two mating surfaces that are being joined by sliding                     least 60% of its wall thickness is comprised of a polymeric
   contact. (2) an additive that is added to a plastic compound                     material that has an established HDB (Hydrostatic Design
   to lower the viscosity or otherwise improve the processing or                    Basis) or MRS (Minimum Required Strength) from which
   product characteristics.                               [F17]                     the pressure rating of the pipe is determined.
mechanical cleaner—see cleaner, mechanical.
                                                                                       DISCUSSION—An example of this type is co-extruded plastic pipe with
mechanical joint—see joint, mechanical.                                             an outer layer for barrier or color purposes. If this outer layer has the
medium density polyethylene plastics (MDPE) , n—those                               same HDB as the bulk wall, the entire wall thickness is used for
   branched polyethylene plastics, q.v., having a standard                          pressure calculations; if not, only the bulk wall that has an HDB/MRS
   density of 0.926to 0.940 g/cm3.                  [D20] D 883                     rating is used for pressure calculations.


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                                                                       F 412 – 09
  Type 2 multilayer pipe—A pressure rated pipe in which at                      parison, n—the shaped plastic mass, generally in the form of
  least 60% of the wall thickness is comprised of a polymeric                     a tube, used in blow molding.               ISO/ [D20] D 883
  material, and for which the pipe pressure rating has been                     pimple, n—small, sharp, or conical elevation on the surface of
  determined for each pipe size and pipe wall construction                        a plastic.                                               [F17]
  based on the pipe’s experimentally established PDB (Pres-                     pipe, beveled—see beveled pipe.
  sure Design Basis) or MRP (Minimum Required Pressure).                        pipe, composite—see composite pipe.
                                                                                pipe, exﬁltration—see exﬁltration pipe.
    DISCUSSION—An example of this type of pipe is PEX/AL/PEX.
                                                                                pipe, inﬁltration—see inﬁltration pipe.
necking, n—the localized reduction in cross section which                       pipe, multilayer—see multilayer pipe.
                                                                                pipe, non-pressure—see non-presssure pipe.




                                                                                                        om
  may occur in a material under tensile stress. [D20] D 883
non-pressure pipe—pipe designed for gravity-conveyed me-                        pipe, pressure—see pressure-pipe.
  dium which must resist only intermittent static pressures and                 pipe spigot—portion of a pipe or ﬁtting which ﬁts into a bell
  does not have a pressure rating.                        [F17]                   or socket of a preceeding pipe or ﬁtting.                [F17]
                                                                                pipe zone backﬁll—backﬁll in the area of the pipe, may be




                                                                                                      .c
non-standard virgin material—a plastic resin or compound
  in the form of powder or pellets which does not meet the                        speciﬁed for depth and compaction.                       [F17]
  speciﬁcation requirements for which it was manufactured,                      pit, n—an imperfection, a small crater in the surface of the




                                                                                                    sh
  and has not been subjected to use or processing other than                      plastic, with its width approximately the same order of
  that required for its initial manufacture.              [F17]                   magnitude as its depth.                           [D20] D 883
                                                                                plastic(s), n—a material that contains as an essential ingredient




                                                                                           ki
     DISCUSSION—“Wide-spec,” “off-spec,” and “non-uniform virgin ma-              one or more organic polymeric substances of large molecular
  terial” are industry terms synonymous with this deﬁnition.                      weight, is solid in its ﬁnished state, and, at some stage in its
                                                                                  manufacture or processing into ﬁnished articles, can be


                                                                                   e-
nylon plastics—plastics based on resins composed principally
   of a long-chain synthetic polymer amide which has recurring                    shaped by ﬂow.                                    [D20] D 883
   amide groups as an integral part of the main polymer chain.                     NOTE 1—Rubber, textiles, adhesives, and paint, which may in some
                                                                     en
                                                   [D20] D 883                  cases meet this deﬁnition, are not considered plastics. See ASTM
oleﬁn plastics—plastics based on polymers made by the                           deﬁnitions of these terms.
   polymerization of oleﬁns or copolymerization of oleﬁns with                     NOTE 2—The above deﬁnition may be used as a separate meaning to
                                                             yl

   other monomers, the oleﬁns being at least 50 mass %.                         the deﬁnitions contained in the dictionary for the adjective “plastic.”
                                                   [D20] D 883                     NOTE 3—The plural form may be used as an adjective to refer to two or
                                                                                more plastic materials, for example, plastics industry. However, when the
                                                    th


oligomer, n—substance composed of only a few nonomeric                          intent is to distinguish “plastic products” from “wood products” or “glass
   units repetitively linked to each other, such as a dimer,                    products,” the singular form should be used. As a general rule, if the
   trimer, tetramer, etc., or their mixtures.      [D20] D 883                  adjective is to restrict the noun modiﬁed with respect to the type of
                                         se




open-cell cellular plastic, n—a cellular plastic in which there                 material, “plastic” should be used; if the adjective is to indicate that more
   is a predominance of interconnected cells.      [D20] D 883                  than one type of plastic material is or may be involved,“ plastics” is
                                                                                permissible.
orange-peel—uneven surface somewhat resembling an orange
                                ar




   peel.                                                 [F17]                  plastic conduit—plastic pipe or tubing used as an enclosure
outdoor exposure—normal weather conditions, that is, the                          for electrical wiring.                                   [F17]
   sun’s rays, rain, air, temperature changes, and wind. [F17]                  plasticizer, n—a substance incorporated in a material to
                        .p




     DISCUSSION—Exposure to atmospheres containing pollutants in ex-
                                                                                  increase its workability, ﬂexibility, or distensibility. [D20]
  cess of imposed federal, state, and local air quality standards is not                                                                   D 883
          w




  considered normal “outdoor exposure.”                                         plastic, cellular—see cellular plastic.
                                                                                plastic, expandable—see expandable plastic.
out-of-roundness—the allowed difference between the maxi-
         w




                                                                                plastic, ﬂuorocarbon—see ﬂuorocarbon plastic.
  mum measured diameter and the minimum measured diam-                          plastic, open-cell cellular—see open-cell cellular plastic.
  eter (stated as an absolute deviation). [F17.11] F 1488                       pipe, beveled—see beveled pipe.
 w




                                          [F17.63] F 1499                       plastic pipe—a hollow cylinder of a plastic material in which
ovality—(%),                                                                      the wall thicknesses are usually small when compared to the
   ~maximum measured diameter 2 minimum measured diameter!                        diameter and in which the inside and outside walls are
                 average measured diameter                                        essentially concentric.                           [D20] D 883
   3 100                                                                        plastic, reinforced—see reinforced plastic.
                                                                                plastic, reprocessed—see reprocessed plastic.
                                                          [F17]                 plastic, rework (thermoplastic)—see rework plastic (ther-
overall length—the total length of the individual pipeline                        moplastic) .
  system, section, or ﬁtting prior to installation.       [F17]                 plastic, semirigid—see semirigid plastic.
parallel laminate—a laminate in which all the layers of                         plastic, thermally foamed—see thermally foamed plastic.
  material are oriented approximately parallel with respect to                  plastic tubing, n—a particular size of smooth wall plastic pipe
  the grain or strongest direction in tension. (See also cross                    in which the outside diameter is essentially the same as the
  laminate.)                                        [D20] D 883                   corresponding size of copper tubing.                     [F17]

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                                                                     F 412 – 09
plastic, virgin—see virgin plastic.                                           polyoleﬁn plastics, n—plastics based on polymers made with
plastics, acetal—see acetal plastics.                                           an oleﬁn(s) as essentially the sole monomer(s).         [D20]
plastics, acrylonitrile-butadiene-styrene (ABS) pipe and                                                                                D 883
  ﬁtting plastics—see acrylonitrile-butadiene-styrene                         polypropylene, n—a polymer prepared by the polymerization
  (ABS) pipe and ﬁtting plastics.                                               of propylene as the sole monomer.                [D20] D 883
plastics, butylenes—see butylenes plastics.                                   polypropylene plastics—plastics based on polymers made
plastics, cellulose acetate butyrate (CAB)—see cellulose                        with propylene as essentially the sole monomer.         [D20]
  acetate butyrate(CAB) plastics.                                                                                                       D 883
plastics, chlorinated poly (vinyl chloride)—see chlorinated                   polystyrene, n—a polymer prepared by the polymerization of
                                                                                styrene as the sole monomer.                     [D20] D 883




                                                                                                    om
  poly(vinyl chloride) plastics.
plastics, chloroﬂuorocarbon—see chloroﬂuorocarbon plas-                       poly(vinyl acetate), n—a polymer prepared by the polymer-
  tics.                                                                         ization of vinyl acetate as the sole monomer.           [D20]
plastics, chloroﬂuorohydrocarbon—see chloroﬂuorohydro-                                                                                  D 883
                                                                              poly(vinyl chloride)—a polymer prepared by the polymeriza-




                                                                                                  .c
  carbon plastics.
plastics, closed-cell cellular—see closed-cell cellular plas-                   tion of vinyl chloride as the sole monomer. (vinyl chloride
  tics.                                                                         content in monomer not less than 99%.            [D20] D 883




                                                                                                sh
plastics, engineering —see engineering plastics.                              pot life—the period of time during which a reacting thermo-
plastics, ethylene—see ethylene plastics.                                       setting composition remains suitable for its intended pro-
                                                                                cessing after mixing with reaction-initiating agents. [D20]
plastics, ﬂuorohydrocarbon—see ﬂuorohydrocarbon plas-




                                                                                        ki
                                                                                                                                        D 883
  tics.
                                                                              pressure—when expressed with reference to pipe, the force
plastics, high-density polyethylene (HDPE)—see high-
                                                                                per unit area exerted by the test ﬂuid in the piping product .


                                                                                e-
  density polyethylene plastics (HDPE).
                                                                                Units will be reported as pounds per square inch gage (psig)
plastics, low-density polyethylene (LDPE)—see low-density
                                                                                or mega pascals gage (MPag).         [D17.40] D 2837, F 948
  polyethylene plastics (LDPE).
                                                                   en
                                                                              pressure design basis (PDB)—one of a series of established
plastics, medium-density polyethylene (MDPE)—see                                pressure values for a plastic piping component (multilayer
  medium-density polyethylene plastics (MDPE).                                  pipe, ﬁtting, valve) obtained by categorizing the long-term
plastics, nylon—see nylon plastics.
                                                           yl

                                                                                hydrostatic pressure strength (LTHPS) determined in accor-
plastics, oleﬁn—see oleﬁn plastics.                                             dance with an industry test method that uses linear regres-
plastics, polybutylene—see polybutylene plastics.                               sion analysis.                               [F17.40] D 2837
                                                  th



plastics, polyethylene—see polyethylene plastics.
                                                                                   DISCUSSION—Although Test Method D 2837 does not use “pressure
plastics, polyoleﬁn—see polyoleﬁn plastics.
                                                                                values,” the PPI Hydrostatic Stress Board uses the principles of Test
                                        se




plastics, polypropylene—see polypropylene plastics.                             Method D 2837 in plotting log pressure versus log time to determine a
plastics, propylene—see propylene plastics.                                     “long-term hydrostatic pressure strength” and the resulting “Pressure
plastics, styrene—see styrene plastics.                                         Design Basis” for multilayer pipe that is listed in PPI TR-4.
                               ar




plastics, styrene-rubber (SR) pipe and ﬁtting—see styrene-
                                                                              pressure pipe—pipe designed to resist continuous pressure
  rubber (SR) pipe and ﬁtting plastics.
                                                                                exerted by the conveyed medium.                       [F17]
plastics, styrene-rubber —see styrene-rubber plastics.
                                                                              pressure rating (PR)—the estimated maximum water pres-
                       .p




plastics, vinyl chloride—see vinyl chloride plastics.                           sure the pipe is capable of withstanding continuously with a
vinylidene chloride—see vinylidene chloride plastics.                           high degree of certainty that failure of the pipe will not
         w




polybutylene, n—a polymer prepared by the polymerization of                     occur. The PR and HDS/HDB are related by the following
  butene as the sole monomer. (See polybutylene plastics and                    equation.
  butlenes plastics.)                           [D20] D 883
        w




                                                                                        PR 5 2 ~HDB! ~DF!/~SDR–1!5 2 ~HDS!/~SDR–1!                (1)
polybutylene plastics, n—plastics based on polymers with
  butene as essentially the sole monomer.       [D20] D 883                   The PR and PDB are related by the following equation:
 w




polyethylene, n—a polymer prepared by the polymerization of                                             PR 5 ~PDB! ~DF!                           (2)
  ethylene as the sole monomer.                 [D20] D 883                     [F17.11] F 1335, F 1986, F 1987[F17.25] D 1785, D 2241,
polyethylene plastics—plastics based on polymers made with                        F 441/F 441M, F 442/F 442M [F17.26] D 2104, D 2239,
  ethylene as essentially the sole monomer.     [D20] D 883                      D 2447, D 2737, D 3035, F 876 [F17.40] D 2837 [F17.61]
                                                                                                                    D 1527, D 2282, F 771
     DISCUSSION—In common usage for this plastic, essentially means no
  less than 85 % ethylene and no less than 95 % total oleﬁns.                 primer—an organic solvent or a blend of solvents, which
                                                                                enhances adhesion, applied to plastic pipe and ﬁttings prior
polymer, n—a substance consisting of molecules characterized                    to application of a solvent cement.           [17.20] F 402
  by the repetition (neglecting ends, branch junctions, and                   propylene plastics, n—plastics based on polymers of propy-
  other minor irregularities) of one or more types of mono-                     lene or copolymers of propylene with other monomers, the
  meric units.,                         IUPAC [D20] D 883                       propylene being in the greatest amount by mass.        ISO
polyoleﬁn, n—a polymer prepared by the polymerization of an                                                                    [D20] D 883
  oleﬁn(s) as the sole monomer(s).              [D20] D 883                   push-on joint—see joint, push-on.

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                                                                         F 412 – 09
qualiﬁcation test—an evaluation, generally nonrepetitive,                           limited to clean plastic that meets the requirements speciﬁed for virgin
  conducted on an existing, altered, or new product to deter-                       material, and yields a product equal in quality to one made from only
  mine acceptability.                                  [F17]                        virgin material. See recycled plastic and reprocessed plastic.
qualiﬁcation testing—testing performed on a product to                            rubber—a material that is capable of recovering from large
  determine whether or not the product conforms to require-                         deformations quickly and forcibly, and can be, or already is,
  ments of an applicable speciﬁcation.                 [F17]                        modiﬁed to a state in which it is essentially insoluble (but
quality assurance test—a test in a program which is con-                            can swell) in boiling solvent, such as benzene, methyleth-
  ducted to determine the quality level.               [F17]                        ylketone, and ethanoltoluene azeotrope.
     DISCUSSION—Quality assurance includes quality control, quality                    A rubber in its modiﬁed state, free of diluents, retracts




                                                                                                        om
  evaluation, and design assurance. A good quality assurance program is             within 1min to less than 1.5 times its original length after
  a coordinated system, not a sequence of separate and distinct steps.              being stretched at room temperature (18 to 29°C) to twice its
quality control test—an in-plant test that is conducted on a                        length and held for 1 min before release. (D-11)        [D11]
  given test frequency to determine whether product is in                                                                                 D 1079




                                                                                                      .c
  accordance with the appropriate speciﬁcation(s).       [F17]                    runner, n—(1) the secondary feed channel in an injection or
quick burst—Not a preferred term (see quick burst test, quick                       transfer mold that runs from the inner end of the sprue to the
  burst pressure, and quick burst strength).                                        cavity gate.




                                                                                                    sh
quick burst pressure—the internal pressure required to bring
  a piping component to failure when subjected to a quick                               (2) the piece formed in a secondary feed channel or
  burst test.                                            [F17]                      runner.                                         [D20] D 883




                                                                                            ki
quick burst strength—the hoop stress resulting from the                           saddle-fused joint—see joint, saddle-fused.
  quick burst pressure.                                  [F17]                    sample—one or more units of product randomly selected from
                                                                                    a lot to represent that lot.                           [F17]


                                                                                    e-
quick burst test—an internal pressure test designed to produce
  failure of a piping component over a relatively short period                    schedule—a pipe size system (outside diameters and wall
  of time, usually measured in seconds.                                             thicknesses) originated by the iron pipe industry.     [F17]
                                                                       en
referee test—a test made to settle a disagreement as to                           semirigid plastic, n—for the purposes of general classiﬁca-
  conformance to speciﬁed requirements.                  [F17]                      tion, a plastic that has a modulus of elasticity either in
                                                                                    ﬂexure or in tension of between 70 and 700 MPa (10 000 and
                                                               yl

    DISCUSSION—Modiﬁed from a deﬁnition in Test Methods C 114.                      100 000 psi) at 23°C and 50% relative humidity when tested
reinforced plastic—a plastic with high strength ﬁllers imbed-                       in accordance with Test Method D 638, Test Method D 747,
                                                                                    Test Method D 790, or Test Method D 882. [D20] D 883
                                                     th


  ded in the composition, resulting in some mechanical prop-
  erties superior to those of the base resin. (See also ﬁller.)                   service factor—a factor which is used to reduce a strength
                                                   [D20] D 883                      value to obtain an engineering design stress. The factor may
                                          se




                                                                                    vary depending on the service conditions, the hazard, the
    DISCUSSION—The reinforcing ﬁllers are usually ﬁbers, fabrics, or                length of service desired, and the properties of the pipe.
  mats made of biers.
                                                                                                                                           [F17]
                                                                                  set, n—strain remaining after complete release of the force
                                 ar




release agent, n—a material added to a compound or applied
  to the mold cavity, or both, to reduce parts sticking to the                      producing the deformation.                      [D20] D 883
  mold.                                           [D20] D 883                     set, v—to convert an adhesive into a ﬁxed or hardened state by
                         .p




reprocessed plastic—a thermoplastic prepared from usually                           physical or chemical action, such as condensation, polymer-
  melt processed scrap or reject parts by a plastics processor,                     ization, oxidation, vulcanization, gelation, hydration, or
  or from non-standard or non-uniform virgin material.                              evaporation of volatile constituents.           [D14] D 907
          w




                                                  [D20] D 883                     short, n—an imperfection in molded plastic part due to, an
                                                                                    incompletely ﬁlled out condition.               [D20] D 883
     DISCUSSION—Use of the term “scrap” in this deﬁnition does not
         w




  connote that the feed stock is necessarily less desirable or usable than             DISCUSSION—This may be evident either through an absence of
  the virgin material from which it may have been generated. Repro-                 surface ﬁlm in some areas, or as lighter unfused particles of material
 w




  cessed plastic may or may not be reformulated by the addition of ﬁllers,          showing through a covering surface ﬁlm, accompanied possibly by
  plasticizers, stabilizers, pigments, etc.                                         thin-skinned blisters.
resin, n—a solid or pseudosolid organic material, often of high                   shrink mark—an imperfection, a depression in the surface of
  molecular weight, which exhibits a tendency to ﬂow when                            a molded material where it has retracted from the mold.
  subjected to stress, usually has a softening or melting range,                                                                      [D20] D 883
  and usually fractures conchoidally.              [D20] D 883                    skin, n—a relatively dense layer at the surface of a cellular
    DISCUSSION—In a broad sense, the term is used to designate any                   polymeric material.                              [D20] D 883
  polymer that is a basic material for plastics.                                  slit failure—a form of brittle failure which exhibits only a very
                                                                                     small crack through the wall of the pipe with no visible (to
rework plastic (thermoplastic)—a plastic from a manufactur-                          the naked eye) material deformation in the area of the break.
  er’s own production that has been reground or pelletized for                                                                               [F17]
  reuse by that same manufacturer.                      [F17]                     socket—the portion of a jointing system that is designed to
    DISCUSSION—In many speciﬁcations the use of reworked material is                 accept a plain-end pipe or spigot-end pipe.             [F17]

                                                                             13
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                                                                      F 412 – 09
socket end—the end portion of a piping component which is                        (See reference: ANSI Preferred Numbers, Z17.1 (Designated
  designed to accept a plain-end piping component or spigot-                   as R 10 in ISO 3 and ISO 497).)                         [F17]
  end piping component.                                [F17]                   standard inside diameter dimension ratio (SIDR)—a spe-
socket-fused joint—see joint, socket-fused.                                      ciﬁc ratio of the average speciﬁed inside diameter to the
soil compaction—see compaction, soil.                                            minimum speciﬁed wall thickness (Di/t) for inside diameter-
solvent cement—an adhesive made by dissolving a plastic                          controlled plastic pipe, the value of which is derived by
  resin or compound in a suitable solvent or mixture of                          subtracting one from the pertinent number selected from the
  solvents. The solvent cement dissolves the surfaces of the                     ANSI Preferred Number Series 10. Some of the values are as
  pipe and ﬁttings to form a bond between the mating surfaces                    follows:
  provided the proper cement is used for the particular




                                                                                                     om
                                                                                   ANSI Preferred Number
  materials and proper techniques are followed.        [F17]                             Series 10                               SIDR
                                                                                             5.0                                  4.0
solvent-cemented joint—see joint, solvent-cemented.                                          6.3                                  5.3
solvent cementing—making a pipe joint with a solvent ce-                                     8.0                                  7.0
  ment. (See solvent cement.)                          [F17]                                10.0                                  9.0




                                                                                                   .c
                                                                                            12.5                                 11.5
solvent cement joint—a joint made by using a solvent cement                                 16.0                                 15.0
  to unite the components.                             [F17]                                20.0                                 19.0




                                                                                                 sh
                                                                                            25.0                                 24.0
     DISCUSSION—The solvent cement softens or dissolves the surfaces of                     31.5                                 30.5
  the components, which then solidify as the solvent evaporates.                            40.0                                 39.0
                                                                                            50.0                                 49.0




                                                                                         ki
solvent joint—a joint made by using a solvent to unite the                                  63.0                                 62.0
  components.                                       [F17]                         (See reference: ANSI Preferred Numbers, Z17.1 (Designated
                                                                               as R 10 in ISO 3 and ISO 497).)                        [F17]


                                                                                 e-
    DISCUSSION—The solvent softens or dissolves the surfaces of the
  components which then solidify as the solvent evaporates.                    strain—the change per unit of length in a linear dimension of
                                                                                  a body, that accompanies a stress.                  [F17]
                                                                    en
specifying agency—the individual engineer, ﬁrm, or political
  subdivision charged with and having responsibility for the                       DISCUSSION—Strain is a dimensionless quantity which may be
                                                                                 measured conveniently in percent, in inches per inch, in millimetres per
  design of a facility, product, equipment, or material require-
                                                                                 millimetre, etc.
  ments.                                                  [F17]
                                                            yl

specimen, n—a piece or portion of a sample used to make a                      strength—the stress required to break, rupture, or cause a
  test.                                      ISO/ [D20] D 883                     failure.                                             [F17]
                                                   th


spring line—a line along the length of the pipe at its maximum                 strength design basis—one of a series of established stress
  width along a horizontal plane.                         [F17]                   values (speciﬁed in Test Method D 2837) for a plastic
sprue, n—(1) the primary feed channel that runs from the outer                    molding compound obtained by categorizing the long-term
                                         se




  face of an injection or transfer mold, to the mold gate in a                    strength determined in accordance with Test Method F 2018.
  single cavity mold or a runner in multiple-cavity mold; (2)                                                                          [F17]
  the piece of material formed in the primary feed channel
                                ar




                                                                                   DISCUSSION—The SDB is used only for a material intended for
  opening.                                                [F17]                  molding applications. The SDB shall not be used for pipe applications.
stabilizer—an ingredient added to a plastic to retard possible
  degradation.                                            [F17]                stress crack, environmental, n—a stress crack, the develop-
                        .p




                                                                                  ment of which has been accelereated by the environment to
    DISCUSSION—Generally added for processing heat protection or for
  environmental protection, or both.                                              which the plastic is exposed. (See stress-crack.)     [F17]
         w




                                                                               stress, hoop—see hoop stress.
standard dimension ratios (SDR)—a speciﬁc ratio of the                         stress relaxation—the decrease in stress, at constant strain,
  average speciﬁed outside diameter to the minimum speciﬁed                       with time.                                            [F17]
        w




  wall thickness (D0/t) for outside diameter-controlled plastic                styrene plastics, n—plastics based on polymers of styrene or
  pipe, the value of which is derived by adding one to the                        copolymers of styrene with other monomers, the styrene
 w




  pertinent number selected from the ANSI Preferred Number                        being the greatest amount by mass.        ISO [D20] D 883
  Series 10. Some of the values are as follows:                                styrene-rubber (SR) pipe and ﬁtting plastics—plastics con-
    ANSI Preferred Number                                                         taining at least 50% styrene plastics combined with rubbers
          Series 10                             SDR                               and other compounding materials, but not more than 15 %
              5.0                                6.0
              6.3                                7.3
                                                                                  acrylonitrile.                                        [F17]
              8.0                                9.0                           styrene-rubber plastics, n—plastics based on styrene poly-
             10.0                               11.0                              mers and rubbers, the styrene polymers being in the greatest
             12.5                               13.5
             16.0                               17.0                              amount by mass.                           ISO [D20] D 883
             20.0                               21.0                           sustained pressure test—a constant internal pressure test for
             25.0                               26.0                              an extended period of time.                           [F17]
             31.5                               32.5
             40.0                               41.0                               DISCUSSION—One thousand hours is a commonly used period of time.
             50.0                               51.0
             63.0                               64.0                           sweep—see bend.

                                                                          14
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                                                                   F 412 – 09
syneresis, n—the contraction of a gel accompanied by the                    transition, ﬁrst order—a change of state, associated with
   separation of a liquid.                     ISO [D20] D 883                crystallization or melting in a polymer.        [D20] D 883
telomer, n—a polymer composed of molecules having termi-                    vinyl chloride plastics—plastics based on polymers of vinyl
   nal groups incapable of reacting with additional monomers,                 chloride or copolymers of vinyl chloride with other mono-
   under the conditions of the synthesis, to form larger polymer              mers, the vinyl chloride being in the greatest amount by
   molecules of the same chemical type. ISO, IUPAC, [D20]                     mass.                                      ISO/[D20] D 883
                                                           D 883            vinylidene chloride plastics—plastics based on polymer res-
test section—portion(s) of a pipe, ﬁtting, or pipeline under                  ins made by the polymerization of vinylidene chloride or
   test.                                                   [F17]              copolymerization of vinylidine chloride with other unsatur-
test, qualiﬁcation—see qualiﬁcation test.                                     ated compounds, the vinylidene chloride being in the great-




                                                                                                   om
test, quality assurance—see quality assurance test.                           est amount by weight.                           [D20] D 883
test, quality control—see quality control test.                             virgin plastic—a plastic material in the form of pellets,
test, quick burst—see quick burst test.                                       granules, powder, ﬂoc, or liquid that has not been subjected
test, referee—see referee test.                                               to use or processing other than that required for its initial




                                                                                                 .c
test, sustained pressure—see sustained pressure test.                         manufacture.                                    [D20] D 883
testing, acceptance—see acceptance testing.                                 viscosity—the property of resistance to ﬂow exhibited within




                                                                                               sh
testing, elevated temperature—see elevated temperature                        the body of a material.                         [D20] D 883
   testing.                                                                      DISCUSSION—This property can be expressed in terms of the relation-
testing, qualiﬁcation—see qualiﬁcation testing.                               ship between shear stress and corresponding rate of strain in shear.




                                                                                      ki
thermally foamed plastic—a cellular plastic produced by                       Viscosity is usually taken to mean “Newtonian Viscosity,” in which
   applying heat to effect gaseous decomposition or volatiliza-               case the ratio of shearing strain is constant. In non-Newtonian behavior,
   tion of a constituent.                           [D20] D 883               which is usual with plastic materials, the ratio varies with the



                                                                              e-
thermoplastic, n—a plastic that repeatedly can be softened by                 parameters of the experiment. Such ratios are often called “apparent
   heating and hardened by cooling through a temperature                      viscosities.” (See viscosity coefficient.).
                                                                 en
   range characteristic of the plastic, and that in the softened            viscosity coefficient—the shearing stress necessary to induce a
   state can be shaped by ﬂow into articles by molding or                     unit velocity ﬂow gradient in a material.       [D20] D 883
   extrusion.                                       [D20] D 883
                                                                                 DISCUSSION—In actual measurement, the viscosity coefficient of a
thermoplastic, adj—capable of being repeatedly softened by
                                                         yl

                                                                              material is obtained from the ratio of shearing stress to shearing rate.
   heating and hardened by cooling through a temperature                      This assumes the ratio to be constant and independent of the shearing
   range characteristic of the plastic, and that in the softened              stress, a condition which is satisﬁed only by Newtonian ﬂuids.
                                                 th



   state can be shaped by ﬂow into articles by molding or                     Consequently, in all other cases, values obtained are apparent and
   extrusion for example.                           [D20] D 883               represent one point on the ﬂow curve. The viscosity coefficient is
                                                                              expressed in pascal-seconds (or poises). (See viscosity.)
                                       se




    DISCUSSION—Thermoplastic applies to those materials whose change
  upon heating is substantially physical.                                   void, n—(1) in a solid plastic, an unﬁlled space of such size
                                                                              that it scatters radiant energy such as light.
thermoplastic piping compound—a mixture of a thermoplas-
                              ar




  tic polymer with other ingredients such as ﬁllers, stabilizers,                (2) a cavity unintentionally formed in a cellular material
  catalysts, processing aids, lubricants, modiﬁers, pigments, or              and substantially larger than the characteristic individual
  curing agents, but not plasticizers except in the case of CAB
                       .p




                                                                              cells.                                      ISO [D20] D 883
  piping compound.                                         [F17]            vulcanization, n—an irreversible process during which a
thermoset, n—a plastic that, after having been cured by heat or               rubber compound, through a change in its chemical structure
         w




  other means, is substantially infusible and insoluble. [D20]                (for example, cross-linking), becomes less plastic and more
                                                           D 883              resistant to swelling by organic liquids and elastic properties
        w




thermosetting, adj—capable of being changed into a substan-                   are conferred, improved, or extended over a greater range of
  tially infusible or insoluble product when cured by heat or                 temperature.                                     [D20] D 883
  other means.                                      [D20] D 883             water service—the pipe from the water main or other source
 w




toe-in—a small reduction of the outside diameter at the cut end               of water supply to the building or other point of use or
  of a length of thermoplastic pipe.                       [F17]              distribution.                                            [F17]
transfer molding—a method of forming articles by fusing a                   weld-mark, n—a visible weld line.                  [D20] D 883
  plastic material in a chamber and then forcing essentially the            width—in the case of a beam, the cross—sectional dimension
  whole mass into a hot mold where it solidiﬁes.           [D20]              perpendicular to the direction in which the load is applied.
                                                           D 883                                                               [D20] D 883




                                                                       15
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                                                                             F 412 – 09




                                                                          ANNEX

                                                                (Mandatory Information)

                                                        A1. GLOSSARY – HYPHENATION




                                                                                                              om
  A1.1 In F17 standards the following word combinations                                • long term data
should be hyphenated:                                                                  • ﬁtting failure data
  • intercept-values category                                                          • long term hydrostatic pressure rating
  • pressure-intercept value                                                           • long term pressure rating




                                                                                                            .c
  • pressure-regression line                                                           • ﬁtting pressure rating
  • pressure-rating categories                                                         • socket type ﬁtting
                                                                                       • mechanical end closure




                                                                                                          sh
  A1.2 In F17 standards the following word combinations                                • solvent cemented cap
need not be hyphenated:                                                                • solvent cement joint
  • external pressure test                                                             • primary ﬁtting pattern




                                                                                                ki
  • internal pressure test                                                             • short term data
  • tensile strength requirements                                                      • Lower Conﬁdence Line (LCL)



                                                                                       e-
  • tensile strength test                                                              • water ﬁlled pipe
  • mechanical joint qualiﬁcation test                                                 • ﬁtting material type and grade
  • constant load test                                                                 • socket wall thickness
                                                                          en
  • long term creep                                                                    • minimum wall thickness
  • assembled test specimen                                                            • cell class
  • mechanical joint performance test                                                  • data point requirements
                                                                 yl

  • medium tensile load                                                                • long term testing
  • cross sectional area                                                               • system pressure needs
                                                      th



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                                          se




            if not revised, either reapproved or withdrawn. Your comments are invited either for revision of this standard or for additional standards
            and should be addressed to ASTM International Headquarters. Your comments will receive careful consideration at a meeting of the
            responsible technical committee, which you may attend. If you feel that your comments have not received a fair hearing you should
            make your views known to the ASTM Committee on Standards, at the address shown below.
                               ar




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                          Exhibit E
          Case: 1:23-cv-00631-BMB
             NOTICE:                     Docbeen
                     This standard has either #: 40-12  Filed:
                                                  superseded and04/23/24
                                                                 replaced by158  of version
                                                                             a new  163. PageID      #: 1533
                                                                                            or withdrawn.
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                                                                                                                                                 An American National Standard
                    Designation: F2159 – 10



                   Standard Specification for
                   Plastic Insert Fittings Utilizing a Copper Crimp Ring for
                   SDR9 Cross-linked Polyethylene (PEX) Tubing and SDR9
                   Polyethylene of Raised Temperature (PE-RT) Tubing1
                   This standard is issued under the fixed designation F2159; the number immediately following the designation indicates the year of
                   original adoption or, in the case of revision, the year of last revision. A number in parentheses indicates the year of last reapproval. A
                   superscript epsilon (´) indicates an editorial change since the last revision or reapproval.


1. Scope*                                                                                         Pressure of Plastic Pipe, Tubing, and Fittings
   1.1 This specification establishes requirements for sulfone                                  D1600 Terminology for Abbreviated Terms Relating to
plastic insert fittings and copper crimp rings for four sizes                                     Plastics
(3⁄8 , 1⁄2 , and 3⁄4 and 1) of cross-linked polyethylene (PEX)                                  D2122 Test Method for Determining Dimensions of Ther-
plastic tubing an polyethylene of raised temperature (PE-RT)                                      moplastic Pipe and Fittings
tubing. These fittings are intended for use in 100 psi (690 kPa)                                D6394 Specification for Sulfone Plastics (SP)
cold- and hot-water distribution systems operating at tempera-                                  F412 Terminology Relating to Plastic Piping Systems
tures up to and including 180°F (82°C). Included are the                                        F876 Specification for Crosslinked Polyethylene (PEX)
requirements for material, molded part properties, perfor-                                       Tubing
mance, workmanship, dimensions, and markings to be used on                                      F877 Specification for Crosslinked Polyethylene (PEX)
the fittings and rings.                                                                          Plastic Hot- and Cold-Water Distribution Systems
   1.2 Units—The values stated in inch-pound units are to be                                    F1498 Specification for Taper Pipe Threads 60° for Ther-
regarded as standard. The values given in parentheses are                                        moplastic Pipe and Fittings
mathematical conversions to SI units that are provided for                                      F1807 Specification for Metal Insert Fittings Utilizing a
information only and are not considered standard.                                                Copper Crimp Ring for SDR9 Cross-linked Polyethylene
   1.3 The following is an index of the appendix in this                                         (PEX) Tubing
specification:                                                                                  F2623 Specification for Polyethylene of Raised Tempera-
           GO/NO-GO Crimp Gauges                              Appendix X1
                                                                                                 ture (PE-RT) SDR 9 Tubing
                                                                                                F2769 Specification for Polyethylene of Raised Tempera-
   1.4 The following precautionary caveat pertains only to the                                   ture (PE-RT) Plastic Hot and Cold-Water Tubing and
test method portions, Sections 11 and 12, of this specification.                                 Distribution Systems
This standard does not purport to address all of the safety                                     2.2 ASME Standard:
concerns, if any, associated with its use. It is the responsibility                             B 1.20.1 Pipe Threads General Purpose Inch3
of the user of this standard to establish appropriate safety and                                2.3 NSF International Standard:
health practices and determine the applicability of regulatory                                  ANSI/NSF Standard No. 14 for Plastic Piping Components
requirements prior to use.                                                                        and Related Materials 4
2. Referenced Documents                                                                         ANSI/NSF Standard No. 61 for Drinking Water System
                                                                                                  Components-Health Effects 4
  2.1 ASTM Standards:2
   D618 Practice for Conditioning Plastics for Testing                                       3. Terminology
   D1598 Test Method for Time-to-Failure of Plastic Pipe                                       3.1 Definitions—Definitions are in accordance with Termi-
    Under Constant Internal Pressure                                                         nology F412 and abbreviations are in accordance with Termi-
   D1599 Test Method for Resistance to Short-Time Hydraulic                                  nology D1600, unless otherwise indicated.
                                                                                             4. Classification
   1
     This specification is under the jurisdiction of ASTM Committee F17 on Plastic             4.1 This specification governs one class of fittings and
Piping Systems and is the direct responsibility of Subcommittee F17.10 on Fittings.          copper crimp rings suitable for use with nominal size 3⁄8 , 1⁄2 ,3⁄4
   Current edition approved Feb. 1, 2010. Published March 2010. Originally
approved 2001. Last previous edition approved in 2009 as F2159-09. DOI:
10.1520/F2159-10.
   2                                                                                            3
     For referenced ASTM standards, visit the ASTM website, www.astm.org, or                      Available from American National Standards Institute (ANSI), 25 W. 43rd St.,
contact ASTM Customer Service at service@astm.org. For Annual Book of ASTM                   4th Floor, New York, NY 10036, http://www.ansi.org.
                                                                                                4
Standards volume information, refer to the standard’s Document Summary page on                    Available from NSF International, P.O. Box 130140, 789 N. Dixboro Rd., Ann
the ASTM website.                                                                            Arbor, MI 48113-0140, http://www.nsf.org.



                                                *A Summary of Changes section appears at the end of this standard.
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                                                                           F2159 – 10
and 1 size PEX tubing that meets the requirements of ASTM                         TABLE 1 Minimum Hydrostatic Burst Strength Requirements for
Specifications F876 or F877 and PE-RT tubing that meets the                           Fitting, Crimp Ring, and PEX Tubing or PE-RT Tubing
                                                                                                            Assemblies
requirements of Specifications F2623 and F2769.
                                                                                     Nominal                         Minimum Burst Pressures at
                                                                                    Tubing Size                        Different Temperatures
5. Materials and Manufacture                                                                              psigA at    (kPa) at        psigA at         (kPa) at
                                                                                        in.
   5.1 Material—Fittings shall be molded from sulfone plastic                                              73.4°F      (23°C)          180°F           (82.2°C)
                                                                                          ⁄
                                                                                         38                 620        (4275)           275             (1896)
(SP) as specified in Specification D6394. The material shall be                           ⁄
                                                                                         12                 480        (3309)           215             (1482)
unreinforced polysulfone (group 01, class 1, grades 1 or 2) or                     3⁄4 and larger           475        (3275)           210             (1448)
polyphenylsulfone (group 03, class 1, grade 1 or 2) or                              A
                                                                                      The fiber stress to derive this test pressure is: at 73.4°F (23.0°C) 1900 psi
unreinforced polyphenylsulfone/polysulfone blends (group 04,                      (13.10 MPa) at 180°F (82.2°C) 850 psi (5.86 MPa).
Class 2, grade 1) or reworked plastic in accordance with 5.1.1.
Pigmented products can exceed the maximum specific gravity
listed provided that they comply with all other properties listed                   7.3 Hydrostatic Sustained Pressure Strength—Assemblies
in Specification D6394 Table SP.                                                  shall meet the hydrostatic sustained pressure requirements
                                                                                  shown in Table 2 when tested in accordance with 11.6.
   NOTE 1—Since fittings specified by this standard will be used in                 7.4 Thermocycling—Assemblies shall not leak or separate
hot-and-cold water plumbing systems, a material used to manufacture               when thermocycled 1000 cycles between the temperatures of
fittings in accordance with this specification must demonstrate qualities
consistent with that application in addition to the performance require-
                                                                                  60°F (16°C) and 180°F (82°C) when tested in accordance with
ments of this specification. Those qualifying characteristics include, but        11.7.
are not limited to, an established hydrostatic design basis (HDB) or stress         7.5 Excessive Temperature-Pressure Capability:
design basis (SDB) in accordance with PPI TR-3 or similar rating and a              7.5.1 General—Assemblies shall have adequate strength to
demonstration of resistance to the long-term effects of those chemicals           accommodate short-term conditions, 30 days (720 h) of 210° F
normally found in potable water at the maximum temperature stated in this         (99° C) and 150 psi (1034 kPa) when tested in accordance with
specification.
                                                                                  11.8.
   5.1.1 Rework Material—Clean rework material of the same
commercial designation, generated from the manufacturer’s                         8. Dimensions
own production may be used by the same manufacturer,                                 8.1 Dimensions and Tolerances—The dimensions and tol-
provided the fittings meet all of the requirements of this                        erances of fittings shall be as shown in Fig. 1, when measured
specification. Reworked material shall not be introduced at a                     in accordance with 11.4.
ratio exceeding 25 %.                                                                8.1.1 Alignment—The maximum angular variation of any
   5.2 Potable Water Requirements—Products intended for the                       opening shall not exceed 1° off the true centerline axis.
transport of potable water shall be evaluated, tested and                            8.1.2 Tapered Threads—Fitting threads shall be American
certified for conformance with ANSI/NSF Standard No. 61 or                        National Standard Taper Pipe Thread Form conforming to
the health effects portion of ANSI/NSF Standard No. 14 by an                      Specification F1498.
acceptable certifying organization when required by the regu-                        8.1.3 Straight Threads—Straight pipe threads, intended for
latory authority having jurisdiction.                                             the making of a gasketed seal with taper pipe threads, shall be
   5.3 Crimp Rings—Crimp rings shall be manufactured and                          NPSM and conform to ASME B 1.20.1.
marked in accordance with the requirements of Specification
F1807.                                                                            9. Workmanship, Finish and Appearance
6. Molded Part Properties                                                            9.1 The sealing surfaces of the insert shall be smooth and
                                                                                  free of foreign material. The fitting walls shall be free of
  6.1 Insert Crush—The fitting insert shall not crack, split, or                  cracks, holes, blisters, voids, foreign inclusions, or other
shatter when tested in accordance with 12.1.                                      defects that are visible to the unaided eye and that affect the
  6.2 Splay—The molded part shall be free of visible splay                        wall integrity.
excepting some slight blushing at the gate location.                                 9.2 Except for the insert, the molded part shall be free of
                                                                                  flash in excess of 0.005 in. Flash, mismatch, and witness mark
7. Performance Requirements
                                                                                  requirements for the insert shall be in accordance with Fig. 1.
   7.1 General—All performance tests shall be performed on
assemblies of fittings, crimp rings, and PEX tubing or PE-RT
tubing, or both. Fittings and crimp rings shall meet the material                       TABLE 2 Minimum Hydrostatic Sustained Pressure
and dimensional requirements of this standard. PEX tubing                          Requirements for Fitting, Crimp Ring and PEX or PE-RT Tubing
                                                                                                           AssembliesA,B
shall meet the requirements of Specifications F876 or F877.
PE-RT tubing shall meet the requirements of Specifications                                  Nominal
                                                                                                                     Pressure Required for Test, psig (kPa)
                                                                                          Tubing Size
F2623 and F2769. Assembly of test specimens shall be in                                        in.                     180°F                      (82.2°C)
accordance with Section 10. Use separate sets of assemblies for                                3⁄8                      250                        (1724)
                                                                                               1⁄2                      195                        (1344)
each performance test requirement.                                                       3⁄4 and larger                 190                        (1310)
   7.2 Hydrostatic Burst—Assemblies shall meet the mini-                            A
                                                                                      The fiber stress to derive this test pressure is: 770 psi (5.31 MPa) at 180° F
mum hydrostatic burst requirements shown in Table 1, when                         (82.2°C).
tested in accordance with 11.5.                                                     B
                                                                                      Test duration is 1000 h.


                                                                              2
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                                                 FIG. 1 Fitting Insert Dimensions and Tolerances


10. Assembly                                                                    PE-RT tubing shall meet the requirements of Specifications
   10.1 Crimp Joints—Insert fittings shall be joined to PEX                     F2623 and F2769. The dimensions and out-of-roundness of the
tubing or PE-RT tubing by the compression of a copper crimp                     crimp ring after it has been crimped shall be in accordance with
ring around the outer circumference of the tubing forcing the                   Table 3.
tubing material into annular spaces formed by ribs on the                          10.1.1 Crimping Procedure—To affix the insert fitting to the
fitting. Insert fittings and crimp rings shall meet the dimen-                  tubing with the crimp ring, the crimping procedure shall be as
sional and material requirements of this standard. PEX tubing                   follows: slide the crimp ring onto the tubing, insert the ribbed
shall meet the requirements of Specifications F876 or F877.                     end of the fitting into the end of the tubing until the tubing

                                                                            3
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                                                                               F2159 – 10
TABLE 3 Crimp Ring Dimensions After Crimping on Tube/Fitting                               11.7.1 Summary of Test Method—This test method de-
                       Assembly                                                         scribes a pass-fail test for thermally cycling assemblies com-
      Nominal Tube Size            Final Crimped Outside DiameterA,B                    prised of insert fitting, crimp ring, and PEX tubing over a
         Insert End           Minimum, in. (mm)        Maximum, in. (mm)
             3⁄ 8         0.580 (14.7)             0.595 (15.1)
                                                                                        critical temperature range for a selected number of cycles while
             1⁄ 2         0.700 (17.8)             0.715 (18.2)                         subjected to an internal pressure. The test provides a measure
             3⁄ 4         0.945 (24.0)             0.960 (24.4)                         of resistance to failure due to the combined effects of differ-
              1           1.175 (29.8)             1.190 (30.2)
  A
                                                                                        ential thermal expansion and creep of connections intended for
    For all diameters except for the area of scoring caused by the crimping tool.
  B
    The maximum out-of-roundness as measured by the difference between the
                                                                                        use up to and including 180°F (82°C).
minimum crimped outside diameter and the maximum crimped outside diameter                  11.7.2 Apparatus—A pressure source capable of maintain-
shall not exceed 0.006 in. (0.150 mm).                                                  ing an internal pressure of 100 6 10 psi (690 6 69 kPa) on the
                                                                                        specimens is required. An immersion system shall consist of
                                                                                        two water reservoirs controlled at 60 6 4°F (16 6 2°C) and
contacts the shoulder of the fitting or tube stop. The crimp ring                       180 6 4°F (82 6 2°C) into which the pressurized specimens
shall then be positioned on the tubing so the edge of the crimp                         will be immersed. Either samples are cycled manually using
ring is 1⁄8 in. to 1⁄4 in. (3.2 to 6.4 mm) from the end of the tube.                    flexible connectors or alternately the hot and cold water is
The jaws of the crimping tool shall be centered over the crimp                          cycled over the test specimens automatically and returned to
ring and the tool shall be held so that the crimping jaws are                           the proper reservoir (Note 2).
approximately perpendicular to the axis of the barb. The jaws
of the crimping tool shall be closed around the crimp ring,                               NOTE 2—Automatic recycling may be accomplished by pumping from
                                                                                        each reservoir through a delivery system having timer-actuated valves to
compressing the crimp ring onto the tubing. The crimp ring
                                                                                        specimen troughs having synchronized, timer-actuated return drains. Any
shall not be crimped more than once. Each crimp shall be                                automatic apparatus shall provide for complete immersion of the test
checked to determine conformance to the after crimped dimen-                            specimen in the water.
sional requirements of Table 3.
                                                                                           11.7.3 Specimen Assembly—Test six assemblies. Attach the
                                                                                        assemblies to a common manifold in such a way to allow
11. Test Methods
                                                                                        free-end movement of the tubing. Close this specimen assem-
   11.1 Conditioning—Condition specimens at 73 6 4°F (23                                bly with any suitable end closure that will allow free-end
6 2°C) and 50 6 5 % relative humidity for not less than 4 h                             mounting and will not leak under the thermocycle conditions,
prior to testing. Test Method D618 shall be used to the extent                          and connect the specimen assembly to the pressure source.
possible as a guide to other conditions.                                                   11.7.4 Procedure—Pressurize the specimen assembly with
   11.2 Test Conditions—Conduct the tests in the standard                               air to 100 6 10 psi (690 6 69 kPa) and check for leaks.
laboratory atmosphere at 73 6 4°F (23 6 2°C) and 5065 %                                 Eliminate any leaks before the thermocycle test is started.
relative humidity unless otherwise specified in the test methods                        Thermally cycle the specimen assembly either manually or
or in this specification.                                                               automatically and under a constant internal pressure of 100 6
   11.3 Sampling—A sample of the fittings, crimp rings, and                             10 psi (690 6 69 kPa), alternately between 60 6 4°F (16 6
PEX tubing sufficient to determine conformance with this                                2°C) and 180 6 4°F (82 6 2°C) by means of immersion in
specification shall be taken at random.                                                 water using the following test cycle (Note 3):
   11.4 Dimensions—Any randomly selected fitting or fittings                                    Water immersion at 180°F                 2 min minimum
and crimp ring or crimp rings shall be used to determine                                        Air immersion at ambient                 2 min maximum
dimensions. Measurements shall be made in accordance with                                       Water immersion at 60°F                  2 min minimum
                                                                                                Air immersion at ambient                 2 min maximum
Test Method D2122. Determine the diameters by making
measurements at four locations spaced at approximately 45°                                NOTE 3—If the test must be interrupted before completion, samples are
apart around the circumference.                                                         to be kept at room temperature until the test is restarted.
   11.5 Burst Pressure—Determine the minimum burst pres-                                   11.7.4.1 Upon completion of 1000 cycles, visually inspect
sure in accordance with Test Method D1599 on at least six                               for leaks while under the test pressure. Any evidence of
assemblies for each temperature in Table 1. Leakage or                                  leakage at the fittings or separation of the fittings from the
separation at any of the joints tested, or from the fitting itself,                     tubing constitutes failure.
at less than the minimum burst requirements for the tempera-                               11.7.4.2 If no failures are evident, the specimen assembly
tures specified in Table 1 shall constitute a failure in this test.                     shall immediately be tested for joint integrity (hydrostatic
   11.6 Sustained Hydrostatic Pressure—Perform the test on at                           burst) at 73°F (23°C) in accordance with Test Method D1599.
least six assemblies in accordance with Test Method D1598,                              Leakage or separation during the hydrostatic burst test of any
except for the following:                                                               of the joints in the assembly at less than the pressure shown in
   11.6.1 Test temperature shall be 180 6 4°F (82 6 2°C).                               Table 2 shall constitute failure of this test.
   11.6.2 The external test environment shall be air or water.                             11.7.5 Interpretation of Results—Failure of any one of six
   11.6.3 Fill the specimens with water at a temperature of at                          specimens in the assembly shall constitute failure of this test.
least 120°F (50°C).                                                                        11.8 Excessive Temperature and Pressure Capability—Test
   11.6.4 Leakage or separation at any joint tested at less than                        six assemblies in accordance with Test Method D1598, except
1000 h at the sustained pressure as given in Table 2 shall                              for the following:
constitute failure in this test.                                                           11.8.1 Test temperature shall be 210 6 4°F (99 6 2°C).
   11.7 Thermocycling:                                                                     11.8.2 The external test environment shall be air.

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                                                                FIG. 2 Insert Crush Test


   11.8.3 Fill specimens with water at a temperature of at least                 accordance with this specification and has been found to meet
120°F (50°C).                                                                    the requirements of this specification.
   11.8.4 Pressurize the assemblies to 150 psi (1034 kPa) and
maintain for 30 days (720 h). Leakage or separation of any                       15. Product Marking
joint tested shall constitute failure of this test.                                 15.1 Quality of Marking—The marking shall be applied to
                                                                                 the fittings in such a manner that it remains legible after
12. Molded Part Properties Test Methods                                          installation and inspection.
   12.1 Insert Crush Test— Under ambient conditions, test six                       15.2 Content of Marking:
fittings of each size in accordance with 12.1.1.                                    15.2.1 Marking on fittings shall include manufacturer’s
   12.1.1 Procedure—Using a bench vise or other suitable                         name or trademark, or some other identifying mark, material
compression device, place the insert of the fitting between the                  designation, and ASTM F2159.
jaws of the vise. Close the jaws of the vise deforming the insert                   15.2.1.1 Where recessed marking is used on fittings, care
until the opposing inside walls of the insert touch. The insert                  shall be taken to see that in no case shall the marking cause
shall not crack, split, or shatter, see Fig. 2.                                  cracks or reduce the wall thickness below the minimum
                                                                                 specified.
13. Retest                                                                          15.2.2 Marking on packaging shall include manufacturer’s
   13.1 If any failure occurs, a retest shall be conducted only if               name, fitting size, and ASTM F2159.
agreed upon between the purchaser and the seller. Failure in the                    15.2.3 Marking on crimp rings shall include manufacturer’s
retest is cause for rejection of the shipment.                                   trademark or some other identifying mark and PEX/PE-RT.
14. Quality Assurance                                                            16. Keywords
  14.1 When the product or product packing is marked with                          16.1 cold- and hot-water distribution; copper crimp rings;
the ASTM designation F2159, the manufacturer affirms that the                    cross-linked polyethylene; plastic insert fittings; PE-RT, poly-
product was manufactured, inspected, sampled, and tested in                      ethylene of raised temperature; PEX


                                                                      APPENDIX

                                                            (Nonmandatory Information)

                                                          X1. GO/NO-GO CRIMP GAGE

   X1.1 This appendix provides dimensions for gages to check                        X1.3 Use of the Crimp GO/NO-GO Gage—Slide the
the after-crimped dimensions of the three sizes of crimp                         correct size GO section of the gage over the crimped ring in at
connections governed by this standard. This information has                      least two places and attempt to slide the NO-GO section of the
been taken from gages in current production at the time of the                   gage over the crimped ring in at least two places (see Note
writing of this standard. Gages shown here provide only a                        X1.1). The GO section of the gage should slide over the
reference for the maximum and minimum diameters of the                           crimped ring easily and the NO-GO section should not slide
crimped ring and do not provide a check for the out-of-round                     over the crimped ring. If the GO section does not slide over the
dimension. Additionally, calipers or micrometers may also be                     ring, or the NO-GO section slides over the ring, the crimped
used.                                                                            joint must be replaced. Additionally, the crimp tool may need
                                                                                 adjustment, follow the recommendations of the tool manufac-
   X1.2 Crimp gages manufactured according to the dimen-                         turer.
sions shown in Fig. X1.1 will ensure that crimps checked with
these gages will not be larger or smaller than those allowed by
this standard.

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                                                                   FIG. X1.1 GO/NO-GO Gage

  NOTE X1.1—Most of the commercially available crimp tools will                         reading. Gage the crimped ring away from the scoring mark for best
produce a scoring mark on the ring where the jaws of the tool overlap.                  accuracy.
Gaging the crimped ring on this scoring mark will generally give a false



                                                                SUMMARY OF CHANGES

            Committee F17 has identified the location of selected changes to this standard since the last issue (F2159-09)
          that may impact the use of this standard.

(1) The title was revised.                                                              (3) The titles of Table 1 and Table 2 were revised.
(2) Sections 1, 2, 4, 7, 10, 15, and 16 were reviseed.

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